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     1              IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
     2                       EASTERN DIVISION
                                  - - -
     3
          IN RE: NATIONAL          : HON. DAN A. POLSTER
     4    PRESCRIPTION OPIATE      : MDL NO. 2804
          LITIGATION               :
     5                             :
          APPLIES TO ALL CASES     : NO.
     6                             : 1:17-MD-2804
     7                 - HIGHLY CONFIDENTIAL -
     8        SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
     9                         - - -
                          December 6, 2018
   10                          - - -
   11
   12                       Videotaped sworn deposition of
   13                RICHARD J. FANELLI, Ph.D., taken
   14                pursuant to notice, was held at DECHERT,
   15                LLP, 1095 6th Avenue, New York, New
   16                York, beginning at 9:09 a.m., on the
   17                abovedate, before Margaret M. Reihl, a
   18                Registered Professional Reporter,
   19                Certified Shorthand Reporter, Certified
   20                Realtime Reporter, and Notary Public.
   21
                                        -   -    -
   22
                        GOLKOW LITIGATION SERVICES
   23               877.370.3377 ph | 917.591.5672 fax
                             deps@golkow.com
   24

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    1   A P P E A R A N C E S:                     1 A P P E A R A N C E S: (cont'd)
    2                                              2
        CRUEGER DICKINSON, LLC                         ALLEGAERT BERGER & VOGEL LLP
    3   BY: ERIN DICKINSON, ESQUIRE                3 BY: CHRISTOPHER ALLEGAERT, ESQUIRE
           CHARLES J. CRUEGER, ESQUIRE                    LUCY N. ONYEFORO, ESQUIRE
    4   4532 N. Oakland Avenue                     4 111 Broadway, 20th Floor
        Whitefish Bay, Wisconsin 53211
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        cjc@cruegerdickinson.com                   5 (212) 616-7050
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    7                                              6 Representing the Defendant,
        SIMMONS HANLY CONROY, LLC                      Rochester Drug Co-operative, Inc.
    8   BY: JO ANNA POLLOCK, ESQUIRE               7
        One Court Street                           8
    9   Alton, Illinois 62002
        (618) 259-6365                                 ARNOLD & PORTER KAYE SCHOLER LLP
   10   jpollock@simmonsfirm.com                   9 BY: SAMUEL LONERGAN, ESQUIRE
        Representing the Plaintiffs                    250 West 55th Street
   11                                             10 New York, New York 10019-9710
   12   THE DUGAN LAW FIRM, LLC                        (212) 836-7591
        BY: BONNIE KENDRICK, ESQUIRE              11 samuel.lonergan@arnoldporter.com
   13   One Canal Place                                Representing the Defendants, Endo
        365 Canal Place, Suite 1000
   14   New Orleans, Louisiana 70130              12 Health Solutions; Endo
        (504) 648-0180                                 Pharmaceuticals, Inc.; Par
   15   bonnie@dugan-lawfirm.com                  13 Pharmaceutical Companies, Inc. f/k/a
        Representing the Plaintiffs                    Par Pharmaceutical Holdings, Inc.
   16                                             14
   17   BRANSTETTER, STRANCH & JENNINGS, PLLC     15 ALSO PRESENT: HENRY MARTE, VIDEOGRAPHER
        BY: MICHAEL G. STEWART, ESQUIRE           16
   18   The Freedom Center
        223 Rosa L. Parks Avenue                  17          ___
   19   Suite 200                                 18
        Nashville, Tennessee 37203                19
   20   (615) 254-8801                            20
        mstewart@bsjfirm.com                      21
   21   Representing the Tennessee Plaintiffs     22
   22
   23                                             23
   24                                             24

                                         Page 3                                                  Page 5
    1   A P P E A R A N C E S: (cont'd)            1   TELEPHONIC APPEARANCES:
    2   DECHERT LLP                                2
        BY: ERIK SNAPP, ESQUIRE                      HUGHES HUBBARD & REED LLP
    3   35 West Wacker Drive, Suite 3400           3 BY: TINA M. SCHAEFER, ESQUIRE
        Chicago, Illinois 60601-1634                 2345 Grand Boulevard, Suite 2000
    4   (312) 646-5828                             4 Kansas City, Missouri 64108-2663
        erik.snapp@dechert.com                       (816) 709-4159
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        BY: ALYSSA CLARK, ESQUIRE                    Representing the Defendant,
    6   1095 Avenue of the Americas                6 UCB, Inc.
        New York, New York 10036-6797              7
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        alyssa.clark@dechert.com                       ATTORNEY GENERAL
    8   Representing the Defendant,                9   BY: ANNEMARIE B. MATHEWS, ESQUIRE
        Purdue and the witness                            REBECCA MCCORMACK, ESQUIRE
    9                                             10   Assistant Attorney General
   10   WILLIAMS & CONNOLLY LLP                        Consumer Protection and
        BY: COLLEEN MCNAMARA, ESQUIRE             11   Antitrust Division
   11   725 Twelfth Street, N.W.                       P.O. Box 11549
        Washington, D.C. 20005                    12   Columbia, South Carolina 29211-1549
   12   (202) 434-5186                                 803-734-3679
        cmcnamara@wc.com                          13   AMathews@scag.gov
   13   Representing the Defendant,                    Representing the State of South Carolina
        Cardinal Health                           14
   14
   15   JONES DAY
                                                  15   REED SMITH LLP
        BY: MARK W. DEMONTE, ESQUIRE                   BY: SAMANTHA L. ROCCHINO, ESQUIRE
   16   77 West Wacker                            16   Three Logan Square
        Chicago, Illinois 60601-1692                   1717 Arch Street
   17   (312) 269-4232                            17   Philadelphia, Pennsylvania 19103
        mdemonte@jonesday.com                          (215) 851-8262
   18   Representing the Defendant, Walmart       18   srocchino@reedsmith.com
   19                                                  Representing the Defendant,
        COVINGTON & BURLING LLP                   19   AmerisourceBergen Drug Corp.
   20   BY: ALEXANDER SETZEPFANDT, ESQUIRE        20   NELSON MULLINS
        The New York Times Building                    BY: AMANDA S. KITTS, ESQUIRE
   21   620 Eighth Avenue                         21   Meridian, 17th Floor
        New York, New York 10018-1405                  1320 Main Street
   22   (212) 841-1285                            22   Columbia, South Carolina 29201
        asetzepfandt@cov.com                           (803) 255-9594
   23   Representing the Defendant,               23   amanda kitts@nelsonmullins.com
        McKesson Corporation                           Representing the Defendants, Purdue Pharma L.P.;
   24                                             24   Purdue Pharma, Inc.; The Purdue Frederick Company
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        ROPES & GRAY LLP                                3   Purdue
    3   BY: SEAN B. KENNEDY, ESQUIRE                        Fanelli-7 Second Amended Corrected
        Prudential Tower                                4           Complaint             37
    4   800 Boylston Street                             5   Purdue
        Boston, Massachusetts 02199                         Fanelli-8 The Purdue Frederick Company
    5   sean.kennedy@ropesgray.com
                                                        6           & Associated Companies
        (617) 951-7282                                              Organizational Charts
    6   Representing the Defendant,
                                                        7           dated June 1995
        Mallinckrodt                                    8
                                                                    PKY181872592              46
    7
    8   FOX ROTHSCHILD, LLP                                 Purdue
                                                        9   Fanelli-9 Purdue Organizational Charts
        BY: MAURA L. BURKE, ESQUIRE                                 August 2004
    9   2000 Market Street                             10           PURCHI-003290806             56
        20th Floor                                     11   Purdue
   10   Philadelphia, Pennsylvania 19103-3222               Fanelli-10 Purdue Organizational Charts
        mburke@foxrothschild.com                       12           January 2007
   11   (215) 299-2872                                              PURCHI-003290143             70
        Representing the Defendant,                    13
   12   Validus Pharmaceuticals                             Purdue
   13                                                  14   Fanelli-11 Purude Organizational Charts
        CLARK MICHIE LLP                                            January 2010
   14   BY: BRUCE CLARK, ESQUIRE                       15           PURCHI-000000454             74
           CHRISTOPHER J. MICHIE, ESQUIRE              16   Purdue
   15   220 Alexander Street                                Fanelli-12 Original lable for OxyContin
        Princeton, New Jersey 08540
                                                       17           PKY183226682              78
   16   (609) 423-2142
                                                       18   Purdue
        Representing the Defendant,                         Fanelli-13 Information
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    4           By Mr. Stewart          248             4           United States of America
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    6               EXHIBITS                            5           Company, et al.         82
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    8   Purdue                                              Fanelli-16 The New York Times Article,
        Fanelli-1 Amended Notice of
                                                        7           "Origins of an Epidemic:
    9           Deposition Pursuant to                              Purdue Pharma Knew Its
                Rule 30(B)(6) and Document
                                                        8           Opiods Were Widely Abused"
   10           Request Pursuant to Rule                9
                                                                    dated May 29, 2018         89
                30(B)(2) and Rule 34 to                     Purdue
   11           Defendants Purdue Pharma,              10   Fanelli-17 Freedom of Information Act
                L.P., Purdue Pharma Inc.                            request, with NDA documents
   12           and The Purdue Frederick               11           for the original Oxycontin
                Company                20                           dated January 11, 1996
   13                                                  12           PURCHI-000667209              104
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   14   Fanelli-2 Skipped                                   Fanelli-18 E-mail string, top one
   15   Purdue                                         14           dated 6/16/99
        Fanelli-3 Skipped                                           Subject, RE: INATE OxyContin/
   16                                                  15           Studies
        Purdue                                         16
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   17   Fanelli-4 Curriculum Vitae of                       Purdue
                Richard J. Fanelli, Ph D.              17   Fanelli-19 Spreadsheet, OxyContin studies
   18           PPLPC001000074386             19                    PPLPC016000115515             143
   19   Purdue                                         18
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   20           Responses and Objections               19   Fanelli-20 Oxycontin clinical studies
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   21           Notice of Deposition Pursuant          20
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   22           Request Pursuant to Rule               21   Fanelli-21 Memo dated 4/4/95
                30(B)(2) and Rule 34       24                       Subject, Launch Team Meeting
   23   Purdue                                         22           3/31/95 Minutes (no Bates) 153
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   24           at deposition by witness 26            24

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    4           dated 2/14/89                          4           FDA Comments dated
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   12   Purdue                                        12           Re: OxyContin Professional
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   16           Advertising and Promotional                        PKY183262725             223
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   17           PPLP004404325              168             Purdue
   18   Purdue                                        17   Fanelli-42 Purdue Response to
        Fanelli-27 Slide deck, Program                             FDA Letter, dated 1/24/03
   19           Management                            18           PDD1501755008             223
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   22   Purdue                                             Fanelli-44 FDA letter 1/28/03
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    3   Purdue                                         3
        Fanelli-29 Identifying, Evaluating                 Purdue
    4           and Reporting Suspicious               4   Fanelli-45 Purdue Sales memo
                Orders, 9/25/17                                    dated 2/4/03
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    6   Purdue                                         6   Purdue
        Fanelli-30 SOP, Subject: Abuse and                 Fanelli-46 Purdue Regulatory
    7           Diversion Detection                    7           Affairs fax dated
                effective September 2015                           3/6/03, with Dear
    8           PPLP004035073             183          8           Healthcare Practitioner
    9   Purdue                                                     letter dated January 2003
        Fanelli-31 SOP, Subject: Order                 9           PD08013023433             223
   10           Management System                     10   Purdue
                effective 2/29/16                          Fanelli-47 REG-SOP-0060 dated
   11           PPLPD000006141             183        11           8/1/16
   12   Purdue                                                     PPLP004385528             233
        Fanelli-32 SOP, Subject: Abuse and            12
   13           Diversion Detection                        Purdue
                effective 6/15/07                     13   Fanelli-48 Brochure, "Partners Against
   14           PPLP003429997             199                      Pain"
   15   Purdue                                        14           PPLP000135167             248
        Fanelli-33 SOP, Subject: Indicators           15   Purdue
   16           of Possible Diversion                      Fanelli-49 Brocure, "A Policymaker's
                effective 11/1/02                     16           Guide to Understanding
   17           PPLP003430434             200                      Pain & Its Management"
   18   Purdue                                        17           (no Bates)            248
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   19           11/20/96 MS Contin                    18   Purdue
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   20                                                 19           A Guide for People Living
        Purdue                                                     with Pain"            248
   21   Fanelli-35 FDA letter dated                   20
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   22                                                 21   Fanelli-51 "Complexities of Caring for
        Purdue                                                     People in Pain"
   23   Fanelli-36 FDA Fax and letter 5/15/00         22           PTN000005311              248
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                PPLPC005000006728            215      23
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    1           E X H I B I T S (cont'd)              1            THE VIDEOGRAPHER: We are now on
    2   NO.       DESCRIPTION                PAGE     2       the record. My name is Henry Marte, I'm
    3   Purdue
        Fanelli-52 "Exit Wounds" by                   3       a videographer with Golkow Litigation
    4           Derek McGinnis
                PTN000023058              248         4       Services. Today's date is December 6,
    5
                                                      5       2018, and the time is 9:09 a.m. This
        Purdue
    6   Fanelli-53 Purdue letter dated                6       videotaped deposition is being held at
                5/28/13                               7       1095 Avenue of the Americas, New York,
    7           PPLP000233078             265
    8   Purdue                                        8       New York in the matter of National
        Fanelli-54 Appendix C
    9           Epidemiologic and Other               9       Prescription Opiate Litigation.
                Studies of the Real World            10            The deponent today is Richard
   10           Impact of Reformulated
                OxyContin, with Exhibits             11       Fanelli. All appearances will be noted
   11           C-1 through C-15
                PPLP000238101             285        12       on the stenographic record. The court
   12
                                                     13       reporter will now administer the oath to
        Purdue
   13   Fanelli-55 Purdue General Correspondence:    14       the witness.
                Notification of Citizen              15            ... RICHARD J. FANELLI, PH.D.,
   14           Petition with Exhibits
                Attached, dated 10/25/13             16       having been duly sworn as a witness, was
   15           PPLP000238281             286
   16   Purdue                                       17       examined and testified as follows:
        Fanelli-56 Purdue's Response to FDA's        18            MR. SNAPP: Before we get
   17           Information Request
   18
                PPLP000473812             292        19       started, can I just confirm that
        Purdue                                       20       everyone who is present either in person
   19   Fanelli-57 E-mail string, top one            21       or on the phone agrees to be bound by
                dated 4/18/02
   20
   21
                8839149154              306          22       the terms of the confidentiality
   22                                                23       protective orders either in the MDL or
   23
   24
                                                     24       in the applicable state court
                                           Page 15                                               Page 17
    1           E X H I B I T S (cont'd)              1        litigation. If that's not the case,
    2   NO.       DESCRIPTION               PAGE      2        please speak up now.
    3   Purdue                                        3             Hearing nothing, please proceed.
        Fanelli-58 Purdue General Correpondence:
    4           Evaluation of the
                                                      4             MS. DICKINSON: Thanks.
                Relationship Between Prescribed       5   BY MS. DICKINSON:
    5           Opioid Dose and Risk of               6        Q. Dr. Fanelli, my name is Erin
                Opioid Overdose in Patients           7   Dickinson.
    6           PPLP000236539            327          8             We haven't met before today,
    7   Purdue
        Fanelli-59 E-mail string, top
                                                      9   correct?
    8           one dated 2/26/16                    10        A. Correct.
                PPLPC005000224837           332      11        Q. Okay. I represent the plaintiffs
    9
   10
                                                     12   in the piece of litigation that the court
                                                     13   reporter just read off at the beginning of this
   11               ___
   12                                                14   deposition.
   13                                                15             Do you understand that?
   14                                                16        A. Yes.
   15
   16
                                                     17        Q. Okay. Have you ever been deposed
   17
                                                     18   before?
   18                                                19        A. Yes.
   19                                                20        Q. Okay. How many times?
   20                                                21        A. Twice.
   21
   22
                                                     22        Q. Okay. And in what cases?
   23
                                                     23        A. There were two patent litigation
   24                                                24   cases.

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    1         Q. Okay. Do you recall roughly what           1        Q. Is that a current, accurate copy
    2   years?                                              2   of your CV?
    3         A. Probably within the last three             3        A. Yes.
    4   years.                                              4             MR. SNAPP: Do you have a copy
    5         Q. And who is your current employer?          5        for me?
    6         A. Purdue Pharma.                             6             THE WITNESS: I'm noticing --
    7         Q. Since you've been deposed on               7             MS. DICKINSON: Oh, here.
    8   several different occasions, you may remember       8             MR. SNAPP: Thanks.
    9   some of the basic rules, but I typically go over    9             THE WITNESS: I don't know if I
   10   them at the beginning, just to make sure we        10        updated my CV, but as of 2014, my title
   11   understand each other, okay?                       11        is now head of regulatory affairs.
   12         A. Yes.                                      12   BY MS. DICKINSON:
   13         Q. We have to give verbal answers to         13        Q. Okay. Other than that change,
   14   the questions so the court reporter can take       14   does the work history summarized in this CV,
   15   them down.                                         15   Exhibit 4, accurately represent your employment
   16             Do you understand that?                  16   history?
   17         A. Yes, I do.                                17        A. Yes.
   18         Q. Nods of the head or uh-uhs or             18        Q. Okay. I'm going to hand you
   19   uh-huhs do not work, correct?                      19   what's been marked as Exhibit 1.
   20         A. That's right.                             20             (Document marked for
   21         Q. Okay.                                     21        identification as Exhibit
   22         A. I may do them but...                      22        Purdue-Fanelli-1.)
   23         Q. We're not doing a great job so            23             THE WITNESS: Do you need these
   24   far, but we can't talk over each other as well.    24        back?
                                                Page 19                                                 Page 21
    1   So if you will wait until I finish my question      1   BY MS. DICKINSON:
    2   and you start your answer after that, I will try    2         Q. You may keep those. Here come
    3   to do the same. I know it's very hard, okay?        3   the copies.
    4        A. Got it.                                     4         A. That's for you.
    5        Q. If you at any point don't                   5         Q. Okay. Dr. Fanelli, you
    6   understand the questions I'm asking, please ask     6   understand you've been designated on behalf of
    7   me to rephrase the question. I will assume if       7   several entities, Purdue Pharma, L.P., Purdue
    8   you answer that you've understood what I'm          8   Pharma, Inc. and the Purdue Frederick Company to
    9   asking.                                             9   provide those corporations' testimony under
   10             Is that fair?                            10   Federal Rule of Civil Procedure 30(b)(6),
   11        A. Yes.                                       11   correct?
   12        Q. Okay. All right. And we're                 12         A. Yes.
   13   going to have to do a little shuffling with the    13         Q. Okay. And can we have an
   14   exhibits today. We're really far across the        14   agreement today that when I use the term Purdue,
   15   table from each other.                             15   that that references those three entities so I
   16             So we're going to hand you what's        16   don't have to continually say the names of those
   17   been marked as Exhibit 4 to your deposition.       17   companies over and over again; is that okay?
   18             (Document marked for                     18         A. Yes.
   19        identification as Exhibit                     19         Q. Okay. If one of your answers
   20        Purdue-Fanelli-4.)                            20   requires a specific response as to a specific
   21   BY MS. DICKINSON:                                  21   company, certainly let me know, but we're just
   22        Q. And I believe in Exhibit 4 is a            22   trying to make this a little cleaner and easier
   23   copy of your CV; is that correct?                  23   today; is that okay?
   24        A. Yes.                                       24         A. Yes.

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    1        Q. Okay. You understand that the               1   topic till tomorrow.
    2   testimony you're going to give today is the         2              MS. DICKINSON: And, counsel, is
    3   testimony of those three corporate entities,        3         that our agreement?
    4   Purdue Pharma, L.P., Purdue Pharma, Inc. and the    4              MR. SNAPP: Yes.
    5   Purdue Frederick Company, not testimony just        5   BY MS. DICKINSON:
    6   based on your individual knowledge, correct?        6         Q. Okay. Today we're going to cover
    7        A. Yes.                                        7   topics 7, 10, 30, 37, 38 and 44 of the notice,
    8        Q. You understand that the answers             8   okay?
    9   you're going to give today under oath will be       9         A. Okay.
   10   binding on those three companies, correct?         10         Q. Okay. And counsel also asked,
   11        A. Yes.                                       11   for the record, if I would mark Purdue's
   12        Q. All right. I've handed you what            12   supplemental responses and objections to the
   13   we've marked as Exhibit 1. That document is the    13   notice that is Exhibit 1. I have marked it as
   14   Amended Notice of Deposition pursuant to Rule      14   Exhibit 5 to your deposition, and we'll pass
   15   30(b)(6) and document request pursuant to Rule     15   that to you now. I don't have copies of this.
   16   30(b)(2) and Rule 34 to defendants, Purdue         16              (Document marked for
   17   Pharma, L.P., Purdue Pharma, Inc. and the Purdue   17         identification as Exhibit
   18   Frederick Company.                                 18         Purdue-Fanelli-5 )
   19            Do you see that?                          19   BY MS. DICKINSON:
   20        A. Yes.                                       20         Q. Dr. Fanelli, is there anything
   21        Q. Okay. Were you provided with a             21   today that would prevent you from giving
   22   copy of that notice that we've marked as Exhibit   22   accurate testimony?
   23   1?                                                 23         A. No.
   24        A. Yes.                                       24         Q. Let's briefly, and I mean
                                                 Page 23                                                Page 25
    1        Q. When were you provided with that?           1   briefly, go through what you did to prepare for
    2        A. Prior -- I don't remember the               2   the testimony on these topics.
    3   exact date. It was several months ago when I        3              First, did you meet with counsel?
    4   met with the attorneys here from Dechert.           4         A. Yes.
    5        Q. And is it your understanding that           5         Q. On how many times?
    6   you are being offered to provide Purdue's           6         A. A handful. I wasn't counting.
    7   testimony on topics I have 7, 10, 30, 37, 38 and    7   Under ten, I would think.
    8   44 of that notice? I'll get to --                   8         Q. And over the last several months?
    9        A. Okay.                                       9         A. Yes, started late summer, I think
   10        Q. -- the topic we talked about this          10   because my original deposition was scheduled
   11   morning in just a minute.                          11   prior to this date.
   12        A. Yes.                                       12         Q. Did you review any documents in
   13        Q. Okay. And prior to the                     13   preparation for your deposition?
   14   deposition, counsel informed me that you had       14         A. Yes.
   15   also been designated I think several weeks ago     15         Q. Okay. Exhibit 1 has a schedule,
   16   on topic --                                        16   Schedule B, and it's -- that Schedule B asks you
   17             MS. DICKINSON: Can you remind            17   to bring all documents which the deponent,
   18        me, was it --                                 18   that's you, has consulted or reviewed or plans
   19             MR. SNAPP: Twenty-nine.                  19   to consult in preparation for his or her
   20             MS. DICKINSON: Twenty-nine.              20   deposition and has relied upon or will rely upon
   21   BY MS. DICKINSON:                                  21   for testimony on the above deposition topics.
   22        Q. Okay. Counsel and I had a                  22              Do you see that, Schedule B is on
   23   discussion this morning that we would continue     23   page 22 of Exhibit 1?
   24   your 30(b)(6) testimony just on that particular    24         A. Sorry.

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    1         Q. Take your time.                            1   the record the language of that topic that you
    2         A. Yes.                                       2   will be providing testimony on.
    3         Q. Okay. And have you brought those           3             Topic 7 says, the identity of all
    4   documents here today?                               4   persons who were responsible for testing the
    5         A. Yes.                                       5   safety and efficacy of opioid products for
    6              (Document marked for                     6   long-term use or for chronic pain, or who
    7         identification as Exhibit                     7   received reports, test results, studies or any
    8         Purdue-Fanelli-6.)                            8   other documentation regarding the testing of
    9   BY MS. DICKINSON:                                   9   safety and efficacy of opioid products for
   10         Q. Okay. The record will reflect             10   long-term use or chronic pain -- I'm sorry --
   11   the witness brought several boxes of documents     11   for chronic pain or long-term use and the
   12   here today and they were provided to us this       12   results of any such testing.
   13   morning. We have marked those documents as         13             Have I now read that accurately,
   14   Exhibit 6, and the court reporter will copy        14   with the last mistake there at the end?
   15   those documents that Dr. Fanelli brought with      15             MR. SNAPP: Just to clarify, I
   16   him today as Exhibit 6.                            16        don't want to interrupt, but our
   17              Generally, what are -- what is in       17        objections that we marked as Deposition
   18   that file that you brought with you today?         18        Exhibit 5 used slightly different
   19         A. Documents that I looked at when           19        language in our response and our
   20   meeting with the attorneys. It lists that are      20        designation of Dr. Fanelli, so he's
   21   related to these 30(b)(6) topics.                  21        prepared to testify consistent with the
   22              MR. SNAPP: I'm sorry to                 22        language that's included in our
   23         interrupt. I heard someone beep in.          23        supplemental responses and objections
   24         Did someone join on the phone?               24        that have been marked as Deposition
                                                Page 27                                                 Page 29
    1   BY MS. DICKINSON:                                   1         Exhibit 5.
    2        Q. And are there any documents that            2              MS. DICKINSON: Okay.
    3   you reviewed or relied upon in getting ready for    3   BY MS. DICKINSON:
    4   your testimony today that are not included in       4         Q. So, Dr. Fanelli, you are not here
    5   Exhibit 6?                                          5   today prepared to testify on topic 7 as written;
    6        A. No.                                         6   is that correct?
    7        Q. If at any time during your                  7         A. It's -- yes, it's slightly
    8   testimony you need to refer to documents in that    8   modified.
    9   box, will you please let me know what it is you     9              MS. DICKINSON: I'm probably
   10   are referring to so the record could show what     10         going to need the copy of your
   11   we're looking at; is that fair?                    11         objections back, since we only have one.
   12        A. Yes.                                       12              And, for the record, counsel
   13        Q. All right. We discussed a few              13         stated that Dr. Fanelli is not here
   14   minutes ago that you're here to testify on         14         prepared to testify on topic 7 as
   15   behalf of Purdue on certain topics. I think        15         written, but that he is here prepared to
   16   we're going to start and just go through those     16         testify on topic 7 as rewritten in
   17   topics, and that's what we're going to do for      17         response to topic number 7 contained in
   18   the balance of today.                              18         Exhibit -- is it 5? Five, that were
   19             The first one that you've been           19         served on November 15th, 2018.
   20   identified to testify about is topic 7. Could      20              That response reads, Purdue
   21   you turn to that topic, or if you have a list of   21         designates Richard Fanelli, Ph.D. to
   22   the topics, that's fine.                           22         provide testimony regarding the identity
   23        A. I have.                                    23         of those responsible for, or who
   24        Q. And I'm just going to read in for          24         received reports, test results, studies
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    1        or other documentation regarding the           1   and sells a drug has the primary responsibility
    2        testing of the safety and efficacy of          2   to ensure that the drugs that they are selling
    3        OxyContin, Hysingla and Butrans for            3   are safe and efficacious?
    4        long-term use or for chronic pain.             4         A. The pharmaceutical company
    5             Counsel, could you please                 5   presents evidence of the safety and efficacy of
    6        summarize what the limitation that             6   its products that the FDA evaluates in a
    7        you're placing on his testimony of topic       7   benefit-risk assessment in the approval of the
    8        7 is, please.                                  8   product.
    9             MR. SNAPP: I'm not putting any            9         Q. I'm asking a little different
   10        limitation other than what's included in      10   question.
   11        our objections that are marked as             11              I understand the FDA exists, but
   12        Deposition Exhibit 5, so he's prepared        12   I'm asking does a pharmaceutical company who
   13        to testify on topic 7 as well as topics       13   intends to market and sell a drug, does that
   14        10, 29, 30, 37, 38 and 44 as worded in        14   company bear the primary responsibility of
   15        our supplemental responses and                15   ensuring that a drug is safe and efficacious?
   16        objections served on November 15th that       16              MR. SNAPP: Object to the form,
   17        have been marked as Deposition Exhibit        17         scope.
   18        5.                                            18              THE WITNESS: The pharmaceutical
   19             MS. DICKINSON: But he is not             19         company's responsibility is to provide
   20        here prepared to testify on topic number      20         the evidence, investigate of their
   21        7 as written in the amended notice            21         products.
   22        marked as Exhibit 1, correct?                 22   BY MS. DICKINSON:
   23             MR. SNAPP: He's here to testify          23         Q. Do you disagree that the
   24        consistent with Exhibit 5.                    24   pharmaceutical company like Purdue who markets
                                                Page 31                                                 Page 33
    1               MS. DICKINSON: Well, I think            1   and sells a drug has the primary responsibility
    2         we'll start asking questions, and where       2   for its safety and efficacy?
    3         he's not prepared, you can let me know.       3              MR. SNAPP: Object to the form.
    4         It's the best way I can think to go           4         Beyond the scope.
    5         about this. We may have to come back,         5              THE WITNESS: Could you repeat
    6         but we'll try.                                6         the question. Sorry.
    7   BY MS. DICKINSON:                                   7   BY MS. DICKINSON:
    8         Q. Dr. Fanelli, we're going to start          8         Q. I'm trying to get at who has the
    9   with topic 7. We're going to try to break it up     9   ultimate responsibility for the safety and
   10   in pieces, so it's a long topic and it has         10   efficacy of the drugs that Purdue is selling?
   11   varying subparts. If you're not prepared to        11              MR. SNAPP: Object to the form.
   12   testify about a certain subpart, then you can      12              THE WITNESS: I would -- yes, the
   13   let me know, okay?                                 13         pharmaceutical company is responsible
   14         A. Yes.                                      14         for demonstrating the safety and
   15         Q. Let's talk about a couple                 15         efficacy.
   16   preliminary matters related to this particular     16   BY MS. DICKINSON:
   17   topic.                                             17         Q. Let's turn to topic 7, and I'm
   18               Would you agree with me that a         18   going to turn to topic 7 in the notice marked as
   19   pharmaceutical company like Purdue has a           19   Exhibit 1 so we're consistent here.
   20   responsibility to ensure the safety and efficacy   20              In topic 7 there are some
   21   of the drugs that they sell?                       21   capitalized terms, opioid and opioid products.
   22         A. Yes.                                      22              Did you see that?
   23         Q. Would you agree with me that a            23         A. Yes, I see it.
   24   pharmaceutical company like Purdue who markets     24         Q. Okay. And do you understand what

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    1   the definition of the capitalized term opioid       1   sold, promoted, marketed, manufactured, or
    2   products in that topic is asking about?             2   distributed. This includes coatings, capsule
    3         A. Yes.                                       3   configurations, delivery systems or mechanisms
    4         Q. Okay. And what are those                   4   that include but are not limited to anti-abuse,
    5   products?                                           5   tamper resistance and crush-proof mechanisms and
    6         A. Opioid products are products that          6   mechanisms to deter immediate release. Opioid
    7   contain opiate pharmaceutical agent.                7   products is also intended to include rescue
    8         Q. I'm sorry, I wasn't very clear.            8   medication for break through pain.
    9   For the purpose of this topic, opioid products      9              Have I read that correctly?
   10   is a capitalized term and has a definition         10         A. Correct.
   11   contained in this notice and lists what we're      11         Q. And the definition in 16 refers
   12   talking about here.                                12   to opioids as a capitalized term, correct?
   13              Were you provided by counsel or         13         A. Yes.
   14   did you come to understand what that defined       14         Q. So that capitalized term is
   15   term means when we're asking about that in this    15   defined in 15, correct?
   16   topic?                                             16         A. Yes.
   17         A. Yes.                                      17         Q. And in that term "opioid refers
   18         Q. Okay. And what are the drugs              18   to that class of drugs, legal or illegal,
   19   we're talking about with respect to this topic?    19   natural or synthetic, used to control pain,
   20              MR. SNAPP: I'm sorry. Just so           20   including, but not limited to, the drugs
   21         the record is clear, do you want him to      21   referenced in Plaintiffs' Complaints in the
   22         look at the opioid products definition       22   above-referenced matter."
   23         on page 3 of the document?                   23              Do you see that?
   24              MS. DICKINSON: Well, I assume           24         A. Yes.
                                                Page 35                                                 Page 37
    1        he's here prepared to answer the               1         Q. Okay. And were you provided with
    2        question, so I was trying to make it a         2   the list of the drugs that Purdue marketed and
    3        little easier.                                 3   sold that are contained in the Complaint
    4   BY MS. DICKINSON:                                   4   referenced in the above-referenced matter?
    5        Q. If you have an understanding of             5         A. Yes.
    6   what products we're talking about today, that       6         Q. Okay. And what are those drugs?
    7   would be helpful for you to give it to me;          7         A. OxyContin, Butrans and Hysingla.
    8   otherwise, we can go back and read the              8         Q. Okay. I'm going to hand you what
    9   definitions.                                        9   has been marked as Exhibit 7.
   10        A. I'd like to go back and look at            10              (Document marked for
   11   the definition.                                    11         identification as Exhibit
   12        Q. Okay. All right. So let's turn             12         Purdue-Fanelli-7.)
   13   to page 3. I'm sorry, that's not correct.          13   BY MS. DICKINSON:
   14   Definitions are starting at Schedule A and         14         Q. Dr. Fanelli, I'll represent to
   15   paragraphs 15 and 16.                              15   you that Exhibit 7 is the Second Amended
   16              Do you see that?                        16   Corrected Complaint filed in this matter.
   17        A. Yes.                                       17              Do you see that?
   18        Q. Okay. And there is in paragraph            18         A. Yes.
   19   15 a definition of opioid, correct?                19         Q. And let's turn to, if you would,
   20        A. Yes.                                       20   paragraph 40.
   21        Q. In paragraph 16 there's a                  21              Do you see that?
   22   definition of opioid products, and that            22         A. Yes.
   23   definition for the purpose of this notice refers   23         Q. Okay. And in paragraph 40 the
   24   to the opioids that you, that means Purdue,        24   drugs that are listed for Purdue in the Amended

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    1   Complaint are OxyContin, MS Contin, Dilaudid,       1          Q. I also have 2014 to present as
    2   Dilaudid HP, Butrans, Hysingla ER and Targiniq      2   the dates that Targiniq was sold.
    3   ER.                                                 3              Does that sound accurate?
    4             Do you see that?                          4          A. That is not accurate.
    5        A. Yes.                                        5          Q. Okay. How is it -- what dates
    6        Q. Okay. Are you prepared to offer             6   was that product sold between?
    7   testimony on these topics on all of those drugs?    7          A. Targiniq has not been
    8        A. Yes.                                        8   commercialized or sold.
    9        Q. Let's talk briefly about when               9          Q. So today, just to make it easier,
   10   each of those drugs were sold. MS Contin was       10   when I'm asking you about a particular drug,
   11   sold from 1987 to roughly what date?               11   let's take OxyContin, unless I specify
   12             MR. SNAPP: Objection, beyond the         12   otherwise, you know, by giving you a date, I'm
   13        scope.                                        13   asking you for your answer regarding the entire
   14             Go ahead.                                14   time period for that drug.
   15   BY MS. DICKINSON:                                  15              Does that make sense?
   16        Q. Go ahead.                                  16          A. Yes.
   17        A. MS Contin is currently being               17          Q. Okay. And can we agree that's
   18   marketed.                                          18   what I'm asking unless I ask you about specific
   19        Q. So 1987 to present would be                19   years or dates?
   20   accurate?                                          20          A. Yes.
   21        A. I'm not a -- I'm not exactly sure          21          Q. Okay. All right. Let's talk
   22   of the launch date of the product.                 22   about -- we're going to break this up in pieces,
   23        Q. Do you know roughly the dates              23   topic 7. Part of topic 7 asked you to identify
   24   OxyContin has been sold?                           24   all persons who were responsible for the testing
                                                Page 39                                                 Page 41
    1        A. It was approved in '95 and                  1   for safety and efficacy of these drugs we just
    2   continues to be sold, a reformulated version of     2   talked about, correct?
    3   OxyContin.                                          3         A. Yes.
    4        Q. Butrans was sold from roughly               4         Q. Okay. Who -- who are the
    5   2010 to present; is that correct?                   5   persons -- and let's talk about this, I want
    6        A. Correct.                                    6   this to be as efficient as possible. We could
    7        Q. Do you know roughly the years               7   start at the department level, if that makes
    8   Dilaudid was sold by Purdue?                        8   sense. If it's literally a person or persons,
    9        A. I don't remember -- Purdue end              9   you can let me know, but let's start with the
   10   licensed Dilaudid from Abbott, I believe, and I    10   departments that are responsible for the testing
   11   don't remember the years.                          11   regarding safety and efficacy, and we'll just
   12        Q. Would 1984 to present sound                12   run through each of the drugs.
   13   reasonable to you?                                 13              Is that okay?
   14             MR. SNAPP: Object to the form.           14         A. Sure.
   15             THE WITNESS: I don't remember            15         Q. Okay. So who was responsible for
   16        the date it started.                          16   the testing of the safety and efficacy for MS
   17   BY MS. DICKINSON:                                  17   Contin?
   18        Q. What about Hysingla, when has              18              MR. SNAPP: Object to the form.
   19   Hysingla been sold and marketed by Purdue?         19              THE WITNESS: What would be
   20        A. Hysingla is currently continues            20         helpful is to refer to the org charts
   21   to be sold. I don't remember the approval date.    21         that we presented.
   22        Q. I have 2014.                               22   BY MS. DICKINSON:
   23             Does that sound accurate to you?         23         Q. Sure.
   24        A. It does.                                   24         A. And especially around

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    1   departments. As you stated, there's a long, you     1             MS. DICKINSON: Then we'll move
    2   know, period of time and individuals and            2       on.
    3   departments varied over the history, and I think    3              MR. SNAPP: If you want him to
    4   that would be helpful.                              4         testify on it, he can go through each of
    5         Q. Absolutely, if you need to refer           5         the org charts, that's fine. Do you
    6   to a document, let's look.                          6         want him to start with '95?
    7              MR. SNAPP: So what time period           7   BY MS. DICKINSON:
    8         do you want him to ask -- answer the          8         Q. Dr. Fanelli, can I ask you just a
    9         question for?                                 9   question, is the -- are the departments
   10              MS. DICKINSON: I'm asking for           10   responsible going to change if -- by drug?
   11         the entire time period for MS Contin who     11         A. Generally not.
   12         was responsible, what department for the     12         Q. Okay. Because that may make it
   13         safety -- the testing for safety and         13   faster, because we have a number of drugs here,
   14         efficacy for that product.                   14   ones we read off a few minutes ago that were in
   15              MR. SNAPP: So do you want him to        15   the Complaint, right, and if the answer is that
   16         start with the '95 --                        16   the same departments and people were generally
   17              THE WITNESS: When it was                17   responsible for the testing regarding safety and
   18         approved --                                  18   efficacy, I don't want to have to go through
   19              MR. SNAPP: -- org charts and            19   each, if that's possible.
   20         work all the way through the 2017 org        20              Is that fair?
   21         charts?                                      21         A. Yes.
   22              MS. DICKINSON: Sure. I mean,            22         Q. Okay. So why don't we try to do
   23         I'm just asking for the answer. I don't      23   this generally with respect to the drugs that we
   24         know what I want him to look at. He's        24   listed in the Complaint, and if there is a time
                                                Page 43                                                 Page 45
    1        the one that looked at the documents.          1   when the responsibility lies outside of that
    2   BY MS. DICKINSON:                                   2   department you were describing, could you let me
    3        Q. I don't know what you need to               3   know?
    4   look at.                                            4         A. Yes.
    5             MR. SNAPP: Well, to be fair, he           5         Q. Okay. Let's try that. Okay. So
    6        wasn't designated to testify on MS             6   let's start in 1995. What were the departments
    7        Contin. He testified earlier that he's         7   that were responsible for the testing of the
    8        prepared to do it, but he was not              8   safety and efficacy of Purdue's opioid products
    9        designated to testify on MS Contin.            9   at that time?
   10             MS. DICKINSON: So are you going          10         A. Do you have --
   11        to provide a different witness to             11         Q. I don't have, but I think I'm
   12        testify on that part of the topic?            12   about to get a copy of whatever it is you're
   13             MR. SNAPP: No, we're standing by         13   looking at.
   14        our objections.                               14         A. So if we -- can I refer to the
   15             MS. DICKINSON: So he's not going         15   index of this is the org chart from 1995.
   16        to answer the question -- any questions       16         Q. Can I hand you an exhibit
   17        today on any of these topics with             17   sticker, please, to put on that document you're
   18        respect to MS Contin?                         18   looking at?
   19             MR. SNAPP: I didn't say that.            19               MR. SNAPP: What exhibit number
   20        He told -- he testified earlier that          20         is this?
   21        he's prepared to testify on those             21               MS. DICKINSON: I just handed you
   22        topics. I'm saying that it's beyond the       22         or you handed me but now we've marked a
   23        scope of the designated -- his                23         document as Exhibit 8.
   24        designation so --                             24               (Document marked for

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    1         identification as Exhibit                     1   regulatory affairs would be involved in team
    2         Purdue-Fanelli-8.)                            2   meetings and designing and looking at those
    3   BY MS. DICKINSON:                                   3   trials. Regulatory affairs gets involved once
    4         Q. And what is this document?                 4   the studies are in humans, so in a more direct
    5         A. This is an org chart from Purdue,          5   way, because those studies cannot be conducted
    6   the Purdue Frederick Company from June of 1995.     6   without an investigational new drug application
    7         Q. Okay. And we were talking about            7   in effect with the FDA, those are required.
    8   the departments in 1995 who were responsible for    8             So all of the protocols and so --
    9   the testing for the safety and efficacy of          9   and information, including the nonclinical
   10   Purdue's opioid products. So starting in 1995,     10   information, is submitted to FDA prior to those
   11   what were those departments?                       11   studies and all the protocols, so that's when
   12         A. So the safety and efficacy, so            12   regulatory -- the bulk of regulatory's
   13   that includes both -- the majority of that,        13   involvement in that testing occurs.
   14   those individuals were in the research and         14             In the compliance group it varies
   15   development department and the -- if you look      15   over -- this is -- you asked about throughout
   16   under -- I was referring to the index.             16   time and studies, at this time a compliance
   17         Q. Okay.                                     17   group resided within regulatory affairs, it no
   18         A. All in the scientific and medical         18   longer does, but that group is -- does auditing
   19   affairs grouping. So the clinical research         19   of results but also monitors clinical trials for
   20   group would be the ones designing the clinical     20   conduct.
   21   trials. Research and development are related to    21         Q. Okay.
   22   early development of products, so the -- from      22         A. I think that's -- yeah, on this
   23   all the way from testing in nonhuman subjects,     23   sheet. Do you want to --
   24   animal studies all the way through -- all the      24         Q. Are there any other departments
                                                Page 47                                                 Page 49
    1   way through the beginning of testing in humans.     1   who have responsibility for the testing of the
    2   That includes things like formulation,              2   safety and efficacy of opioid products other
    3   development and so forth.                           3   than those we just talked about under scientific
    4             There's biostatistics and                 4   and medical affairs at this point in time?
    5   clinical data management individuals. Clinical      5               MR. SNAPP: Object to the form.
    6   research would be running those trials, and the     6   BY MS. DICKINSON:
    7   group, the biostatistics would be analyzing         7          Q. 1995.
    8   those trials and reporting on them.                 8          A. I was going to ask what do you
    9             And then regulatory affairs and           9   mean by "responsibility"?
   10   compliance while not conducting those -- you       10          Q. I'm just trying to find out who
   11   were asking about conducting, so they wouldn't     11   had involvement. So the topic basically -- and
   12   be doing the trials, so I guess it would reside    12   I'll tell you where I'm going with this, if it
   13   in those departments.                              13   will make it easier.
   14         Q. What was the -- what is the               14               We want to know the persons --
   15   responsibility of the regulatory affairs           15   and by persons we can start with departments and
   16   department with respect to clinical trials?        16   we can talk about how many people are in those
   17         A. Just clinical trials? So --               17   departments, that had involvement with the
   18         Q. I'm sorry, with respect to                18   testing for the safety and efficacy of Purdue's
   19   testing or studies or clinical trials, I'm         19   opioid products. That's just what we want to
   20   talking pretty broadly here.                       20   find out is who at the company was involved in
   21         A. Sure. So testing -- prior to              21   that subject area.
   22   testing in humans, so in animal studies, lab in    22          A. Understand.
   23   vitro studies and so forth, there's not much       23          Q. So we know that the folks in
   24   oversight in regulatory affairs, although          24   scientific and medical affairs were, and all I

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    1   want to know is are there other departments at      1   testing?
    2   this time in 1995 that would have been involved     2         A. In instances where programs were
    3   in that subject area?                               3   being assessed or decisions, high level
    4         A. So there are individuals and               4   decisions, in other words, go, no go decisions
    5   executive -- I have to look at the chart. I         5   were made, they might have received summaries of
    6   joined in 2000, but I -- so I have                  6   results.
    7   understanding, though. There may have been some     7         Q. When you're talking about go, no
    8   executives who would not conduct or design but      8   go decisions, are you talking about
    9   might be involved in oversight or making            9   product-based decisions or test-based decisions?
   10   decisions, for instance, on direction of plan      10         A. Product-based decisions.
   11   and so forth.                                      11         Q. And --
   12         Q. And who would those executives            12         A. For this level.
   13   be?                                                13         Q. Who on this list on the page we
   14         A. So let me look at -- there --             14   were just talking about that ends in 594 would
   15   they would be heads of the departments. There's    15   have been involved in those types of decisions?
   16   an executive committee. I don't remember back      16         A. I'm not aware of the specifics
   17   in '95, but I know when I joined it was in         17   during this time period.
   18   existence, that included the heads of all the      18         Q. Okay. What do you mean by "this
   19   departments, the vice presidents that are listed   19   time period"?
   20   there.                                             20         A. In 1995.
   21         Q. And when you say "there," where           21         Q. Okay. You haven't prepared or
   22   are we looking?                                    22   asked anyone in preparation for your deposition
   23         A. I'm sorry, on page -- doesn't             23   about the time period 1995 to when you arrived
   24   have a page number. It's the third page.           24   in 2000?
                                                Page 51                                                 Page 53
    1         Q. Okay. Third page that's got a              1              MR. SNAPP: Object to the form.
    2   number at the bottom --                             2              THE WITNESS: Just this -- on
    3         A. Actually, sorry.                           3         this particular issue, I didn't ask.
    4         Q. Okay. Go ahead.                            4   BY MS. DICKINSON:
    5         A. The -- if you look at the -- yes,          5         Q. Okay. Other than some of the
    6   I'm sorry, yeah, I see the numbers now. There's     6   individuals on this page, 594, may have had
    7   three different numbers.                            7   involvement with regarding testing as to safety
    8         Q. We can pick one.                           8   and efficacy and the department we talked about,
    9         A. Pick the bottom one. The bottom            9   the scientific and medical affairs department.
   10   one that starts with PKY.                          10              In the time period 1995, were
   11         Q. Sure.                                     11   there other departments at Purdue that had
   12         A. The last three numbers are 594.           12   involvement with testing for safety and efficacy
   13         Q. Okay. And, for the record,                13   of Purdue's opioid products?
   14   you're looking at PKY181872594?                    14         A. Not that I'm aware of.
   15         A. Correct.                                  15         Q. Okay. Your answers about the
   16         Q. And I'm sorry, your answer was            16   1995 time period, how long were the departments
   17   that some of the individuals on this page may      17   you identified responsible for the testing
   18   also had involvement in the testing for the        18   regarding safety and efficacy? I'm just trying
   19   safety and efficacy of Purdue's opioid products    19   to figure out where we're going next.
   20   in some way?                                       20         A. So those departments or functions
   21         A. Not in the testing. So if we're           21   were responsible throughout. So they may be --
   22   restricting to that, they wouldn't have done any   22   the example I gave was compliance is no longer
   23   testing.                                           23   in regulatory affairs; however, they're still
   24         Q. Did they receive results of               24   involved, but they're under drug safe -- a

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    1   different department. So those functions are --     1              MS. CLARK: How about 2001 or
    2   continue to be involved.                            2        2004?
    3         Q. Got it.                                    3              THE WITNESS: 2004.
    4              How -- do you know how many              4              MR. SNAPP: Erin, would you like
    5   people in the scientific and medical affairs        5        to mark this?
    6   department were involved in the testing for the     6              MS. DICKINSON: Yes, please. And
    7   safety and efficacy of Purdue's opioid products?    7        I'll need a copy as well, if you don't
    8              MR. SNAPP: Object to the form.           8        mind.
    9              THE WITNESS: We could look at            9              (Document marked for
   10         the -- these org charts. As I said, it       10        identification as Exhibit
   11         varied over time, but I don't have a         11        Purdue-Fanelli-9.)
   12         number in mind.                              12   BY MS. DICKINSON:
   13   BY MS. DICKINSON:                                  13        Q. Dr. Fanelli, can I ask you a
   14         Q. So when we're trying to identify          14   quick question before we move on to what we've
   15   all the persons who were responsible for testing   15   just marked as Exhibit 9. Can I ask you a
   16   for the safety and efficacy of those products,     16   question about Exhibit 8, the one we were just
   17   we can't identify those persons?                   17   looking at, the early 1995 organizational chart?
   18         A. We can from these org charts if           18        A. Yes.
   19   you want to look.                                  19        Q. Okay. Where do I find the
   20         Q. Okay. Let's do our best to try            20   corporate structure of the scientific and
   21   and do that. Okay.                                 21   medical affairs division on that org chart? It
   22              So to back up a minute, you said        22   appears to me to be page ending in 566, but am I
   23   from 1995 throughout the time period, do you       23   right about that?
   24   mean 1995 to present where these functions         24              MR. SNAPP: I think you switched
                                                Page 55                                                 Page 57
    1   generally were the ones that touched safety and     1         sets of Bates numbers.
    2   efficacy testing; is that right?                    2              MS. DICKINSON: Oh, I'm sorry.
    3         A. Yes, correct.                              3              THE WITNESS: Yes.
    4         Q. Okay. They may have moved -- for           4   BY MS. DICKINSON:
    5   example, compliance may have moved outside of       5         Q. The set ending in 601.
    6   scientific and medical affairs, but compliance      6         A. Yes.
    7   still did touch upon safety and efficacy            7         Q. Okay. For the record, we're
    8   testing; is that right?                             8   looking at PKY181872601; is that right?
    9         A. Correct.                                   9         A. Correct. And...
   10         Q. Okay. Let's then go to -- you             10         Q. Okay. And that page depicts the
   11   said you had to refer to some other org charts     11   individuals in the scientific and medical
   12   to tell me where the actual positions or persons   12   affairs group at Purdue Pharma back in 1995; is
   13   would reside that -- that were responsible for     13   that right?
   14   testing of safety and efficacy, right?             14         A. Yes.
   15         A. Correct.                                  15         Q. Okay. Are there any other
   16         Q. Okay. Where do we look?                   16   individuals that were in that division at that
   17         A. Can I ask, can we look at an org          17   time at Purdue that would not be depicted on
   18   chart from when I joined Purdue or shortly         18   this page?
   19   thereafter? Those individuals -- I mean, I know    19         A. Yes. If you -- on subsequent
   20   many of these, but I'd be much more familiar and   20   pages there's drill down to -- if you look at
   21   be able to answer directly.                        21   the header -- let's take the example of Robert
   22         Q. Sure, yeah, absolutely.                   22   Kaiko on the far left there. If you look on the
   23         A. So perhaps 2002, something. Is            23   next page, there's individuals under Robert
   24   that all right?                                    24   Kaiko, clinical research, that those individuals

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    1   are in his -- and there are subsequent pages        1        A. Yes, correct.
    2   where those are described.                          2        Q. Okay. And, if you would, tell me
    3         Q. Okay. And so we're clear, it               3   the departments at this time that were
    4   looks like all subsequent pages in this org         4   responsible for testing for safety and efficacy
    5   chart following the page that ends in 601 are       5   of Purdue's opioid products.
    6   individuals in the scientific and medical           6        A. So, sorry, I'm trying to locate.
    7   affairs group; is that right?                       7        Q. No, that's okay.
    8         A. I'll have to check each page.              8        A. This one doesn't have a table of
    9   Yes.                                                9   contents.
   10         Q. Okay. So if I wanted to find all          10             There's an R&D -- so if I just
   11   of the persons that touched the safety and         11   look at the -- what's the number at the bottom?
   12   efficacy testing for the opioid products, these    12   It ends in 807, so the second page.
   13   pages from PKY181872601 through the page that      13        Q. Okay. And, for the record, we're
   14   ends in 608, that's where I find the totality of   14   looking at the Bates number PURCHI003290807,
   15   those individuals; is that right?                  15   correct?
   16         A. Correct.                                  16        A. Correct.
   17         Q. Okay.                                     17        Q. Okay.
   18         A. Now, some of the individuals,             18        A. So if you look, individuals
   19   administrative assistants, you know, wouldn't      19   reporting up to the chief executive officer,
   20   have done testing, of course, and so forth.        20   Michael Friedman at the time, Fred Sexton's
   21         Q. But it's not more than the                21   department, technical operations would be
   22   individuals --                                     22   involved. Those folks do some of the testing
   23         A. Correct.                                  23   around formulations and so forth. And the -- it
   24         Q. -- listed in here, correct?               24   says vacant at this time, executive vice
                                                Page 59                                                Page 61
    1         A. Right. It's a sub --                       1   president, worldwide R&D and chief scientific
    2         Q. Okay. Might be less?                       2   officer would be responsible for the other --
    3         A. Correct.                                   3   the clinical and so forth.
    4         Q. Okay. So if I wanted to know how           4              And then the regulatory at this
    5   many folks at Purdue in the 1995 time period        5   time were they in -- I believe we can look
    6   spent time on testing for safety and efficacy,      6   further, but I think they were in that
    7   it would be -- I could add up the folks on these    7   department as well.
    8   pages and it would be some number less than         8         Q. Okay. Can I ask you, this
    9   that; is that accurate?                             9   document is 2004.
   10         A. That's accurate.                          10         A. Mm-hmm.
   11         Q. Okay. All right. Do you know              11         Q. You got to the company in 2000;
   12   how long the organizational structure that is      12   is that right?
   13   listed in Exhibit 8 was in place? I'm trying to    13         A. Correct.
   14   figure out where the next point in time was that   14         Q. Was the basic organizational
   15   the medical affairs department, for example,       15   structure from 2000 to 2004 similar to what
   16   would have changed?                                16   we're looking at on this page that ends in 807?
   17         A. I would -- I don't know when it           17         A. Yes.
   18   changed.                                           18         Q. Okay.
   19         Q. Okay. Let's look at Exhibit 9,            19         A. Right.
   20   and let's do the same thing for Exhibit 9, if      20         Q. So when I'm asking you questions
   21   you would, in telling me what departments at       21   about the departments that had responsibility
   22   Purdue in this time period and it looks like       22   for testing for safety and efficacy, that would
   23   this time period, this is a chart from August of   23   be true from at least 2000 to at what point in
   24   2004; is that right?                               24   time?

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    1         A. Around this time. I believe                1   executive department, group.
    2   shortly after this, there was -- there were some    2         Q. Okay. And at this point in time
    3   changes.                                            3   between 2000 and 2004, medical affairs no longer
    4         Q. Okay. So from 2000 to roughly              4   had involvement in the clinical -- or in the
    5   mid-2004, your answers will be the same,            5   testing for safety and efficacy of opioid
    6   correct?                                            6   products; is that true?
    7         A. Yes.                                       7         A. I'm sorry, can you -- what time
    8         Q. Okay. And you've identified the            8   period?
    9   R&D department and technical operations as the      9         Q. The 2000 to 2004 time frame that
   10   two departments that would have been involved in   10   we're looking at an org chart that would
   11   that, correct?                                     11   represent the structure in that time period.
   12         A. Yes, right.                               12         A. Those responsibilities rely --
   13         Q. Previously medical affairs had            13   lie in the R&D part of it. Medical affairs
   14   been the department that oversaw testing for       14   depends on, you know, as I say, they move -- if
   15   safety and efficacy, correct? Scientific and       15   you take the medical affairs function, they're
   16   medical affairs, correct?                          16   responsible for post approval, scientific and
   17         A. Yes, I knew there was another             17   communica -- and those kinds of functions. So
   18   term, yeah.                                        18   testing for medical affairs is along those time
   19         Q. And previous to the 2000 time             19   frame, so after approval of a product.
   20   frame, Paul Goldenheim had headed up that          20         Q. Where do I find the medical
   21   division, scientific and medical affairs; is       21   affairs division in this org chart?
   22   that right?                                        22         A. I think if you -- sorry, let
   23         A. Correct.                                  23   me -- there it is. Should I read you the
   24         Q. Is he still with the company?             24   number?
                                                Page 63                                                 Page 65
    1         A. No.                                        1         Q. Yes, please.
    2         Q. When did he leave?                         2         A. Can I read you the last three, or
    3         A. I believe it was around 2007               3   do you want --
    4   or -- I don't have an exact date.                   4         Q. Last three is fine.
    5         Q. Okay. This org chart says that             5         A. Okay. 821.
    6   the executive vice president in charge of           6         Q. Okay. And we're looking at the
    7   research and development and the chief              7   page that ends in 821 contained in Exhibit 9,
    8   scientific officer position was vacant as of        8   and that would be a depiction of all the
    9   2004, but between 2000 and 2004, generally, who     9   individuals in the medical affairs department;
   10   sat in that seat?                                  10   is that what you're telling me?
   11         A. That would have been Paul                 11         A. Correct. It includes both
   12   Goldenheim.                                        12   medical affairs and pharmacovigilance or drug
   13         Q. Okay. Essentially, did the                13   safety as well.
   14   medical -- or the scientific and medical affairs   14         Q. And those folks would have
   15   division get renamed as research and               15   involvement with safety and efficacy testing, it
   16   development; is that fair to say?                  16   would just be post product approval, correct?
   17         A. I would -- I would characterize           17         A. I wouldn't characterize --
   18   it as the departments were -- became               18   they're more on the safety side. They could
   19   independent, not independent, but separate         19   conduct efficacy trials, but those are generally
   20   departments.                                       20   conducted prior to approval, but there are cases
   21              Research and development and            21   where if it's related to a new indication or
   22   medical affairs and as we -- for instance,         22   demonstration, it could -- it could go both R&D
   23   today, that we have R&D is one group, medical      23   and medical affairs at that time period.
   24   affairs, both reporting in to -- to the            24         Q. Okay. Where do I find the R&D

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    1   piece of the individuals in this org chart that     1             I want to just see if we can
    2   worked in R&D?                                      2   round out this topic in a little bit more
    3          A. Looking for that. Part of it              3   efficient way since we've taken a break. We
    4   is -- let me look at this. Bates number or          4   were going through the departments that had
    5   whatever that, ends in 827.                         5   responsibility for safety and efficacy testing,
    6          Q. Okay.                                     6   and I understood your testimony this morning to
    7          A. There are -- it lists folks, I            7   say that generally medical affairs and research
    8   can't read the dark print there, but those are      8   and development were the departments that those
    9   some of the folks who did the early testing,        9   responsibilities would lie within over the
   10   animal testing, says toxicologists and some of     10   entire period of time; is that accurate?
   11   the project managers, I talked about that          11         A. Yes.
   12   department being involved, they organize the       12         Q. Okay. Can we talk about who
   13   department, so that's part of it.                  13   headed up those two departments over time, and
   14               MR. SNAPP: Erin, we've been            14   maybe we can be done with it then.
   15          going an hour, can we take a couple         15         A. Okay.
   16          minutes break.                              16         Q. I assume then I can find the
   17               MS. DICKINSON: Yeah, let's just        17   individuals that worked within those departments
   18          finish this up quickly.                     18   within the org charts that you've brought with
   19               THE WITNESS: Sure. I don't see         19   you today; is that right?
   20          on this particular grouping the drill       20         A. Generally. Like I said, it
   21          down to those other individuals.            21   may -- it depends on which one, how far down
   22   BY MS. DICKINSON:                                  22   they drilled into the individuals. We have a
   23          Q. You mean you don't see the               23   good example that was more complete in -- what
   24   individual drilled down on the research and        24   was it, 2000 and --
                                                Page 67                                                  Page 69
    1   development department?                             1             MR. SNAPP: One.
    2        A. Correct.                                    2             THE WITNESS: 2001 you can see
    3        Q. Okay. Where would I go to find              3        that, that gives you a good
    4   out in the time period 2000 to 2004 who was in      4        representation of those individuals.
    5   the research and development department that was    5   BY MS. DICKINSON:
    6   responsible for safety or efficacy testing          6        Q. Okay.
    7   regarding opioid products?                          7        A. Yeah.
    8        A. Perhaps I think the best would be           8        Q. And we talked about that
    9   to look at a different org chart.                   9   Mr. Goldenheim headed up the scientific and
   10        Q. Okay.                                      10   medical affairs division from roughly 1995 to
   11             MS. DICKINSON: Why don't we take         11   2000; is that right?
   12        a break there.                                12        A. I believe that's correct.
   13             THE WITNESS: Okay.                       13        Q. Okay. And you thought that he
   14             THE VIDEOGRAPHER: Stand by,              14   likely headed up the R&D department in the years
   15        please. Remove your microphone. Okay.         15   roughly 2000 to 2004 time period; is that
   16        The time is 10:12 a.m. going off the          16   correct?
   17        record.                                       17        A. I believe that's correct.
   18             (Brief recess.)                          18        Q. Okay. We know that the seat was
   19             THE VIDEOGRAPHER: Okay. We are           19   vacant in 2004.
   20        back on the record. The time is               20        A. Right.
   21        10:20 a.m.                                    21        Q. But then who is the person that
   22   BY MS. DICKINSON:                                  22   headed up the R&D department going forward after
   23        Q. Dr. Fanelli, we're back on the             23   2004?
   24   record after a short break.                        24        A. I'd have to look at the next one.

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    1           Q.   Okay.                                       1   testing. So during this time period, those are
    2           A.   And I can --                                2   the two groups doing the primary -- or
    3           Q.   Let's see if we can quickly do              3   responsible for the scientific preclinical and
    4   that.                                                    4   clinical testing.
    5           A.  Yeah, yeah.                                  5              As I mentioned, regulatory
    6             I have -- is it okay? So I'm                   6   affairs is involved to a certain extent, not in
    7   looking at -- and this is a good example of what         7   the testing, of course, but in reporting or
    8   I was talking about before, the organization             8   providing guidance, and that's headed by Tony
    9   chart from January of 2007.                              9   Santopolo down there.
   10             MS. DICKINSON: I ask you to give              10              And, again, Fred Sexton's
   11        him that exhibit sticker.                          11   department, which I mentioned before, technical,
   12   BY MS. DICKINSON:                                       12   at this point that's -- we talked about that
   13        Q. We're going to mark as Exhibit 10               13   very -- just formulation, so those individuals
   14   the organizational chart for Purdue for January         14   might be doing some formulation testing.
   15   2007; is that accurate?                                 15         Q. Okay. And all of those divisions
   16        A. Correct.                                        16   reported generally to the president and CEO at
   17             (Document marked for                          17   that time, Michael Friedman; is that correct?
   18        identification as Exhibit                          18         A. Correct.
   19        Purdue-Fanelli-10.)                                19         Q. And the org charts we took a look
   20   BY MS. DICKINSON:                                       20   at earlier, those positions also reported to the
   21        Q. And that is a true and accurate                 21   president and CEO, who in between '95 and what
   22   copy of Purdue's organizational chart dated             22   we're looking at here in '07, was Michael
   23   January 2007?                                           23   Friedman; is that right?
   24        A. Yes.                                            24         A. Not in '95. I don't remember --
                                                      Page 71                                                Page 73
    1         Q. And who at that time period sat                 1         Q. Okay.
    2   at the head of both medical research and R&D?            2         A. -- but it's on the org charts is
    3         A. If you look at -- there's no                    3   my understanding.
    4   number -- oh, yeah, there is, sorry. The second          4         Q. Okay. What -- we're up to 2007.
    5   page, 144 on the bottom.                                 5         A. Yep.
    6         Q. Mm-hmm.                                         6         Q. I want to know who headed the
    7         A. This is reporting in to Michael                 7   divisions that had responsibility for safety and
    8   Friedman at the time, and it's a good example of         8   efficacy testing or had involvement in that from
    9   how things change and but where the                      9   '07 to present. What's the next document we
   10   responsibilities still lie. If you look on the          10   need to look at to talk about that?
   11   left side, four down is medical research, so            11         A. I don't remember when it changed
   12   it's now -- now at this current time research           12   again. What's the next one you have?
   13   and development is split into two groups at             13              MR. SNAPP: 2010.
   14   least, maybe three, at least on that org chart.         14              THE WITNESS: I'm consulting
   15   You see Craig Landau who is our current CEO, at         15         '10 to see if it's different, and I'll
   16   this time was the vice president of medical             16         let you know.
   17   research, so those are the individuals who              17   BY MS. DICKINSON:
   18   conducted the clinical trials.                          18         Q. Okay.
   19              If you look on the right, almost             19         A. This is in January of 2010, it's
   20   right across from that but a little up, it's            20   relatively similar. I mean, medical research
   21   Robert Kaiko. He's the vice president of R&D            21   now has clinical, medical and regulatory, all
   22   portfolio development, so that would be the             22   together. Sorry.
   23   folks before the clinical development that we           23              (Document marked for
   24   talked about earlier, so lab testing, animal            24         identification as Exhibit

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    1         Purdue-Fanelli-11.)                           1   preclinical research down to the bench,
    2   BY MS. DICKINSON:                                   2   analytical testing is all in that R&D
    3         Q. I'm going to hand you what's an            3   department.
    4   exhibit sticker, we're going to mark that as        4             And the medical affairs
    5   Exhibit 11, and what is Exhibit 11?                 5   department is separate and as we talked about
    6         A. It's the organization chart from           6   the difference between those two
    7   January of 2010.                                    7   responsibilities.
    8         Q. Okay. And at that point in time,           8             Now, testing -- statistics, that
    9   what were the divisions that were responsible       9   group is also in R&D currently, and I think
   10   for the testing of safety and efficacy of          10   you'll find all the individuals there.
   11   Purdue's opioid products, and who headed those     11         Q. Who has headed R&D from roughly
   12   divisions?                                         12   2010 to present?
   13         A. So if you look on the -- sorry.           13         A. Currently, it's John Ringer is
   14   457, last three numbers, Craig Landau was still    14   the head of R&D for the last -- I think it's
   15   vice president, head of medical research, but      15   been a year and a half or so.
   16   under his department medical and regulatory have   16             Prior to that it was Gary Styles,
   17   now been joined, so they're under -- in that       17   I think Gary Styles. I'd have to look.
   18   department.                                        18             And prior to that it was Todd
   19             And there's an open position, I'm        19   Baumgartner, anyway.
   20   not sure what that is at the time. It's a vice     20             And then I think we're -- I can't
   21   president of R&D. So in that group is the R&D      21   remember where we left off going the other way.
   22   group that would have been -- it doesn't have a    22         Q. That's okay. Who has headed
   23   name assigned to it at the time.                   23   medical affairs from roughly 2010 to 2017 -- or
   24             Here we go. I just want to see           24   I'm sorry -- to present?
                                                Page 75                                                 Page 77
    1   if I was on the org chart. I don't see --           1         A. Currently head of medical affairs
    2              MR. SNAPP: Is there another              2   is Marcelo Bigal is his name, he's recently a
    3         question? I think he answered the             3   recent hire.
    4         question.                                     4             Prior to Marcelo, Monica
    5              MS. DICKINSON: I don't know. I           5   Kwarcinski was the head for the interim period.
    6         thought you were looking for something.       6             Prior to that it was Gail
    7              MR. SNAPP: The divisions and who         7   Cawkwell was the head of medical affairs.
    8         headed the divisions.                         8             Robert Reeder was way back, I
    9              THE WITNESS: Yeah, I don't see           9   can't remember if there were folks in between.
   10         the breakouts all the way down, but          10   I'd have to look at the charts.
   11         that's the department.                       11         Q. Okay.
   12   BY MS. DICKINSON:                                  12         A. But those are representative.
   13         Q. That's 2010?                              13         Q. And all of the org charts you've
   14         A. Yes.                                      14   reviewed in getting ready for your testimony are
   15         Q. What do we need to look at to             15   in the boxes we marked as Exhibit 6 at the
   16   take us through the present on who was             16   beginning of the day; is that right?
   17   responsible for the testing and safe -- of         17         A. Correct.
   18   safety and efficacy for your opioid products?      18         Q. Okay. All right. Let's move on
   19         A. I can tell you today, and I think         19   from this subject.
   20   it's been this way -- I can't remember when it     20             We're going to talk about the
   21   became, but it's been for a number of years,       21   rest of the parts of the topic 7 that we have
   22   there's a vice president of R&D, so the research   22   here, because one part was the identity of the
   23   and development department, and that includes at   23   persons who were responsible for the testing,
   24   the current time all the clinical research,        24   but also who received the reports and the

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    1   testing and the results of those reports, right?    1        Q. Okay. And that sentence appears
    2         A. Correct.                                   2   in the label that Purdue had negotiated with the
    3         Q. Okay. So we're going to move on            3   FDA in 1995 or beforehand; is that right?
    4   to that second part. We've talked about the         4        A. Yes, this is the approved version
    5   people who were responsible. Now we're going to     5   by FDA, FDA's approval, yes.
    6   kind of move on, but we're still on topic 7.        6        Q. Okay. And one of Purdue's
    7             Let's talk about 1996 and                 7   messages in marketing was the message that
    8   OxyContin. 1996 OxyContin had been approved,        8   because of the extended-release formulation that
    9   correct?                                            9   OxyContin had less abuse potential than other
   10         A. Yes, the original formulation.            10   pain medications, correct?
   11         Q. Correct, the original formulation         11             MR. SNAPP: Objection, beyond the
   12   of OxyContin had been approved by the FDA; is      12        scope.
   13   that right, in 1996?                               13   BY MS. DICKINSON:
   14         A. '95.                                      14        Q. Correct?
   15         Q. Correct, okay.                            15             MR. SNAPP: Same objection.
   16             And I'm going to hand you what           16   BY MS. DICKINSON:
   17   has been marked as Exhibit 12.                     17        Q. You can answer.
   18             (Document marked for                     18        A. Could you repeat the question.
   19         identification as Exhibit                    19        Q. Sure. And one of Purdue's
   20         Purdue-Fanelli-12.)                          20   messages in marketing was that because of the
   21   BY MS. DICKINSON:                                  21   extended-release formulation of OxyContin, that
   22         Q. And that is a document that was           22   OxyContin had less abuse potential than other
   23   produced to us by Purdue in this litigation        23   pain medications, correct; that was one of the
   24   beginning with the Bates number -- when I say      24   marketing messages for OxyContin?
                                                Page 79                                                 Page 81
    1   "Bates number," the number at the bottom,           1             MR. SNAPP: Object to the form.
    2   PKY183226682.                                       2   BY MS. DICKINSON:
    3             That is -- does this appear to be         3        Q. Correct?
    4   a true and accurate copy of the label, the          4             MR. SNAPP: And beyond the scope.
    5   original label for OxyContin?                       5             THE WITNESS: There was -- there
    6        A. Just checking the date.                     6        were statements regarding that the
    7        Q. Sure.                                       7        delayed absorption was believed to
    8        A. Yes, it does.                               8        reduce the abuse liability.
    9        Q. Okay. And then let's turn to the            9   BY MS. DICKINSON:
   10   page that ends in 87 in the middle of Exhibit      10        Q. Okay. Statements in marketing,
   11   12. Tell me when you're there.                     11   correct?
   12        A. Okay, I'm there.                           12             MR. SNAPP: Object to the form,
   13        Q. Okay. And in the middle of that            13        beyond the scope.
   14   page, there is a section called "Drug Abuse and    14             THE WITNESS: The exact
   15   Dependence" and in parentheses "Addiction."        15        statements I'd have to see the
   16             Do you see that?                         16        materials. I'm not responsible for
   17        A. Yes.                                       17        those materials.
   18        Q. Okay. And in the first paragraph           18   BY MS. DICKINSON:
   19   of that section, the last sentence has a           19        Q. I'm just asking you whether you
   20   sentence that reads, "Delayed absorption, as       20   know whether that message was delivered in
   21   provided by OxyContin tablets, is believed to      21   marketing?
   22   reduce the abuse liability of a drug."             22             MR. SNAPP: Object to the form,
   23             Have I read that correctly?              23        beyond the scope.
   24        A. Yes.                                       24             THE WITNESS: Not that -- I'm not

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    1        aware that that exact message.                 1         Q. Okay. You're familiar that there
    2             MS. DICKINSON: Okay. We can               2   was a case, and do you understand that Purdue
    3        take a look.                                   3   pled guilty to the charges in that case?
    4             I'm going to hand this to you all         4             MR. SNAPP: Same objection,
    5        together. Give me just a moment. I'm           5         beyond the scope.
    6        going to hand you a series of exhibits         6             THE WITNESS: Yes.
    7        marked Exhibit 13, 14 and 15. Copies           7   BY MS. DICKINSON:
    8        for your counsel are behind there.             8         Q. Okay. All right. And let's take
    9             (Documents marked for                     9   a look at -- for the record, let's just identify
   10        identification as Exhibit                     10   Exhibit 13 is a document called the Information
   11        Purdue-Fanelli-13, 14 and 15.)                11   in the federal criminal case that we were just
   12   BY MS. DICKINSON:                                  12   talking about.
   13        Q. If you could put Exhibits 13, 14           13             Do you see that title?
   14   and 15 in front of you, that would be great.       14         A. Yes.
   15             Okay. So for the record, Exhibit         15         Q. Okay. The document we marked as
   16   13, 14 and 15 are a series of documents filed in   16   Exhibit 14 is Purdue's Plea Agreement.
   17   the case in which the United States Department     17             Do you see that?
   18   of Justice charged Purdue with criminal charges    18         A. Yes.
   19   over the false marketing of OxyContin.             19         Q. And the document we marked as
   20             Are you familiar with that case?         20   Exhibit 15 is an Agreed Statement of Facts in
   21        A. Familiar with the case.                    21   that same case, correct?
   22        Q. Okay.                                      22         A. Correct.
   23        A. Well, yes.                                 23         Q. I'd like you to take Exhibit 15,
   24        Q. Are you familiar with the fact             24   please, the Agreed Statement of Facts, and turn
                                                Page 83                                                 Page 85
    1   that Purdue was charged in that case, shown in      1   to paragraph 20.
    2   13, 14 and 15, with felony misbranding of its       2             Tell me when you're there.
    3   drug OxyContin?                                     3        A. I'm there.
    4              MR. SNAPP: Object to the form,           4        Q. Okay. That paragraph reads,
    5         object as beyond the scope of the             5   "Beginning on or about December 12th, 1995, and
    6         noticed deposition topics. He's not           6   continuing until on or about June 30th, 2001,
    7         been designated to testify about the          7   certain Purdue supervisors and employees, with
    8         plea. He's not authorized on behalf of        8   the intent to defraud or mislead, marketed and
    9         the company to speak on behalf of the         9   promoted OxyContin as less addictive, less
   10         company with respect to the plea.            10   subject to abuse and diversion, and less likely
   11   BY MS. DICKINSON:                                  11   to cause tolerance and withdrawal than other
   12         Q. Go ahead and answer.                      12   pain medications, as follows."
   13         A. Could you repeat the question,            13             Did I read that correctly?
   14   please.                                            14        A. Yes.
   15         Q. Are you familiar with the fact            15        Q. Okay. And that is an agreed
   16   that Purdue was charged with felony misbranding    16   statement of fact that Purdue agreed to,
   17   of its drug OxyContin?                             17   correct?
   18              MR. SNAPP: Same objections.             18             MR. SNAPP: Object to the form,
   19   BY MS. DICKINSON:                                  19        beyond the scope.
   20         Q. In the year 2007?                         20             THE WITNESS: So, again, I'm
   21         A. I'm familiar that there was a             21        not -- my responsibility is not with law
   22   case, but the details of what the charges were     22        and interpretation, so I'd have to -- I
   23   or what the plea was are not part of my            23        haven't seen this document prior.
   24   responsibility or legal understanding.             24   BY MS. DICKINSON:

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    1         Q. Okay. Can you turn to the last             1         A. Shortly after, yes, through 2001
    2   page.                                               2   until today.
    3         A. Yeah.                                      3         Q. Let's just --
    4         Q. Or, actually, I'm sorry, could             4         A. I don't know if we launched until
    5   you turn to page 27 at the bottom.                  5   January -- you said 2000.
    6         A. Twenty-seven of the page ID?               6         Q. Let's do it this way: The years
    7         Q. Yes.                                       7   1996 to 2001 --
    8         A. Okay.                                      8         A. Correct.
    9         Q. And that page contains and it              9         Q. -- Purdue was selling OxyContin
   10   says for the defendant, Purdue Frederick           10   during those years, correct?
   11   Company, and it contains the signature of Robin    11         A. Correct.
   12   Abrams, below it Michael Friedman, below it        12         Q. In between those years, Purdue
   13   Howard Udell, correct?                             13   dispensed over a billion pills of OxyContin; is
   14         A. Correct.                                  14   that right?
   15         Q. And those -- Mr. Abrams,                  15              MR. SNAPP: Object to the form,
   16   Mr. Friedman and Mr. Udell were all employed by    16         also beyond the scope.
   17   Purdue Frederick Company at the time, correct?     17              THE WITNESS: I have -- I don't
   18         A. It's Ms. Abrams, but, yes.                18         have any knowledge of the number of
   19         Q. So according to the paragraph we          19         pills.
   20   just read in the Information, that between 1995    20   BY MS. DICKINSON:
   21   and 2001, Purdue, with the intent to defraud or    21         Q. Do you have any ballpark idea
   22   mislead, marketed and promoted OxyContin as less   22   what they sold in the first five years?
   23   addictive and less subject to abuse and            23         A. No.
   24   diversion, according to this document, the         24              MR. SNAPP: Same objections.
                                                Page 87                                                 Page 89
    1   Agreed Statement of Facts, correct?                 1   BY MS. DICKINSON:
    2            MR. SNAPP: Object to form,                 2        Q. Okay. You can put that aside for
    3        beyond the scope.                              3   a moment, but let's keep it handy.
    4            THE WITNESS: It says certain               4        A. All three or --
    5        Purdue supervisors and employees, that's       5        Q. Just keep all three, if you
    6        what it says, yes.                             6   would.
    7   BY MS. DICKINSON:                                   7        A. Okay.
    8        Q. Okay. And the years 1995 to                 8             Document marked for
    9   2001, that was the first six years of the           9        identification as Exhibit
   10   marketing of OxyContin; is that right?             10        Purdue-Fanelli-16.)
   11            MR. SNAPP: Object to the form.            11   BY MS. DICKINSON:
   12            THE WITNESS: Purdue was                   12        Q. Dr. Fanelli, we're going to talk
   13        approved -- I think that's the date of        13   about some of the reports and studies that
   14        approval. I'd have to look. I'm not           14   Purdue either was or wasn't aware of in the 1995
   15        sure when the marketing began. Usually        15   to 2001 time frame, okay?
   16        they're not -- it's not marketed the day      16        A. Okay.
   17        of approval. It takes some time.              17        Q. I've handed you what has been
   18   BY MS. DICKINSON:                                  18   marked as Exhibit 16.
   19        Q. Fair enough. Marketing would               19             This is an article that appeared
   20   probably commence shortly after approval,          20   in the New York Times dated May 29th, 2018.
   21   correct?                                           21             Have you seen this article?
   22        A. Correct.                                   22        A. I believe I have.
   23        Q. Okay. And the years 1995 to                23        Q. Okay. Let's turn to -- trying to
   24   2001, Purdue was selling OxyContin, correct?       24   find a page here -- oh, page 4, at the top there

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    1   are pages.                                         1   to last paragraph on this page, page 4, it says,
    2         A. Yes.                                      2   "In May 1996, five months after OxyContin's
    3         Q. If you turn to page 4. The                3   approval, Richard Sackler and Mr. Udell were
    4   second to last paragraph, if you would just        4   sent an older medical journal article describing
    5   quickly read that.                                 5   how drug abusers were extracting Morphine from
    6         A. (Witness reviews document.)               6   MS Contin tablets in order to inject the drug,
    7   Okay.                                              7   prosecutors reported. A Purdue" -- I'm sorry,
    8         Q. Okay. This article describes              8   we don't need to read the next sentence yet.
    9   that in 1996, okay, so '96 just months after       9             Was Purdue in 1996 sent medical
   10   Purdue started selling OxyContin, that Purdue     10   journal articles describing how drug abusers
   11   started learning that drug abusers were seeking   11   were extracting Morphine from MS Contin tablets
   12   out OxyContin and Purdue's other long-acting      12   in order to inject the drug?
   13   opioid MS Contin.                                 13             MR. SNAPP: Object to the form
   14             Was Purdue receiving those kind         14         and beyond the scope.
   15   of reports in 1996?                               15             THE WITNESS: I do not know.
   16             MR. SNAPP: Object to the form           16   BY MS. DICKINSON:
   17         and beyond the scope.                       17         Q. We'd have to ask Mr. Sackler and
   18   BY MS. DICKINSON:                                 18   Mr. Udell; is that right?
   19         Q. Go ahead.                                19             MR. SNAPP: Object to the form.
   20         A. What kind of reports? I'm sorry.         20             THE WITNESS: I'm not sure of the
   21         Q. The article talks about Purdue           21         source or how to -- you know, how you
   22   receiving reports that in 1996 that there were    22         would ask.
   23   drug abusers seeking out OxyContin and MS         23   BY MS. DICKINSON:
   24   Contin?                                           24         Q. Well, this article says that
                                                Page 91                                                Page 93
    1             MR. SNAPP: Object to the form            1   Mr. Sackler and Mr. Udell were sent the journal
    2        and beyond the scope.                         2   article. So to verify whether that's true or
    3   BY MS. DICKINSON:                                  3   not, I would have to ask those two individuals;
    4        Q. Was Purdue -- I'm asking is that           4   is that right?
    5   accurate, was Purdue receiving those kinds of      5              MR. SNAPP: Object to the form,
    6   reports in 1996?                                   6         beyond the scope.
    7             MR. SNAPP: Object to the form            7              THE WITNESS: It's a report from
    8        and beyond the scope.                         8         the prosecutors, not from those
    9             THE WITNESS: I'm not aware of            9         individuals so...
   10        whether or not Purdue received -- we         10   BY MS. DICKINSON:
   11        would have received adverse event            11         Q. I'm not trying to be difficult.
   12        reports, and that's part of our              12              I have not seen this document
   13        pharmacovigilance, but I'm not aware of      13   produced in this case, so I'm trying to figure
   14        what were received during that time          14   out if this fact is accurate, and this reports
   15        period.                                      15   that Mr. Sackler and Mr. Udell received a
   16   BY MS. DICKINSON:                                 16   document. I'm trying to figure out who at
   17        Q. Okay. Who would know?                     17   Purdue could tell me if they actually received
   18             MR. SNAPP: Same objections,             18   this document, and I assume Mr. Sackler is one
   19        beyond the scope.                            19   of those people, correct?
   20             THE WITNESS: I'm not aware. I           20              MR. SNAPP: Object to form,
   21        don't know who would have received those     21         object as beyond the scope.
   22        at the time.                                 22              THE WITNESS: I don't know if it
   23   BY MS. DICKINSON:                                 23         came to others but if -- so what you
   24        Q. Okay. Further down, the second            24         said is correct.

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    1   BY MS. DICKINSON:                                   1         Q. "Prosecutors wrote, that Purdue
    2         Q. And if someone received this               2   Pharma learned that drug addicts in Australia
    3   information in 1996, that was after OxyContin       3   and New Zealand were abusing MS Contin and
    4   was on the market with the label that said          4   Dr. Goldenheim was sent an article from the
    5   delayed absorption is believed to reduce the        5   American Family Physician, a publication, about
    6   abuse liability of the drug, correct?               6   the ease of extracting Morphine from MS Contin."
    7              MR. SNAPP: Object to the form.           7             Do you know if in 1997 Purdue was
    8         Object as beyond the scope.                   8   receiving reports that drug addicts in Australia
    9              THE WITNESS: What year? I'm              9   and New Zealand were abusing MS Contin?
   10         sorry.                                       10             MR. SNAPP: Objection, beyond the
   11   BY MS. DICKINSON:                                  11         scope.
   12         Q. 1996, May of 1996.                        12             THE WITNESS: I do not know.
   13         A. So we looked at the label                 13   BY MS. DICKINSON:
   14   approved by FDA in '95, so that was in there.      14         Q. Okay. And do you know if
   15         Q. Okay. So --                               15   Dr. Goldenheim was sent an article from the
   16         A. Upon approval.                            16   American Family Physician about the ease of
   17         Q. Okay. So that -- this -- if this          17   extracting Morphine from MS Contin in 1997?
   18   document exists, that would have been after the    18             MR. SNAPP: Objection, beyond the
   19   label -- after OxyContin went on the market with   19         scope.
   20   its label that said "delayed absorption is         20             THE WITNESS: I do not know.
   21   believed to reduce the abuse liability of the      21   BY MS. DICKINSON:
   22   drug," right?                                      22         Q. And Dr. Goldenheim at that point
   23              MR. SNAPP: Object to the form.          23   in time, I believe we saw in the organizational
   24   BY MS. DICKINSON:                                  24   charts we looked at this morning, was the head
                                                Page 95                                                      Page 97
    1       Q.     That's after?                            1   of medical affairs; is that right?
    2             MR. SNAPP: Object to the form.            2         A. I'm not -- he was head of R&D.
    3         Object as beyond the scope.                   3   Whether those were combined at the time, I'm not
    4             THE WITNESS: Yes, correct.                4   sure.
    5   BY MS. DICKINSON:                                   5         Q. He was the head of --
    6         Q. Do you know if Purdue or its               6         A. Research and development.
    7   executives told the FDA in 1996 about reports of    7         Q. -- research and development,
    8   abuse of its extended-release products?             8   correct?
    9             MR. SNAPP: Objection, beyond the          9         A. Correct.
   10         scope.                                       10         Q. And then let's go to the next
   11             THE WITNESS: I don't know when           11   paragraph, "Then in 1998, as OxyContin's
   12         conversations were held with FDA, at         12   marketing campaign was taking off, Purdue Pharma
   13         what time, actually.                         13   learned of a medical journal study that appeared
   14   BY MS. DICKINSON:                                  14   to undercut its central message - that
   15         Q. You're not prepared to talk about         15   OxyContin, as a long-acting opioid, had less
   16   that today?                                        16   appeal to drug abusers."
   17             MR. SNAPP: Object to the form.           17            It goes on to say, "In the study,
   18             THE WITNESS: Correct.                    18   which was published in the Journal of Canadian
   19   BY MS. DICKINSON:                                  19   Medical Association, researchers from the
   20         Q. All right. Let's go to the next           20   University of British Columbia in Vancouver
   21   page, page 5. The very top paragraph says, "by     21   interviewed local drug dealers and abusers to
   22   the following year," and I assume that means       22   learn what legal drugs sold for on the black
   23   1997 because we were just talking about 1996.      23   market. They found that MS Contin commanded the
   24         A. Okay.                                     24   highest price of any prescription opioid with a

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    1   30-milligram tablet that cost $1 at a pharmacy     1         those reports to the FDA, but I'm not
    2   bringing up to $40 on the street."                 2         aware of this particular.
    3              Did I read that accurately?             3   BY MS. DICKINSON:
    4         A. Yes.                                      4         Q. So this is the kind of thing that
    5         Q. Okay. Do you know in 1998 if              5   would be included in an adverse event
    6   Purdue Pharma was provided with that Canadian      6   pharmacovigilance follow-up after approval; is
    7   study that the article discusses?                  7   that correct?
    8              MR. SNAPP: Objection, beyond the        8         A. Potentially. It depends on the
    9         scope.                                       9   characteristics of the report.
   10              THE WITNESS: I do not know.            10         Q. Okay. And where would I look to
   11   BY MS. DICKINSON:                                 11   see if that was submitted to the FDA?
   12         Q. Do you know if Purdue Pharma was         12              MR. SNAPP: Objection, beyond the
   13   aware of that Canadian study that the article     13         scope.
   14   discusses?                                        14              THE WITNESS: It would be in the
   15              MR. SNAPP: Objection, beyond the       15         adverse -- we call them PSURs, periodic
   16         scope.                                      16         safety update reports, they've changed
   17              THE WITNESS: No, I don't know.         17         in what they've been termed over time,
   18   BY MS. DICKINSON:                                 18         the reports submitted to FDA.
   19         Q. All right. The article goes on           19   BY MS. DICKINSON:
   20   to say, "In an accompanying editorial, a          20         Q. Do you know -- this article says
   21   Canadian physician, Dr. Brian Goldman, wrote      21   that Purdue did not send the Canadian study to
   22   that the findings turned thinking about the       22   the FDA or tell its sales representatives about
   23   supposed safety of long-acting opioids like       23   that.
   24   OxyContin on its head by showing that drug        24              Do you know if that's accurate?
                                               Page 99                                                Page 101
    1   abusers 'coveted' such drugs. 'This should ring    1             MR. SNAPP: Objection, beyond the
    2   alarm bells,' Dr. Goldman, who was then a paid     2        scope.
    3   speaker for Purdue Pharma, wrote in the            3             THE WITNESS: I do not know if
    4   editorial."                                        4        that's accurate or not.
    5             Do you know if in 1998 Purdue            5   BY MS. DICKINSON:
    6   Pharma received a copy of that editorial?          6        Q. Okay. Do you know if Purdue took
    7             MR. SNAPP: Objection, beyond the         7   the position it was not required to send the FDA
    8        scope.                                        8   the Canadian study or the editorial?
    9             THE WITNESS: I do not know if we         9             MR. SNAPP: Objection, beyond the
   10        did.                                         10        scope.
   11   BY MS. DICKINSON:                                 11             THE WITNESS: I do not know what
   12        Q. Do you know if Purdue Pharma ever         12        was said.
   13   provided a copy of either the Canadian study or   13   BY MS. DICKINSON:
   14   the editorial to the FDA?                         14        Q. Do you know at this point in time
   15             MR. SNAPP: Objection, beyond the        15   in 1998 whether Purdue was going to the FDA and
   16        scope.                                       16   say -- and telling the FDA that they thought the
   17             THE WITNESS: I do not know. We          17   label that delayed absorption is believed to
   18        would -- I would have to look at our         18   reduce abuse liability of a drug should be
   19        pharmacovigilance reports. Following         19   changed?
   20        approval of any drug, we send to FDA for     20             MR. SNAPP: Objection, beyond the
   21        the first three years a collection of        21        scope.
   22        adverse events that occur and then at        22             THE WITNESS: I'm not aware of
   23        least annually thereafter, so those          23        the -- you know, the label was changed
   24        kinds of reports would be included in        24        around 2001, and there were discussions,

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    1         but I'm not aware of where the exact          1         Purdue-Fanelli-17.)
    2         dates of those discussions began.             2               MS. DICKINSON: I'll hand you
    3   BY MS. DICKINSON:                                   3         this monster copy of something we're
    4         Q. So the label took that statement           4         going to look at one page of, but I'm
    5   out, the delayed absorption is believed to          5         sorry, it was the complete document, and
    6   reduce the abuse liability of the drug in 2001;     6         I certainly don't want to start pulling
    7   is that right?                                      7         stuff out of documents that were
    8         A. I believe that was the date. I'd           8         produced to us, so here it comes. I'm
    9   have to check the exact date.                       9         really sorry, this is going to be a
   10         Q. Do you know if in 1996 or '97 or          10         little heavy.
   11   '98, Purdue was telling the FDA that label --      11   BY MS. DICKINSON:
   12   that part of the label should be changed?          12         Q. Okay. I'm going to hand you what
   13              MR. SNAPP: Objection, beyond the        13   has been marked as Exhibit 17.
   14         scope.                                       14               And this is a document produced
   15              THE WITNESS: I'm not aware that         15   to us by Purdue in this litigation that at the
   16         Purdue was doing that.                       16   start of the document bears the Bates number
   17   BY MS. DICKINSON:                                  17   PURCHI000667209.
   18         Q. But what we do know is that at            18               Do you see that?
   19   least between December 12th, 1995 and continuing   19         A. Yes.
   20   until about June 30th, 2001, certain Purdue        20         Q. Okay.
   21   supervisors and employees, with the intent to      21         A. Sorry.
   22   defraud or mislead, marketed and promoted          22         Q. And what I believe this is is a
   23   OxyContin as less addictive, less subject to       23   portion of documents that were submitted to the
   24   abuse and diversion and less likely to cause       24   FDA regarding OxyContin.
                                               Page 103                                                Page 105
    1   tolerance and withdrawal than other pain            1             Is that a fair way to
    2   medications. That's what we looked at in the        2   characterize what this appears to be in this
    3   previous document, correct?                         3   document?
    4              MR. SNAPP: Object to the form            4        A. I believe this comes from the
    5        and objection beyond the scope.                5   Freedom of Information office at FDA.
    6              THE WITNESS: That is what's              6        Q. Okay.
    7        stated in that document, yes.                  7        A. I believe what this is -- I have
    8   BY MS. DICKINSON:                                   8   to see the -- maybe the request was in here.
    9        Q. That document that was signed by            9   Oh, here it is. No, that's not it.
   10   officials at Purdue, correct?                      10             I believe -- and on page 3 it
   11              MR. SNAPP: Same objections.             11   says NDA 20553, which is the NDA for the
   12              THE WITNESS: Yes.                       12   original OxyContin. I believe this is the
   13   BY MS. DICKINSON:                                  13   Freedom of Information information that's
   14        Q. All right. Let's move on to talk           14   provided upon approval of an NDA.
   15   about the study submitted to the FDA.              15        Q. Fair enough.
   16              MR. SNAPP: Are you done with            16        A. Yeah.
   17        Exhibits 13, 14 and 15?                       17        Q. And I think it matters little for
   18              MS. DICKINSON: Let's just keep          18   the purpose of this discussion --
   19        them. I think so, but if you don't mind       19        A. Okay.
   20        keeping those three somewhere in the          20        Q. -- but I just want to make sure
   21        vicinity. I think we're done with the         21   we're clear that the best place or the smallest
   22        other stuff that we've looked at here.        22   place I can find what I'm going to be talking
   23              (Document marked for                    23   about with you --
   24        identification as Exhibit                     24        A. Okay.
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    1       Q.     -- was in this document.                 1        we'll talk about that, but -- I mean, we
    2             So this appears to be a Freedom           2        could talk about that -- is to interpret
    3   of Information Act request that was responded to    3        FDA regulations, what the requirements
    4   by producing parts of the NDA for the original      4        for submissions and so forth. So
    5   OxyContin; is that right?                           5        regulatory affairs would be involved and
    6        A. Yes.                                        6        so would all the individuals responsible
    7        Q. Okay.                                       7        for conducting those trials in R&D
    8        A. Yes.                                        8        mostly, but it could have been other
    9        Q. Can we take a look at page                  9        folks as well.
   10   PURCHI000667249. So 7249 are the last four         10   BY MS. DICKINSON:
   11   numbers.                                           11        Q. Do you know who specifically at
   12        A. Okay, I'm there.                           12   Purdue was involved in the process of deciding
   13        Q. Okay. I'm not. Sorry, just give            13   which studies would get submitted to the FDA
   14   me a second. Okay. I'm sure my exhibit has the     14   with respect to the original OxyContin?
   15   right page.                                        15             MR. SNAPP: Object to the form,
   16             Okay. Who at Purdue decided              16        objection as beyond the scope.
   17   which studies would be submitted to FDA for the    17             THE WITNESS: It would have been
   18   original OxyContin?                                18        the individuals that we talked about in
   19             MR. SNAPP: Objection, beyond the         19        that time period in regulatory affairs
   20        scope.                                        20        and R&D who were on that project.
   21             THE WITNESS: There were                  21   BY MS. DICKINSON:
   22        discussions between FDA and Purdue about      22        Q. And do you know who that is? We
   23        the development and -- development            23   can look.
   24        program, including the studies, and what      24             MR. SNAPP: Objection, beyond the
                                               Page 107                                               Page 109
    1        would be part of the NDA. Today we             1         scope.
    2        have, now the PDUFA is here, pre-NDA           2              THE WITNESS: Do you want to look
    3        meetings. Back then it was much less           3         at the org chart?
    4        formal, but there were discussions back        4   BY MS. DICKINSON:
    5        and forth with FDA that I'm -- even            5         Q. If you can -- well -- so at that
    6        before I joined that I'm aware of on           6   time period back in 1996, I assume we'd be
    7        what was required for the approval.            7   talking about the 1995 org chart that we marked
    8   BY MS. DICKINSON:                                   8   earlier as Exhibit 8; is that correct?
    9        Q. Okay. Do you know who was                   9         A. Yes.
   10   involved in that process at -- from the Purdue     10         Q. Okay.
   11   side?                                              11         A. Well, I'm not sure if there were
   12            MR. SNAPP: Objection, beyond the          12   changes, what time period, but that would be a
   13        scope.                                        13   good place to look.
   14            THE WITNESS: Which process, the           14         Q. Okay. And we said that the
   15        discussions with FDA?                         15   scientific and medical affairs group started at
   16   BY MS. DICKINSON:                                  16   the page that starts 601 headed by Paul
   17        Q. Who was involved in deciding what          17   Goldenheim.
   18   studies would be submitted to the FDA at Purdue,   18              I'm just trying to figure out for
   19   not from the FDA side?                             19   the studies that we see on the document we were
   20            MR. SNAPP: Objection, beyond the          20   just looking at that were submitted to the FDA,
   21        scope.                                        21   who on this org chart was responsible for
   22            THE WITNESS: So that would have           22   deciding what got submitted to the FDA?
   23        been -- we talked about in R&D, but           23              MR. SNAPP: Objection, beyond the
   24        regulatory affairs function is to --          24         scope.

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    1             THE WITNESS: So for -- I'm not           1        scope.
    2        aware of that, but I can tell you the         2             THE WITNESS: There -- and what
    3        positions that would have been                3        time frame are we talking about?
    4        responsible. There's a project manager        4   BY MS. DICKINSON:
    5        and there are several individuals. I'm        5        Q. This is OxyContin, so 1995ish.
    6        not sure who was the project manager at       6        A. If there were formal
    7        the time. So under Paul Goldenheim,           7   conversations between the company and FDA, they
    8        there are project managers and then           8   would be in records in the regulatory
    9        within each product, you talked about MS      9   department, we call them contact reports, and
   10        Contin, OxyContin, there's a team that       10   that might provide those -- that information.
   11        would be the ones determining what           11        Q. Is there someone that signs off
   12        studies go into an NDA application,          12   on the studies that are submitted to the FDA at
   13        including the regulatory -- the main         13   the end of the day?
   14        functions involved in that would be the      14        A. Yes, on the individual studies
   15        clinical representative, the R&D, you        15   someone signs, yes.
   16        know, the regulatory and then the team       16        Q. Who is that?
   17        in general.                                  17        A. Usually it's the clinical leader,
   18   BY MS. DICKINSON:                                 18   the one that I mentioned on the particular
   19        Q. Okay. Just so I understand, you           19   product, the statistician who was part of that
   20   don't know specifically for OxyContin who those   20   project, and those are the prime individuals who
   21   people were that decided on the studies, but,     21   would sign off on the document.
   22   typically, for a drug like OxyContin, there       22             Regulatory is on there, depends
   23   would be a team of people, one person would --    23   on the document at the time.
   24   and they would be in this case under Paul         24        Q. Who signs --
                                              Page 111                                                Page 113
    1   Goldenheim, right?                                 1         A. That's the authors.
    2             MR. SNAPP: Object to the form.           2         Q. Sorry. Are you finished with
    3             THE WITNESS: As the head of the          3   your answer?
    4         R&D group at the time, yes.                  4         A. Sorry.
    5   BY MS. DICKINSON:                                  5         Q. Who signs off on the NDA
    6         Q. Okay. And that would include              6   submission?
    7   positions like the project manager that was        7         A. The actual sign person on the
    8   assigned to OxyContin; is that right?              8   cover letter and the form, the FDA form is the
    9         A. Yes.                                      9   regulatory representative.
   10         Q. And a -- I think you said                10         Q. Okay.
   11   clinical representative?                          11         A. And those forms, for an NDA it's
   12         A. Clinical or medical, you know,           12   a 365H FDA form, and that's just an -- it's the
   13   depends on, you know, what their -- clinical      13   person -- mainly the contact person on that, but
   14   scientists.                                       14   that's where the sign-off for the entire NDA
   15         Q. Okay. And someone else from R&D;         15   occurs.
   16   is that correct?                                  16         Q. Okay. And is there anyone else
   17         A. Regulatory would be involved in          17   that would have had to sign off on the table of
   18   providing guidance on what, you know, FDA's       18   studies that was listed in the NDA for
   19   guidances or requirements were for a particular   19   OxyContin?
   20   agent.                                            20              MR. SNAPP: Object to the form,
   21         Q. How do I find out who the people         21         objection as beyond the scope.
   22   were that participated in deciding what studies   22              THE WITNESS: I'm not aware of at
   23   were submitted to the FDA?                        23         that time what the procedure was, but
   24             MR. SNAPP: Objection, beyond the        24         those decisions are made at the

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    1         recommendation and decisions are made at      1         Q. -- of the clinical studies that
    2         a project team level but approved by          2   were submitted to the FDA by Purdue when
    3         or -- approved by the head of R&D. In         3   OxyContin was being approved, correct?
    4         other words --                                4         A. Correct.
    5   BY MS. DICKINSON:                                   5         Q. Okay. And under "Clinical
    6         Q. So at that time, that was Paul             6   Studies" we see a section called "Controlled
    7   Goldenheim?                                         7   Trials."
    8         A. Correct.                                   8             Do you see that?
    9         Q. All right. Let's talk for a                9         A. Yes.
   10   minute about the table of studies.                 10         Q. And underneath that are listed
   11              And that, again, for the record,        11   six studies -- or six controlled trials,
   12   is contained within Exhibit 17, the last page or   12   correct?
   13   last few numbers ending in 249.                    13         A. Yes.
   14              On that page it summarizes or           14         Q. Okay. Would you agree with me
   15   Purdue summarizes the totality of the controlled   15   that randomized, double-blind, controlled
   16   clinical trials that were submitted to FDA when    16   studies are generally considered to be the gold
   17   Purdue was asking FDA to approve OxyContin as      17   standard of clinical studies that can be
   18   safe and effective for the treatment of chronic    18   performed?
   19   pain, correct?                                     19             MR. SNAPP: Object to form.
   20              MR. SNAPP: Object to the form.          20         Objection as beyond the scope.
   21         Objection as beyond the scope.               21             THE WITNESS: Repeat -- so the
   22              Can you give the witness a chance       22         science says for approval of drugs has
   23         to look at the document also?                23         changed over time, especially in this
   24              MS. DICKINSON: Of course.               24         area, understanding, you know, what
                                               Page 115                                                Page 117
    1              THE WITNESS: And, actually, I            1         trials need to be provided to
    2        think you said Purdue -- this is the           2         demonstrate safety and efficacy have
    3        report of the medical officer at FDA, so       3         evolved over time, and it depends on
    4        this is -- what we're looking at is when       4         when we're talking about what is
    5        an NDA is approved, FDA writes up --           5         considered appropriate at those various
    6        they used to be called the summary basis       6         times.
    7        of approval. Now it's just a review on         7   BY MS. DICKINSON:
    8        the website, but, anyway, that's what          8         Q. I'm trying to ask a little bit
    9        this is so this --                             9   more basic question.
   10   BY MS. DICKINSON:                                  10              There are different types of
   11        Q. Fair point, actually. Can I                11   trials and studies, correct?
   12   clean it up?                                       12         A. That's correct.
   13        A. Yeah.                                      13         Q. What I've been told, and I just
   14        Q. This is a part of what we call             14   want to see if I'm accurate, is that randomized,
   15   the medical officer review, right?                 15   double-blind, controlled studies, that type of
   16        A. Correct.                                   16   study -- that's a type, correct?
   17        Q. It's commonly referred to as the           17         A. Yes.
   18   MOR, right?                                        18         Q. And those are typically
   19        A. Correct.                                   19   considered to be the gold standards of clinical
   20        Q. Okay. And so this piece is a               20   trials, correct?
   21   summary by the medical officer review, whoever     21              MR. SNAPP: Object to the form.
   22   did that, I think it was Curtis Wright in this     22         Objection beyond the scope.
   23   case --                                            23              THE WITNESS: Yes, those are
   24        A. That's correct.                            24         trials if -- you know, again, as I say,

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    1         the requirements -- for instance, you        1   BY MS. DICKINSON:
    2         can't do a double-blind study in             2         Q. That means submitting clinical --
    3         oncology, you know, because you're not       3   controlled clinical trials, correct?
    4         going to give someone who doesn't have       4               MR. SNAPP: Same objections.
    5         cancer a chemotherapeutic, for instance.     5               THE WITNESS: Yes.
    6              So it really depends what the           6   BY MS. DICKINSON:
    7         gold standard for a particular time and      7         Q. Okay. And Purdue submitted six
    8         indication varies.                           8   clinical trials for OxyContin, correct?
    9   BY MS. DICKINSON:                                  9               MR. SNAPP: Objection, beyond the
   10         Q. Okay. Let's just talk about this         10         scope.
   11   indication.                                       11               THE WITNESS: So this whole --
   12         A. Sure.                                    12         controlled clinical trials is what
   13         Q. Chronic pain.                            13         you're saying because this whole table
   14              At that time and for that              14         is all the -- there are many
   15   indication, randomized, controlled clinical       15         pharmacokinetic studies. The whole
   16   trials, those would have been the gold standard   16         list, there's more than six.
   17   at that time, correct?                            17   BY MS. DICKINSON:
   18              MR. SNAPP: Object to the form.         18         Q. Fair. Can I ask a different
   19         Objection as beyond the scope.              19   question?
   20              THE WITNESS: There were                20         A. Yes.
   21         discussions with FDA about what -- how      21         Q. That is a fair point.
   22         to do these kinds of trials and what the    22               Purdue submitted six controlled
   23         appropriate patients -- whether -- you      23   trials in support of its application for
   24         notice there are some cancer trials         24   approval for OxyContin, correct?
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    1        here, what the appropriate design of          1              MR. SNAPP: Objection, beyond the
    2        those would be.                               2         scope.
    3             So I wouldn't say that a                 3              THE WITNESS: That's correct.
    4        particular design was the gold standard.      4              MR. SNAPP: Okay. We've been
    5   BY MS. DICKINSON:                                  5         going a little more than an hour.
    6        Q. Okay.                                      6              MS. DICKINSON: I think we'll
    7        A. It's a collection of studies.              7         take a break when we're finished with
    8        Q. So you don't believe that random,          8         this document, if that's okay, and then
    9   controlled clinical trials are sort of at the      9         we can talk about eating.
   10   top or the most reliable set of studies; you      10              THE WITNESS: Sounds good.
   11   don't believe that?                               11              MS. DICKINSON: Not trying to
   12             MR. SNAPP: Object to the form.          12         starve you.
   13             THE WITNESS: No. I -- they are          13   BY MS. DICKINSON:
   14        important clinical trials, and if            14         Q. Okay. So I just want to make
   15        they're possible and necessary, they         15   sure when I look at these documents that I have
   16        provide evidence, strong evidence.           16   an understanding.
   17   BY MS. DICKINSON:                                 17              This would be the totality of the
   18        Q. Okay. And to get approval for a           18   controlled trials that Purdue submitted in
   19   drug, a company has to submit adequate and        19   support of the safety and efficacy of OxyContin
   20   well-controlled studies to support its            20   for long-term use; is that right?
   21   application, correct?                             21              MR. SNAPP: Objection, beyond the
   22        A. That's correct.                           22         scope.
   23             MR. SNAPP: Object to the form.          23              THE WITNESS: I believe that's
   24        Objection as beyond the scope.               24         true. To know for certain, I would look

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    1        at Purdue's table of contents. This is,      1              MR. SNAPP: Object to the form.
    2        again, the medical reviewer. I haven't       2         Objection as beyond the scope.
    3        studied this to know whether Dr. Wright      3              THE WITNESS: I'm not aware of in
    4        left one out.                                4         that year what the definition of chronic
    5   BY MS. DICKINSON:                                 5         pain was.
    6        Q. Okay.                                     6   BY MS. DICKINSON:
    7        A. But I believe this is the list.           7         Q. Okay. Let's look quickly at the
    8        Q. Fair enough. Unless Dr. Wright            8   controlled trials. There is a column that talks
    9   made a mistake --                                 9   about the duration of those controlled trials.
   10        A. Correct.                                 10              Do you see that?
   11        Q. -- this is the list of the               11         A. Yes.
   12   controlled trials in support of safety and       12         Q. And the first controlled trial
   13   efficacy of OxyContin for long-term use that     13   that's listed, it was studied on patients that
   14   Purdue submitted to the FDA; correct?            14   took OxyContin for five days; is that correct?
   15             MR. SNAPP: Object to the form.         15              MR. SNAPP: Objection, beyond the
   16        Objection as beyond the scope.              16         scope.
   17             THE WITNESS: Correct.                  17              THE WITNESS: It says five days
   18   BY MS. DICKINSON:                                18         plus or minus, I'm not sure what the
   19        Q. Okay. This is the list of the            19         plus or minus indicates. I could look
   20   controlled trials in support of the safety and   20         at the --
   21   efficacy of OxyContin to treat chronic pain as   21   BY MS. DICKINSON:
   22   well, correct?                                   22         Q. Okay. And the duration for the
   23             MR. SNAPP: Same objections.            23   second clinical trial or controlled trial was
   24             THE WITNESS: The controlled            24   also listed at five days, and I see plus or
                                             Page 123                                               Page 125
    1        trials, yes.                                 1   minus, correct?
    2   BY MS. DICKINSON:                                 2         A. That's correct.
    3        Q. Okay. And chronic pain is                 3         Q. All right. The third was
    4   commonly defined as lasting for longer than       4   seven-day clinical -- or controlled trial.
    5   three months; is that right?                      5             Do you see that?
    6             MR. SNAPP: Objection as beyond          6         A. Correct.
    7        the scope.                                   7         Q. The fourth was a 14-day
    8             THE WITNESS: It depends on what         8   controlled trial, correct?
    9        definition you're -- you know, we're         9         A. That's correct.
   10        talking about. Definition in terms of       10         Q. The fifth was a seven-day
   11        diagnostic criterion in a physician's       11   controlled trial?
   12        office or regulatory -- you know,           12         A. It says -- yes, seven days. I'm
   13        they're different.                          13   not sure what XO stands for.
   14             FDA's definition has also evolved      14         Q. Okay. And the last, sixth
   15        over time. At one -- the indication for     15   controlled trial was a study on patients who
   16        these products at one time just said        16   just took a single dose; is that right?
   17        weeks, you know, and then it's weeks,       17             MR. SNAPP: Object to the form.
   18        months or longer, and now it's long         18             THE WITNESS: That's correct.
   19        term. So the regulatory standard has        19   BY MS. DICKINSON:
   20        changed for these trials.                   20         Q. Okay. So the longest duration of
   21   BY MS. DICKINSON:                                21   the controlled studies that Purdue submitted to
   22        Q. Back in 1996 was the accepted            22   the FDA in support of safety and efficacy of
   23   definition of chronic pain pain that lasted      23   OxyContin for treatment of chronic pain was 14
   24   longer than 90 days?                             24   days, correct?

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    1             MR. SNAPP: Object to the form.          1         Q. And, for the record, Exhibit 18
    2        Objection as beyond the scope.               2   is an e-mail chain. It starts with Bates number
    3             THE WITNESS: In the initial             3   PKY181376452. That e-mail chain is dated
    4        clinical -- the controlled trials the        4   June 16th, 1999. At the top it is from David
    5        longest is 14 days, correct.                 5   Gordon to Dr. Robert Kaiko.
    6   BY MS. DICKINSON:                                 6            And a little bit further down the
    7        Q. Okay. So none of the controlled           7   page, there was an earlier e-mail in the chain
    8   studies submitted to the FDA showed safety or     8   from Dr. Kaiko to a number of individuals,
    9   efficacy beyond 14 days, correct?                 9   Dr. Lloyd Haskell, David Gordon, Teresa Baker
   10             MR. SNAPP: Object to the form.         10   and Marco Ermini, I think. It copies Mike
   11        Objection as beyond the scope.              11   Innaurato, Ellen?
   12             THE WITNESS: That's correct.           12         A. Ingber.
   13             MS. DICKINSON: I think this is a       13         Q. I'm really do not do well with
   14        good time to take a break.                  14   her name, Ingber.
   15             THE VIDEOGRAPHER: Standby,             15         A. It's Ellen Ingber.
   16        please. Remove your microphones. The        16         Q. And Andrew Albright.
   17        time is 11:29 a.m. Going off the            17            Do you see that?
   18        record.                                     18         A. Yes.
   19             (Brief recess.)                        19         Q. Okay. And that part of the
   20             THE VIDEOGRAPHER: All right. We        20   e-mail chain is -- from Dr. Kaiko is dated
   21        are back on the record. The time is         21   June 15th, 1999, correct?
   22        11:42 a.m.                                  22         A. Yes.
   23   BY MS. DICKINSON:                                23         Q. Who is Dr. Kaiko?
   24        Q. Dr. Fanelli, we're back on the           24         A. We mentioned him previously as
                                             Page 127                                                Page 129
    1   record.                                           1   the head of one of the R&D departments or one of
    2        A. Yes.                                      2   the Purdue departments, I can't remember what it
    3        Q. We talked before going off camera         3   was at that time.
    4   about the clinical studies and the controlled     4        Q. Was he the chief scientist in R&D
    5   studies that were done and submitted regarding    5   back in 1999?
    6   OxyContin. We're going to stay on the subject     6        A. I believe that's correct.
    7   of OxyContin, but let's talk about the studies    7        Q. And if you would, just take a
    8   that were not done at the time of OxyContin       8   minute to review Dr. Kaiko's portion of the
    9   approval.                                         9   e-mail chain. I don't think you need to read
   10              At the time of approval of            10   every word, but I'll tell you what my question
   11   OxyContin in 1995, Purdue had not conducted      11   is going to be.
   12   clinical studies on how addictive or prone to    12              In this e-mail chain, is
   13   abuse OxyContin might be; is that right?         13   Dr. Kaiko proposing a study program for
   14              MR. SNAPP: Object to the form.        14   OxyContin is going to be my question, so take a
   15        Objection as beyond the scope.              15   minute to review the e-mail.
   16              THE WITNESS: That's correct.          16        A. (Witness reviews document.)
   17   BY MS. DICKINSON:                                17              I've looked at it quickly.
   18        Q. Okay. I'm going to hand you what         18        Q. My question is in the e-mail
   19   has been marked as Exhibit 18, and it's coming   19   generally is Dr. Kaiko proposing a study program
   20   around.                                          20   for OxyContin?
   21              (Document marked for                  21        A. Yes, it appears so.
   22         identification as Exhibit                  22        Q. Okay. Then that's on page 2
   23        Purdue-Fanelli-18.)                         23   there's a section called "Proposed Study
   24   BY MS. DICKINSON:                                24   Program," correct?

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    1        A. Correct.                                    1         Q. The three reasons he offers in
    2        Q. Okay. And on page 2 at the top,             2   this first paragraph, none of those have to do
    3   Dr. Kaiko identifies the reasons that would         3   with safety, correct?
    4   support further investment in OxyContin,            4              MR. SNAPP: Object to the form.
    5   including the following, and he says, OxyContin     5              THE WITNESS: Differentiating
    6   has better patent protection than any of the        6         properties could refer to safety.
    7   other analgesics and any such investment in the     7   BY MS. DICKINSON:
    8   growth of OxyContin is also relatively              8         Q. Okay. Other than the
    9   protected.                                          9   differentiating properties which you think might
   10             His second reason is that                10   refer to safety, do you see anything else about
   11   OxyContin has a reasonable number of               11   safety in the reasons that Dr. Kaiko is offering
   12   differentiating properties from other              12   for the support of further investment in
   13   analgesics, but these differentiating properties   13   OxyContin?
   14   have not been sufficiently studied or exploited.   14              MR. SNAPP: Object to the form.
   15             Three, the acceptance of this            15              THE WITNESS: So this is -- it
   16   strong analgesic in non-cancer pain is also        16         doesn't specifically state that, but a
   17   quite unique and begs for further development in   17         strong analgesic in non-cancer pain may
   18   that very large market.                            18         have some safety issues related to it.
   19             Do you see that?                         19   BY MS. DICKINSON:
   20        A. Yes.                                       20         Q. Okay. Let's go down to under the
   21        Q. Did I read that correctly?                 21   proposed study program. There's a section
   22        A. Yes.                                       22   called "Therapeutic Trials."
   23        Q. And Dr. Kaiko here is identifying          23              Do you see that?
   24   those three reasons as the business reasons for    24         A. On the same -- yes.
                                               Page 131                                                Page 133
    1   wanting to run additional studies, correct?         1          Q. And number one on Dr. Kaiko's
    2             MR. SNAPP: Object to the form.            2   list is -- and one of the proposed study program
    3             THE WITNESS: It says these are            3   therapeutic trials he is proposing to run is on
    4        the reasons to support investment, yes.        4   iatrogenic addiction in non-cancer pain
    5   BY MS. DICKINSON:                                   5   patients.
    6        Q. Okay. And that investment would             6               Do you see that?
    7   be an investment through conducting the proposed    7          A. Yes.
    8   study program that he proposes, correct?            8          Q. And he proposes to conduct that
    9             MR. SNAPP: Object to the form.            9   study in the year 2000 or 2001, correct?
   10             THE WITNESS: It includes budget,         10          A. Yes, that's what it says.
   11        right.                                        11          Q. And we talked about -- well, we
   12   BY MS. DICKINSON:                                  12   didn't talk about it earlier, but Purdue did not
   13        Q. I'm sorry. I think we were                 13   take his recommendation and conduct that study
   14   probably talking over each other. What was your    14   in the year 2000 or 2001, correct?
   15   answer?                                            15               MR. SNAPP: Object to the form.
   16        A. I'm sorry. That's correct.                 16          Objection as beyond the scope.
   17        Q. Okay. None of those three                  17               THE WITNESS: I'm not aware, you
   18   reasons that Mr. Kaiko at least is identifying     18          know, whether Purdue did or not.
   19   here for wanting to run this proposed study        19   BY MS. DICKINSON:
   20   program has to do with safety, correct?            20          Q. Are you aware at any time between
   21             MR. SNAPP: Object to the form.           21   1995 and 2017 whether Purdue conducted any
   22             THE WITNESS: It's not clear              22   clinical studies on iatrogenic addiction with
   23        whether or not they're safety.                23   respect to OxyContin?
   24   BY MS. DICKINSON:                                  24               MR. SNAPP: Objection, beyond the

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    1         scope.                                        1   the last five years sometime, had Purdue ever
    2             THE WITNESS: So Purdue is                 2   conducted any studies on the original
    3         conducting postmarketing required             3   formulation regarding iatrogenic addiction?
    4         studies of currently -- what are the          4              MR. SNAPP: Object to the form,
    5         years that you asked?                         5         objection as beyond the scope.
    6   BY MS. DICKINSON:                                   6              THE WITNESS: Not that I'm aware
    7         Q. I asked you from 1995 to 2017.             7         of.
    8         A. So we have postmarketing required          8   BY MS. DICKINSON:
    9   studies both for OxyContin and for the class to     9         Q. So Purdue from the time of this
   10   study misuse, abuse, addiction, overdose and       10   e-mail in 1999 to roughly five years ago, when
   11   death as required by those postmarketing           11   it was required to do so by the FDA, did not
   12   studies. So those studies have been going on, I    12   take Dr. Kaiko's recommendation and conduct
   13   can't remember the year they started, at least     13   studies on iatrogenic addiction with respect to
   14   five years, to study.                              14   the original formulation of OxyContin, correct?
   15         Q. Okay. And those were the studies          15              MR. SNAPP: Object to the form.
   16   that were required by the FDA, correct?            16         Objection as beyond the scope.
   17         A. It was part of a postmarketing            17              THE WITNESS: Could you repeat
   18   requirement, yes.                                  18         the question. I'm sorry.
   19         Q. Okay. So I just want to clear up          19   BY MS. DICKINSON:
   20   the history.                                       20         Q. Yes. I'm just confirming what I
   21             The FDA at some point in time,           21   think you told me a minute ago.
   22   you think it was about five years ago, required    22              So Purdue from 1999, when
   23   Purdue to conduct postmarketing studies on         23   Dr. Kaiko was recommending doing a study on
   24   addiction and abuse with respect to OxyContin;     24   iatrogenic addiction in non-cancer patients,
                                               Page 135                                                Page 137
    1   is that correct?                                    1   from that time in 1999 up until the FDA required
    2         A. I don't remember the exact year            2   it to several years ago, Purdue did not take
    3   starting, but, yes, it's part of a postmarketing    3   Dr. Kaiko's recommendation and conduct this
    4   commitment.                                         4   study that he was proposing, correct?
    5         Q. Okay. Up until the time that the           5               MR. SNAPP: Same objections.
    6   FDA required those studies, had Purdue conducted    6               THE WITNESS: Again, I'm not
    7   any studies on addiction or abuse with respect      7          aware, so I assume, you know, the design
    8   to OxyContin?                                       8          and science around those studies is an
    9              MR. SNAPP: Objection, beyond the         9          evolving science, but, as far as I know,
   10         scope.                                       10          no, those studies were not conducted.
   11              THE WITNESS: We had -- in the           11   BY MS. DICKINSON:
   12         reformulated OxyContin has abuse             12          Q. Okay. Let's go to the page that
   13         deterrent properties, so we have             13   talks about this proposed iatrogenic addiction
   14         clinical trials looking at the effect of     14   study, which at the bottom is PKY181376455, so
   15         that reformulation.                          15   it's a couple pages beyond that.
   16   BY MS. DICKINSON:                                  16          A. I got it.
   17         Q. I'm just talking about the                17          Q. Do you see it?
   18   original formulation.                              18          A. Yes.
   19         A. Okay.                                     19          Q. Okay. And Dr. Kaiko here in the
   20         Q. If I could.                               20   iatrogenic addiction section, he talks about the
   21         A. Yes.                                      21   rationale for conducting such a study.
   22         Q. The original formulation, to your         22               He says, "The around-the-clock
   23   knowledge prior to the FDA requiring these         23   use of opioids in the management of chronic
   24   addiction and abuse studies, whenever that was,    24   non-cancer pain remains controversial; there is

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    1   certainly not a consensus within the medical or     1         Objection as beyond the scope.
    2   regulatory communities in most territories.         2              THE WITNESS: So what was true,
    3   Long-term, well-controlled studies demonstrating    3         that there was no clinical?
    4   either no or an insignificant incidence of          4   BY MS. DICKINSON:
    5   iatrogenic addiction and drug diversion would       5         Q. That there was no clinical trial,
    6   encourage earlier and more prolonged use of         6   correct?
    7   OxyContin in chronic non-cancer patients in whom    7         A. Correct.
    8   non-opioids are not sufficiently safe and/or        8              MR. SNAPP: Same objections.
    9   effective."                                         9   BY MS. DICKINSON:
   10             Did I read that correctly?               10         Q. Let's look back at -- you may
   11         A. Yes.                                      11   have to dig for this for a minute -- Exhibit 15,
   12         Q. Okay. And the study that                  12   the Agreed Statement of Facts in the criminal
   13   Dr. Kaiko was proposing was a means of resolving   13   case against Purdue by the United States
   14   that lack of consensus; was it not?                14   Department of Justice. That's Exhibit 15.
   15             MR. SNAPP: Object to the form.           15         A. Mm-hmm.
   16         Objection as beyond the scope.               16         Q. Can we take a look at paragraph
   17             THE WITNESS: The design was to           17   14. Let's start with the first capitalized
   18         investigate that rationale. I don't          18   Purdue.
   19         know about resolving a consensus.            19              "Purdue did not have, and did not
   20   BY MS. DICKINSON:                                  20   provide the FDA with, any clinical studies
   21         Q. Okay. And the study was --                21   demonstrating that OxyContin was less addictive,
   22         A. Providing evidence.                       22   less subject to abuse and diversion, or less
   23         Q. The study was needed because              23   likely to cause tolerance and withdrawal than
   24   Purdue had not conducted prior studies on that     24   other pain medications."
                                               Page 139                                                Page 141
    1   subject, correct?                                   1             Do you see that in the Agreed
    2             MR. SNAPP: Objection, beyond the          2   Statement of Facts that Purdue signed in 2007?
    3        scope.                                         3        A. Just want to confirm which
    4             THE WITNESS: There were no data           4   document we're looking at.
    5        regarding that on that particular topic.       5             Fourteen, is that --
    6   BY MS. DICKINSON:                                   6        Q. Yes.
    7        Q. Okay. And until the study that              7        A. Yeah. (Witness reviews
    8   Purdue is currently working on, Purdue has no       8   document.)
    9   data on that particular topic as well, correct?     9             Yes, I see that.
   10             MR. SNAPP: Object to the form.           10        Q. Okay. And do you believe that to
   11        Objection as beyond the scope.                11   be true, that Purdue did not have and did not
   12             THE WITNESS: There is no -- what         12   provide the FDA with any such clinical studies?
   13        we talked about was a clinical trial          13             MR. SNAPP: For completeness, can
   14        design. There is information related to       14        you read the first part of that sentence
   15        abuse and addiction, but there's no           15        as well.
   16        clinical trial.                               16             MS. DICKINSON: Sure.
   17   BY MS. DICKINSON:                                  17   BY MS. DICKINSON:
   18        Q. Fair.                                      18        Q. Let's -- I'll back it up in just
   19        A. As is stated, yes.                         19   a second.
   20        Q. And that was true when Purdue was          20             But do you believe that that
   21   marketing OxyContin as believed to reduce the      21   statement is accurate "and Purdue did not have,
   22   abuse potential of the drug, the                   22   and did not provide the FDA with, any clinical
   23   extended-release formulation, correct?             23   studies demonstrating that OxyContin was less
   24             MR. SNAPP: Object to the form.           24   addictive, less subject to abuse and diversion,

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    1   or less likely to cause tolerance and withdrawal    1   plaintiffs by Purdue in this case. It bears the
    2   than other pain medications"?                       2   Bates number at the bottom PPLCC016000115515 as
    3              MR. SNAPP: Object to the form.           3   the starting Bates number; is that correct?
    4         Objection as beyond the scope.                4         A. Yes.
    5              THE WITNESS: What this talks             5         Q. Did I read that number correctly?
    6         about is clinical studies only, and           6         A. Yes.
    7         that's what it says, yeah.                    7         Q. This appears to be a spreadsheet
    8   BY MS. DICKINSON:                                   8   containing the clinical trials for OxyContin,
    9         Q. And that was true, there were no           9   correct? If you want to take a minute to look
   10   such clinical studies; we just talked about that   10   through it.
   11   a minute ago, correct?                             11         A. I have it.
   12              MR. SNAPP: Same objections.             12         Q. Actually, I'm not sure I said
   13              THE WITNESS: Correct.                   13   that right. It appears to be a spreadsheet that
   14   BY MS. DICKINSON:                                  14   lists studies that were done with respect to
   15         Q. Okay. But even though there were          15   OxyContin, correct, not just clinical trials?
   16   no such clinical studies, let's turn to            16         A. Let me look through.
   17   paragraph 20 again.                                17              (Witness reviews document.)
   18         A. The same document?                        18              Yes, that's what it appears to
   19         Q. Yep.                                      19   be.
   20              "Beginning on or about                  20         Q. Okay. And it lists a number of
   21   December 12th, 1995, and continuing until on or    21   studies, correct?
   22   about June 30th, 2001, certain Purdue              22         A. Yes.
   23   supervisors and employees, with the intent to      23         Q. Okay. More than the six clinical
   24   defraud or mislead, marketed and promoted          24   trials that were submitted to the FDA,

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    1   OxyContin as less addictive, less subject to        1   obviously, right?
    2   abuse and diversion, and less likely to cause       2             MR. SNAPP: Object to the form.
    3   tolerance and withdrawal than other pain            3             THE WITNESS: There's many. I'm
    4   medications."                                       4        not -- yes.
    5              That fact was a fact that Purdue         5   BY MS. DICKINSON:
    6   signed off on in its Agreed Statement of Facts      6        Q. Okay. And it has a column on I
    7   in its criminal case, correct?                      7   guess kind of in the -- or actually towards the
    8              MR. SNAPP: Object to the form.           8   right-hand side that notes whether each study
    9         Objection as beyond the scope.                9   was published, correct?
   10              THE WITNESS: That is correct.           10        A. Looking at "Report"? Is that the
   11   BY MS. DICKINSON:                                  11   column, it says Report (CSR --
   12         Q. All right. Put that aside for a           12        Q. I'm sorry. There's one that says
   13   moment.                                            13   "Publication" right next to --
   14         A. Excuse me, this e-mail too?               14        A. Oh, yes.
   15         Q. You can put aside that e-mail as          15        Q. -- the left of "Report."
   16   well.                                              16        A. Yeah.
   17         A. Okay, thanks.                             17        Q. Do you see that?
   18              (Document marked for                    18             So it has a column noting if each
   19         identification as Exhibit                    19   study was published; is that right?
   20         Purdue-Fanelli-19.)                          20        A. I would have to assume. I
   21   BY MS. DICKINSON:                                  21   haven't seen this before, and there aren't a lot
   22         Q. All right. So I'm going to hand           22   of descriptions of what those -- I don't know if
   23   you what's been marked as Exhibit 19. And          23   it means in a scientific publication or just
   24   Exhibit 19 is a spreadsheet that was produced to   24   produced as a final document.

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    1         Q. Okay. And I guess whatever it                   1   completed and facts of that nature?
    2   means, there are nos in the publication column           2              MR. SNAPP: Object to the form.
    3   for some of these studies, correct?                      3         Objection as beyond the scope.
    4         A. Yes.                                            4              THE WITNESS: The clinical
    5         Q. And the "Report" column has "CSR                5         research group.
    6   and/or literature" in parentheses. What does             6   BY MS. DICKINSON:
    7   CSR and/or literature mean to you?                       7         Q. And there are a number of studies
    8         A. CSR is a clinical study report,                 8   on this table that have the notation under
    9   and literature -- and I see like the first one           9   publication of no, correct?
   10   lists Journal of Clinical Psychopharmacology,           10              MR. SNAPP: Object to the form.
   11   whether or not it was in a literature journal.          11              THE WITNESS: There's -- I see no
   12         Q. Okay. So that column appears to                12         CSR.
   13   tell which studies regarding OxyContin were             13   BY MS. DICKINSON:
   14   either -- either did not have a clinical study          14         Q. Under publication, though, where
   15   report written up or if they were published,            15   it says yeses and nos, there are a number of
   16   where it was published, correct?                        16   notations where it reflects --
   17              MR. SNAPP: Object to the form.               17         A. Oh, I see, sorry. I was on the
   18              THE WITNESS: That's what that                18   wrong column.
   19         column says. I'm not aware -- you know,           19         Q. -- no in the publication column.
   20         I can't tell from this if all these               20              Is that accurate?
   21         studies were conducted or they were just          21              MR. SNAPP: Same objection.
   22         protocols, plan, so I'm not -- it                 22              THE WITNESS: I see no with an
   23         doesn't have enough context.                      23         asterisk, and I see no as well, that is
   24   BY MS. DICKINSON:                                       24         correct.
                                                     Page 147                                             Page 149
    1        Q. Who would I ask to find out                      1   BY MS. DICKINSON:
    2   whether any of these studies were conducted,             2         Q. Okay. And under the report
    3   finished, that sort of thing, who would I ask?           3   column, the only journal notation I see in the
    4        A. Whoever produced this table, but                 4   report column is that very first study that's
    5   it doesn't have an author.                               5   listed in this table; is that accurate?
    6        Q. All I have is Purdue Pharma as                   6         A. Yes.
    7   the author, so I'm asking you, do you have any           7         Q. Okay. Put those aside.
    8   idea who at the company for OxyContin might know         8              (Document marked for
    9   which studies were not finished or not                   9         identification as Exhibit
   10   completed, which studies were published, facts          10         Purdue-Fanelli-20.)
   11   of that nature?                                         11   BY MS. DICKINSON:
   12         A. The clinical -- the clinical                   12         Q. I'm going to hand you what I have
   13   research, when we looked at the org chart, the          13   marked as Exhibit 20, coming around.
   14   clinical research individuals would be -- are           14              Okay. And Exhibit 20 is another
   15   responsible for these trials, and I'm -- I              15   document that was produced to us by Purdue in
   16   haven't read every line, but I'm assuming these         16   this matter bearing the Bates number at the
   17   are all clinical trials. But the clinical               17   bottom PPLPC013000138890.
   18   research group or medical research, those               18              Do you see that?
   19   individuals.                                            19         A. Yes.
   20        Q. Okay. This appears to list                      20         Q. Okay. And the title on this
   21   studies between 1988 and 2005. In that time             21   document is "OxyContin Clinical Studies."
   22   frame for OxyContin, who might be the person            22              Do you see that?
   23   that might have the most knowledge about whether        23         A. Yes.
   24   studies were completed, why they weren't                24         Q. Okay. This document appears to

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    1   list studies ranging from 1988 to 2005; is that     1   report of adverse events that were reported
    2   accurate?                                           2   during that year. There's a time period, of
    3         A. Yes.                                       3   course, 12-month time period. Medical affairs
    4         Q. Okay. And this document also               4   or clinical, clinical research, the same folks
    5   indicates for each study whether the study was      5   we were talking about, would report on ongoing
    6   completed and if it was published in a journal      6   clinical trials. There's a section of the IND
    7   where it was published.                             7   annual report that talks about ongoing clinical
    8              Do you see that?                         8   trials, where you list any adverse event -- you
    9         A. Yes.                                       9   know, the listing, discontinuations and so forth
   10         Q. And there are a number of studies         10   that are part of that annual report.
   11   that I believe are all highlighted in gray, but    11         Q. Okay. And this document notes
   12   at least the first few are, where it notes that    12   that there are several studies, we'll just take
   13   the study was completed but no CSR was written.    13   the examples on the first page, that -- where
   14              Do you see that?                        14   the study had been terminated, correct?
   15         A. Yes.                                      15         A. Yes, I see that.
   16         Q. And a CSR is the clinical study           16         Q. Okay. And there are several
   17   report, correct?                                   17   other entries on the -- one on the next page and
   18         A. Correct.                                  18   one on the following page about study
   19         Q. So those notations would mean             19   terminated.
   20   that studies were completed but no report was      20              Do you see that?
   21   actually written up on the study; is that right?   21         A. Yes.
   22              MR. SNAPP: Object to the form.          22         Q. And that means the study was not
   23              THE WITNESS: The subheading of          23   finished, correct?
   24         the beginning of this says "Listed in        24         A. I believe that's what that means,
                                               Page 151                                                Page 153
    1         IND Annual Reports," so I assume these        1   yes.
    2         were pulled out, that's where the source      2         Q. Okay. And there are a number of
    3         for these. So in the annual report, it        3   entries that do not list a publication source
    4         must -- it stated that, that at that          4   for the studies listed in this document,
    5         time in that annual report. I can't --        5   correct?
    6         I don't know if a CSR subsequent or           6         A. That's correct.
    7         outside of the annual report appears          7         Q. Okay. Put that aside.
    8         somewhere else.                               8             (Document marked for
    9   BY MS. DICKINSON:                                   9         identification as Exhibit
   10         Q. Okay. What is the IND annual              10         Purdue-Fanelli-21.)
   11   report?                                            11   BY MS. DICKINSON:
   12         A. So once investigation of new drug         12         Q. I'm going to hand you what I've
   13   application is submitted, every year you have to   13   marked as Exhibit 21.
   14   update the FDA on the safety -- mostly around      14             Exhibit 21, what we've marked as
   15   safety, but conduct of studies is also a part of   15   Exhibit 21 is a memo from April 10, 1995 to the
   16   that requirement, so those would be listed in      16   OxyContin Launch Team.
   17   there, what studies were conducted.                17             Do you see that?
   18         Q. And who is in charge of the IND           18         A. Yes.
   19   annual reports at Purdue in this time frame?       19         Q. And the first or second
   20   Let's even just say 1995 to 2005.                  20   paragraph, little bigger paragraph ends with a
   21         A. So regulatory affairs would               21   couple statements to the OxyContin launch team
   22   submit it. The individuals, each of the            22   that says, "OxyContin's positioning statement is
   23   disciplines responsible for the different          23   all the analgesic efficacy of immediate-release
   24   sections, so pharmacovigilance would give a        24   Oxycodone, with convenient Q12 dosing. The

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    1   proposed features and benefits of OxyContin were    1         marketing messages, yes.
    2   listed. The convenience of Q12 dosing was           2   BY MS. DICKINSON:
    3   emphasized as the most important benefit."          3         Q. And it was a big part, right?
    4              Do you see that?                         4              MR. SNAPP: Objection to form.
    5         A. Yes.                                       5              THE WITNESS: The 12-hour dosing
    6         Q. And a large part of Purdue's               6         --
    7   marketing of its OxyContin product was the Q12      7              MR. SNAPP: Wait, let me get the
    8   dosing aspect, correct?                             8         objection in.
    9              MR. SNAPP: Object to the form.           9              THE WITNESS: Sorry.
   10         Objection as beyond the scope.               10              MR. SNAPP: Object to the form.
   11              THE WITNESS: I'm actually not           11         Objection as beyond the scope.
   12         aware of the -- I wasn't there at the        12              THE WITNESS: The
   13         time, but, also, of what the commercial      13         extended-release form 12-hour was an
   14         launch campaign was.                         14         important part of the message.
   15              Statements such as positioning          15   BY MS. DICKINSON:
   16         statements are not -- positioning -- I       16         Q. Okay. Purdue had information in
   17         mean, it's not meant to be a claim, I        17   the first few years of OxyContin's sale that the
   18         mean, not meant to appear. It's how          18   12-hour dosing didn't work, that patients would
   19         plans are designed around those              19   have to dose more frequently, correct?
   20         statements, and this is a meeting --         20              MR. SNAPP: Objection, beyond the
   21         meeting minutes of what was discussed        21         scope.
   22         there.                                       22              THE WITNESS: I don't know what
   23   BY MS. DICKINSON:                                  23         information Purdue had related to that.
   24         Q. I don't think we need to belabor          24   BY MS. DICKINSON:
                                               Page 155                                                Page 157
    1   the point.                                          1         Q. Do you know whether Purdue had in
    2             Was OxyContin marketed for                2   its possession a study that was done in 1989 on
    3   12-hour relief?                                     3   some of the first patients to use OxyContin in
    4             MR. SNAPP: Objection to form.             4   Puerto Rico?
    5             THE WITNESS: Of course.                   5              MR. SNAPP: Object to the form.
    6   BY MS. DICKINSON:                                   6              THE WITNESS: I'm not aware of
    7        Q. That was really all I was getting           7         that.
    8   at.                                                 8              MR. SNAPP: Did you say '89?
    9             That was a key aspect of the              9              MS. DICKINSON: Yes, that's what
   10   drug's properties in marketing, correct?           10         it says.
   11             MR. SNAPP: Objection, beyond the         11              Here, let's make this easier.
   12        scope.                                        12         That's not the right exhibit number.
   13             THE WITNESS: Again, it's not --          13         Hold on just a second. Can you tell me
   14        I don't know, you know, was it a key          14         what the last exhibit number was?
   15        element? It was part of the promotional       15              MR. SNAPP: Twenty-one.
   16        message.                                      16              MS. DICKINSON: Twenty-one, okay.
   17   BY MS. DICKINSON:                                  17              Here we go, okay.
   18        Q. You don't know, sitting here               18              (Document marked for
   19   today, whether 12-hour relief was a part -- a      19         identification as Exhibit
   20   key part of the marketing messages for             20         Purdue-Fanelli-22.)
   21   OxyContin?                                         21   BY MS. DICKINSON:
   22             MR. SNAPP: Object to the form.           22         Q. I'm going to hand you what's been
   23        Objection as beyond the scope.                23   marked Exhibit 22 and some copies of that.
   24             THE WITNESS: It was part of the          24              And Exhibit 22 is a study -- is a

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    1   copy of a double-blind, randomized, single dose,    1         A. Not without looking at the study.
    2   parallel group study bearing the date               2         Q. And you hadn't looked at the
    3   February 14, 1989.                                  3   study to prepare for today, correct?
    4             Do you see that?                          4         A. Correct.
    5         A. Yes.                                       5         Q. Okay. Do you know if Purdue ever
    6         Q. Okay. And have you ever seen               6   submitted this study to the FDA?
    7   this study before?                                  7              MR. SNAPP: Object to the form.
    8         A. No.                                        8         Object as beyond the scope.
    9         Q. You're not familiar --                     9              THE WITNESS: I do not know. I
   10         A. I don't remember seeing this.             10         can't tell from this.
   11   This is dated '89. I joined Purdue in 2000. I      11   BY MS. DICKINSON:
   12   don't remember this particular document.           12         Q. Do you know if Purdue had
   13         Q. But you didn't prepare for the            13   information that its OxyContin product was not
   14   topic 7 regarding the results of any such          14   lasting for 12 hours?
   15   testing at Purdue for purposes of your             15              MR. SNAPP: Objection, beyond the
   16   deposition today, correct?                         16         scope.
   17             MR. SNAPP: Object to the form.           17              THE WITNESS: What do you mean by
   18         I'm not sure this has to do with a           18         "information"?
   19         Purdue product, first of all.                19   BY MS. DICKINSON:
   20             MS. DICKINSON: He can answer the         20         Q. Any information, do you know if
   21         question.                                    21   Purdue at any point in time regarding the
   22   BY MS. DICKINSON:                                  22   original formulation OxyContin product had
   23         Q. You didn't prepare for this topic         23   knowledge that its product was not lasting for
   24   7 by reviewing this study and the results for      24   12 hours?
                                               Page 159                                                Page 161
    1   the purposes of your deposition today?              1              MR. SNAPP: Same objection.
    2              MR. SNAPP: Object to the form.           2              THE WITNESS: So the approved
    3   BY MS. DICKINSON:                                   3         package insert talks about 12-hour
    4         Q. Correct?                                   4         dosing of the product. That's the
    5         A. I didn't review this document.             5         evidence that was provided in the NDA,
    6         Q. Okay. Did you, in preparing to             6         and that's what FDA approved.
    7   talk about the results of testing at Purdue         7              Individual reports -- obviously,
    8   regarding its opioid products, ever discuss with    8         individual patients' response,
    9   anyone the results of this study done in Puerto     9         pharmacological, pharmacodynamic
   10   Rico on women who were using OxyContin?            10         response varies. I don't know if there
   11              MR. SNAPP: Object to the form.          11         were reports of -- it would be an
   12         Object as beyond the scope.                  12         adverse event if the drug didn't last
   13              THE WITNESS: No, I did not.             13         that could be reported. Those -- that
   14   BY MS. DICKINSON:                                  14         information would have been reported to
   15         Q. Do you know if in this study more         15         Purdue, but I'm not aware of it,
   16   than a third of the women that were given          16         specifically, specific cases.
   17   OxyContin started complaining about pain in the    17   BY MS. DICKINSON:
   18   first eight hours; do you know?                    18         Q. Okay. So the product OxyContin
   19              MR. SNAPP: Object to the form.          19   was approved for 12-hour dosing, correct?
   20         Object as beyond the scope.                  20         A. Yes.
   21              Do you want him to read the             21         Q. And you're not aware of Purdue
   22         study?                                       22   receiving information that OxyContin was wearing
   23   BY MS. DICKINSON:                                  23   off in patients before 12 hours; is that what
   24         Q. Do you know?                              24   you're saying?

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    1             MR. SNAPP: Objection, beyond the         1   BY MS. DICKINSON:
    2        scope.                                        2         Q. Okay. We're going to move on to
    3             THE WITNESS: I'm saying I'm not          3   the next topic, and I hope to do it fairly
    4        aware of the specific incidence of that       4   quickly, and then we'll take a lunch break.
    5        report, that kind of reporting.               5   That's topic 10.
    6   BY MS. DICKINSON:                                  6              So if we could pull out the
    7        Q. If Purdue received that kind of            7   notice again, just real quick, that first
    8   information, should it have submitted it to the    8   exhibit. Topic 10 for which you are identified
    9   FDA?                                               9   to testify on behalf of Purdue states, the
   10             MR. SNAPP: Objection, beyond the        10   identification of your, and that's Purdue's,
   11        scope.                                       11   policies and procedures for and the identity of
   12             THE WITNESS: It depends on how          12   all persons responsible for interacting with the
   13        it was reported. There are requirements      13   Food and Drug Administration, FDA, the DEA, the
   14        around adverse events, and it has to,        14   US Department of Justice or other state and
   15        you know, raise to that level of a           15   federal government agencies.
   16        serious adverse event, we would have         16              Did I read that topic correctly?
   17        reported it.                                 17         A. Yes, this part.
   18   BY MS. DICKINSON:                                 18              MR. SNAPP: It's right here.
   19        Q. Would --                                  19              THE WITNESS: I know but it's not
   20        A. But, again, depends on the nature         20         here.
   21   of the report.                                    21   BY MS. DICKINSON:
   22        Q. Are you suggesting that Purdue            22         Q. And are you prepared to testify
   23   would only have provided that sort of             23   on that topic today on behalf of Purdue?
   24   information if it rose to the level of the        24              MR. SNAPP: Just to be clear,
                                               Page 163                                               Page 165
    1   requirement?                                       1        he's prepared to testify as to topic 10
    2              MR. SNAPP: Object to the form.          2        as stated in our November 15th filing
    3         Objection as beyond the scope.               3        that I think has been marked as Exhibit
    4              THE WITNESS: We would report            4        5, if I remember correctly.
    5         issues that were a serious adverse event     5   BY MS. DICKINSON:
    6         and deemed so by our pharmacovigilance       6        Q. Okay. And, for the record, you
    7         group.                                       7   are not prepared to testify on topic 10 as
    8   BY MS. DICKINSON:                                  8   written, by statement of your counsel, correct?
    9         Q. And how is something deemed to be         9              MR. SNAPP: Do you want to --
   10   a serious adverse event at Purdue?                10              THE WITNESS: Correct.
   11         A. That's under the purview of the          11              MR. SNAPP: -- look at the
   12   pharmacovigilance department. It, you know,       12        definition and compare them, and you'll
   13   review of individual cases, but if a product is   13        see that they're incredibly similar.
   14   not performing as stated in the package insert,   14              MS. DICKINSON: Fair enough.
   15   that's part -- that would be part of the          15   BY MS. DICKINSON:
   16   reporting.                                        16        Q. I'm asking, though, are you
   17         Q. If a product is not performing as        17   prepared to talk -- prepared today to testify on
   18   stated in the package insert, it would be         18   topic 10 for Purdue as written?
   19   important to provide any information about that   19        A. I'm prepared with the minor
   20   failure of performance to the FDA, correct?       20   modification.
   21              MR. SNAPP: Object to the form.         21        Q. So the answer is, no, you're not
   22         Objection as beyond the scope.              22   prepared to testify as written in topic 10,
   23              THE WITNESS: Yes, that's               23   correct?
   24         correct.                                    24        A. Correct.

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    1          Q. Okay. All right. What is the              1        the exhibit stickers over?
    2   minor modification that your counsel has made to    2              MS. DICKINSON: Sure, that might
    3   topic 10 in the objections that are marked as       3        be --
    4   Exhibit -- I'm sorry.                               4              MR. SNAPP: That might be easier,
    5              MR. SNAPP: Five.                         5        yeah.
    6   BY MS. DICKINSON:                                   6              MS. DICKINSON: I'm going to pass
    7          Q. Five.                                     7        them, not throw them. You can pass them
    8          A. The exclusion of other state and          8        back.
    9   federal government agencies.                        9              So we're starting with 24 for the
   10          Q. Okay. So you are not here                10        first one, okay. I'm sorry, here's 24,
   11   prepared to testify on behalf of Purdue as to      11        coming around.
   12   that portion of the topic, correct?                12              (Documents marked for
   13          A. Correct.                                 13        identification as Exhibits
   14          Q. Okay. Let's take the policies            14        Purdue-Fanelli-24 through 27.)
   15   and procedures for interacting with the FDA        15   BY MS. DICKINSON:
   16   first.                                             16        Q. Okay. Let's just take -- and
   17              Do you have a list of the               17   we're talking again about the policies and
   18   policies and procedures that exist at Purdue or    18   procedures that exist at Purdue for interacting
   19   have existed at Purdue from 1995 to present        19   with the FDA first.
   20   regarding interacting with the FDA?                20              And the first one of those that
   21          A. Yes.                                     21   Purdue has identified is Exhibit 24; is that
   22              MS. DICKINSON: Okay. Can we             22   right?
   23          mark that list. First, I'm sending it       23        A. Yes.
   24          around. Can we mark the list as Exhibit     24        Q. Okay. And what is Exhibit 24?
                                               Page 167                                                Page 169
    1       23.                                             1         A. It describes a standard operating
    2              (Document marked for                     2   procedure for interacting with FDA regarding an
    3         identification as Exhibit                     3   NDA or a ANDA or supplemental new drug
    4         Purdue-Fanelli-23.)                           4   application.
    5   BY MS. DICKINSON:                                   5         Q. Okay. And is this the policy
    6         Q. A very helpful list, thank you.            6   that is in place currently today?
    7              Okay. We've marked as Exhibit 23         7         A. Yes.
    8   what I believe to be the Purdue's answer to         8         Q. Okay. Was there a previous
    9   topic 10 with respect to the FDA and the DEA; is    9   policy similar to this policy?
   10   that correct?                                      10         A. Yes, this is version, as it says
   11         A. Yes.                                      11   in the back, 4.0, so this procedure has been in
   12         Q. Okay. Topic -- or Exhibit 23              12   effect.
   13   identifies it looks like four policies and         13         Q. How -- I assume there's a 1.0, a
   14   procedures for interacting with the FDA at         14   2.0 and 3.0; is that right?
   15   Purdue.                                            15         A. I'm assuming as well, but I'm not
   16              Do you have copies of those             16   -- I don't -- yes, that's how we mark them.
   17   policies and procedures with you as well?          17         Q. Do you know how far back a policy
   18         A. Yes.                                      18   of this type went at Purdue, i.e., when was 1.0
   19              MS. DICKINSON: Okay. Could we           19   put into effect?
   20         maybe mark those? If I could get a copy      20         A. I don't know the exact date. I
   21         of all of those four policies, that          21   know that the policies were always in place. I
   22         would be helpful. Do you have those          22   don't know if it was written down as a specific
   23         coming?                                      23   standard operating procedure in this way and how
   24              MR. SNAPP: Do you want to pass          24   long that was.

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    1         Q. Okay. Do you know when the first           1         A. Correct.
    2   time that the policies addressed in Exhibit 24      2         Q. And do you know when the first
    3   were written down?                                  3   written version of this policy was?
    4         A. No, I don't know the exact date.           4         A. I do not.
    5   I know the policy has been in place throughout      5         Q. Okay. Exhibit 26, what is
    6   Purdue's existence.                                 6   Exhibit 26?
    7         Q. So whether it was written down or          7         A. This talks about submissions of
    8   not, the policy that is written down in Exhibit     8   promotional material to FDA.
    9   24 has always been in place at Purdue?              9         Q. Okay. And --
   10         A. Yes.                                      10         A. Advertising and promotional.
   11         Q. Okay. And what is the -- I'm              11         Q. Exhibit 26 is the third item on
   12   sorry. You said that this was the policy that      12   Purdue's list listed on Exhibit 23 in its
   13   governed Purdue's interactions with respect to     13   response to topic 10; is that right?
   14   the NDA; is that right?                            14         A. Yes.
   15         A. This is actually related to the           15         Q. Okay. And this is the policy
   16   submissions of an NDA.                             16   that is currently in existence at Purdue,
   17         Q. Okay. Does the policy cover any           17   correct?
   18   other topic or subject?                            18         A. Yes.
   19         A. This one is about or supplements          19         Q. Is it also the same as the other
   20   and talking about that that -- what it's           20   two policies we've talked about, where the
   21   referring to is the federal regulation that we     21   information in this policy has always been the
   22   follow in order to file an NDA. That's what        22   policy at Purdue, whether it was written down or
   23   this is about.                                     23   not?
   24         Q. Okay. The second policy that I            24         A. Correct.
                                               Page 171                                                Page 173
    1   believe has been marked as Exhibit 25 is --         1         Q. Okay. And do you have any idea
    2         A. Correct.                                   2   when the first written version of this policy
    3         Q.    -- it says REGSOP0035; is that          3   was put into effect?
    4   right? What's Exhibit 25 in front of you? I'm       4         A. No, I do not.
    5   sorry.                                              5         Q. Okay. Let's talk about Exhibit
    6         A. So the difference -- the first             6   27. What is Exhibit 27?
    7   one is an NDA. The second one is about filing       7         A. So one of the interactions we
    8   an IND.                                             8   have with FDA is an advisory committee, and this
    9         Q. Okay, sorry. So Exhibit 25 is              9   is a document that describes the processes,
   10   the second item on your list that was marked as    10   roles and responsibilities around responding to
   11   Exhibit 23, and it is the initial IND submission   11   an advisory committee or preparing -- preparing
   12   standard operating procedure; is that right?       12   for an advisory committee.
   13         A. Yes.                                      13         Q. Okay. And this policy was or
   14         Q. And what does this policy cover?          14   this playbook was -- is dated December 15, 2015;
   15         A. It talks about the filing of the          15   is that right?
   16   initial IND, so the opening of an IND in order     16         A. Yes.
   17   to conduct clinical trials.                        17         Q. Is this a playbook that's
   18         Q. Okay. And this is the policy              18   currently used at Purdue?
   19   that is currently in effect at Purdue, correct?    19         A. Yes.
   20         A. Yes.                                      20         Q. And how long has it been used?
   21         Q. And similar to the last policy in         21         A. Well, this playbook was produced
   22   Exhibit 24, has the policy, as it's outlined in    22   in December of 2015. There was no -- nothing
   23   Exhibit 25, always been the same at Purdue,        23   written down to this, but similar to the others,
   24   whether it was written down or not?                24   these were the procedures that we followed. It

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    1   was after an advisory committee that we had, a      1   you'll see the person on the cover letters and
    2   project to just provide this information as a       2   it says regulatory affairs, that's the prime
    3   guide to how to prepare for another advisory        3   person.
    4   committee.                                          4         Q. Okay. Great. You don't have a
    5          Q. Okay. And this first time this            5   list of the primary people for OxyContin, for
    6   policy or playbook was committed to writing was     6   example, with you today?
    7   in 2015?                                            7         A. We could look at the org charts.
    8          A. Correct.                                  8   I know -- I don't remember in '95, but they're
    9          Q. Okay. Do you know similar -- I            9   folks like Chris Prue, Beth Conley, and
   10   know on this Exhibit 23 you listed the persons     10   currently it's myself.
   11   most responsible for interacting with the DEA.     11         Q. When did you take on the primary
   12              Do you know who the persons most        12   responsibility of interacting with the FDA with
   13   responsible for interacting with the FDA are at    13   respect to OxyContin?
   14   Purdue?                                            14         A. About when Beth Conley left the
   15          A. Yes.                                     15   company, which is only -- it's not a year yet.
   16          Q. Okay. Who are they?                      16   Beth Conley -- again, looking at that org chart,
   17          A. So FDA, you can imagine, there's         17   starting -- well, now in 2014, I'm the head of
   18   many, many pharmaceutical companies, many          18   the entire department.
   19   sponsors, so similar practice at both sponsors     19              Before that, for about I think
   20   and FDA is there is one person, and part of my     20   three or four years, I was a head of that entire
   21   title is FDA liaison, so one person at the         21   group. So all those folks reported to me. So I
   22   company who is the interface with the FDA.         22   would, again, not be the prime person, but I
   23   That's the person the FDA will call. That's the    23   would be involved in all the conversations or
   24   person that signs the cover letters. Remember I    24   all the interactions.
                                               Page 175                                                Page 177
    1   said about the forms?                               1         Q. Okay. Do you know who the
    2         Q. Yes.                                       2   primary person was for OxyContin starting from
    3         A. So those folks reside in                   3   its launch in 1995?
    4   regulatory affairs department.                      4         A. I don't think Chris joined --
    5         Q. Okay.                                      5   when I came, Chris Prue was responsible in 2000.
    6         A. So it's the -- we call them                6   If I could look at that org chart, I could
    7   RAPMs, regulatory affairs project managers or       7   figure out who it was.
    8   FDA liaisons, so that's the prime person for        8         Q. Sure, could you quickly. I just
    9   contact for FDA.                                    9   want to make sure I understand who the persons
   10         Q. Okay. Has it always been true             10   are that were responsible for interacting with
   11   over, let's say, since 1995 when OxyContin was     11   FDA with respect to OxyContin.
   12   launched that there was always a primary person    12         A. You know -- well, I don't know if
   13   for a drug that would interact with FDA?           13   we have it. It would be on the submission cover
   14         A. Absolutely.                               14   letter. Do you have the next one? The big one
   15         Q. Okay. And where could I find who          15   we were looking at has more detail. In 1995 the
   16   those people are for the particular drugs?         16   head of the group was Jim Conover at that time.
   17         A. So any -- if you look in those            17   He was the head of the group that included some
   18   regulatory affairs, some of those org charts       18   of those individuals.
   19   split out. Actually, there's a group that's        19             I'm not sure who the -- if
   20   called FDA liaison or project managers, those      20   someone reporting to him might have been
   21   are the individuals. And usually, it depends on    21   involved, but I would say Jim Conover is a good
   22   the history of Purdue, but usually in any          22   -- yeah, this is '95 -- would be involved in all
   23   documents you look, the person signing the cover   23   those correspondence.
   24   letter, so if you look at OxyContin documents,     24         Q. Are there also sections of the

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    1   company in terms of governmental affairs, you       1         A. I'm not aware of that.
    2   know, sort of the lobbying side of things that      2         Q. Okay. Let's turn to the
    3   interact with the FDA? Do you have that segment     3   interactions with the DEA and the policies with
    4   of the company at Purdue?                           4   respect to interacting with DEA, okay?
    5         A. There is a group government                5         A. Sure.
    6   affairs, but they -- unless regulatory is           6         Q. So you have listed three policies
    7   involved, they are more speaking congressional      7   and procedures that exist at Purdue with respect
    8   members, they don't really speak to FDA, per se.    8   to interacting with DEA on Exhibit 23; is that
    9   Now, there are other individuals outside of         9   correct?
   10   regulatory who talk -- like in large groups, so    10         A. Yes.
   11   if we have a conference call with FDA, I have      11         Q. Okay. And one says SOM program
   12   one Monday, you know, all the disciplines that     12   SOP, and it lists SOP 000 and then a 17. The
   13   that conversation is about would be on a           13   other lists the SOP 1.7.1, and the third is an
   14   teleconference or go to a meeting. So if we're     14   SOP that's 7.1; is that correct?
   15   talking about, you know, a clinical trial, the     15         A. Yes.
   16   clinical representative would be there.            16              MR. SNAPP: Do you want to mark
   17             But without going through the            17         these?
   18   regulatory department individual, there's not      18              MS. DICKINSON: Well, yes, just a
   19   usually direct connection, you know, so they       19         second, though.
   20   wouldn't call someone in the pharmacokinetics      20   BY MS. DICKINSON:
   21   group at FDA without having a person in            21         Q. So today we were for the first
   22   regulatory, unless that's arranged with FDA.       22   time provided with SOP 7.7 on "System to
   23             There are times during a review,         23   Disclose Suspicious Orders of Controlled
   24   FDA may say, go ahead and have your formulation    24   Substances."
                                               Page 179                                                Page 181
    1   guy call mine, you know, that kind of thing, but    1              Is that policy on this list and
    2   that's rare.                                        2   I'm just not understanding that it is, or is
    3         Q. I'm trying to figure out if, for           3   that an additional policy that should be on this
    4   example, new regulations are being passed or        4   list?
    5   something of that nature --                         5         A. Could you -- can we take a look?
    6         A. Sure.                                      6         Q. Sure. I'm going to mark as
    7         Q. -- is there a group at Purdue              7   Exhibit 28.
    8   that would interact from the government             8              (Document marked for
    9   relations standpoint with FDA?                      9         identification as Exhibit
   10         A. Yes, yes, they might at a high            10         Purdue-Fanelli-28.)
   11   level.                                             11   BY MS. DICKINSON:
   12         Q. Who would those folks be?                 12         Q. A copy of what was produced to us
   13         A. You know, folks in that                   13   this morning for the first time or two days ago,
   14   government relations, but it's rare that -- as I   14   I'm sorry, two days ago, not this morning, by
   15   say, they talk to FDA, but there have been         15   Purdue that is titled SOP, title, "System to
   16   conversations with FDA leadership on occasion,     16   Disclose Suspicious Orders of Controlled
   17   not usually the division directors, so the folks   17   Substances."
   18   dealing with a particular therapeutic class,       18              Do you see that?
   19   it's more broad levels where they might be         19         A. Yes.
   20   involved.                                          20         Q. Okay. And is that a policy that
   21         Q. Okay. Do you know if Purdue               21   is on this list that you have in Exhibit 23 of
   22   hires lobbyists or outside governmental affairs    22   the policies and procedures that exist at Purdue
   23   consultants whose job it was to interact with      23   for interacting with DEA?
   24   FDA?                                               24         A. I have to -- if you give me some

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    1   time to look at that, but if you look at the S      1          A. Yes -- well, if I'm looking at
    2   -- the one that starts with SOM program.            2   this document, which is from Purdue as well,
    3         Q. Okay.                                      3   it's similar, but this particular policy, with
    4         A. The purpose of this SOP is to              4   that identifier, yes, it's the first version.
    5   provide guidance on identifying, reviewing,         5          Q. Okay. So the first version of a
    6   documenting and reporting suspicious orders in      6   policy for identifying, evaluating and reporting
    7   compliance with the Controlled Substance Act, so    7   suspicious orders as set forth in Exhibit 29 was
    8   I believe --                                        8   done on September 25th, 2017, correct?
    9         Q. Let's mark the other three, then           9               MR. SNAPP: Object to the form.
   10   maybe we can go at it that way, and I'll do 7.7    10               THE WITNESS: It appears there
   11   last, how about that? I will hand you around       11          were policies prior to this, but this is
   12   the exhibit stickers. If you wouldn't mind         12          the current policy, as stated.
   13   marking the three that are listed on Exhibit 23.   13   BY MS. DICKINSON:
   14         A. Okay. Oh, you have them? Can I            14          Q. Okay. And you're here today to
   15   keep this one?                                     15   testify about the policies that existed at
   16         Q. Sorry. Which one are we talking           16   Purdue with interacting with DEA, and I just
   17   about?                                             17   want to make sure I'm getting the full range of
   18         A. The one -- 28 you handed me.              18   those policies as they exist.
   19         Q. So we've marked Exhibit 28, and           19               You have three listed on here,
   20   that's the policy I handed you.                    20   and that list did not include what I handed and
   21         A. Yes.                                      21   marked to you that we received two days ago as
   22              MS. DICKINSON: But then let's           22   Exhibit 28; is that correct?
   23         mark the three on your list on Exhibit       23          A. That is correct.
   24         23 as 29, 30 and 31, if you would.           24          Q. Do you know why Exhibit 28 wasn't
                                               Page 183                                                Page 185
    1              (Documents marked for                    1   provided to you or that you didn't provide it on
    2          identification as Exhibits                   2   this list?
    3         Purdue-Fanelli-29, 30 and 31.)                3         A. I do not know.
    4              MR. SNAPP: They're marked.               4         Q. Okay. How did you go about
    5   BY MS. DICKINSON:                                   5   collecting the policies that are on this list?
    6         Q. Okay. And let's -- can I have              6         A. They were collected by
    7   copies, 29, 30 and 31.                              7   interacting with -- we have -- especially with
    8              So let me understand what we've          8   interacting with DEA as the question, the folks
    9   now marked as -- so Exhibit 29 is the first SOM     9   that are listed there are responsible for that.
   10   policy on your list; is that right? Has that       10   It doesn't reside in regulatory affairs, so we
   11   been marked as the --                              11   reached out to them for -- and to our law
   12         A. That is the SOM program, yes.             12   colleagues for the policies that are related to
   13         Q. Okay. So what is Exhibit 29?              13   that.
   14         A. It's a standard operating                 14         Q. Who was actually the person that
   15   procedure to identify, review, document and        15   collected and gave you the policies?
   16   report suspicious orders in compliance with the    16         A. I'm not -- I don't know who the
   17   Controlled Substance Act.                          17   exact person is.
   18         Q. Okay. And that policy has a               18         Q. Okay. Do you know how you
   19   release date of September of 2017; is that         19   received them?
   20   right?                                             20         A. I think our colleagues at Dechert
   21         A. Yes.                                      21   reached out to our law group.
   22         Q. And that document version says            22         Q. Okay. And you received this list
   23   it's 1.0, so that's the first time such a policy   23   from --
   24   was in writing, correct?                           24         A. In preparation.

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    1         Q. -- your lawyers?                           1             MR. SNAPP: Object to the form,
    2         A. Yes.                                       2        misstates prior testimony. He's here --
    3         Q. Okay. And that list does not               3        beyond the scope.
    4   include the policy that was produced to us two      4             MS. DICKINSON: Let the witness
    5   days ago that is marked as Exhibit 28, correct?     5        testify, please.
    6             MR. SNAPP: Object to the form.            6             MR. SNAPP: I am.
    7             THE WITNESS: Correct.                     7   BY MS. DICKINSON:
    8   BY MS. DICKINSON:                                   8        Q. Are you here to testify about the
    9         Q. Okay. So we've talked about                9   abuse and the diversion detection program prior
   10   Exhibit 29.                                        10   to 2015?
   11             What is Exhibit 30?                      11        A. Yes.
   12         A. This is a procedure that resides          12             MR. SNAPP: Object to the form.
   13   in the law department, and it relates to a         13   BY MS. DICKINSON:
   14   program, we refer to it as the ADD program, and    14        Q. Okay. But yet you don't have the
   15   that's how it's listed on your list there, to      15   written policies with you?
   16   look at concerns around abuse and diversion, if    16             MR. SNAPP: Object to the form,
   17   there are observations related to that. It         17        calls for -- beyond the scope.
   18   details assessment of that and reporting of it.    18             THE WITNESS: That's correct.
   19         Q. Okay.                                     19   BY MS. DICKINSON:
   20         A. And how it gets to DEA.                   20        Q. Okay. So when -- I'm a little
   21         Q. And the date on this policy is            21   unclear as to how you're going to testify about
   22   September 2015, correct?                           22   the policies if we don't have them to look at.
   23         A. Yes.                                      23             MR. SNAPP: Object to the form.
   24         Q. And it says it supersedes a               24             THE WITNESS: I'm aware of the
                                               Page 187                                                Page 189
    1   June 2007 policy, correct?                          1         policy, I just don't have the written
    2         A. Yes.                                       2         documentation of those exact policies.
    3         Q. Okay. And so this policy, is it            3   BY MS. DICKINSON:
    4   safe to assume, was in effect from 2007 to 20 --    4         Q. And is the policy or was the
    5   or to the present? Or I'm sorry, I'm sorry,         5   policy prior to 2015 identical to the one we're
    6   that's not at all correct.                          6   looking at here on Exhibit 30?
    7              This policy was in effect as of          7              MR. SNAPP: Object to the form,
    8   2015 going forward, correct?                        8         beyond the scope.
    9         A. This particular one, yes.                  9              THE WITNESS: It was consistent
   10         Q. Okay. And there was a separate            10         with this policy. I don't know if it's
   11   policy that was in effect from June of 2007 to     11         identical in every way.
   12   2015, correct?                                     12   BY MS. DICKINSON:
   13         A. Correct, an earlier version.              13         Q. And we don't know because we
   14         Q. Okay. Do you have the earlier             14   can't look at it here, as we're sitting here
   15   version with you?                                  15   today, right?
   16         A. I do not.                                 16              MR. SNAPP: Object to the form.
   17         Q. Okay. Do you know if there was            17         Can we take a break after this question,
   18   an earlier version earlier than 2007?              18         please.
   19         A. I do not know.                            19              THE WITNESS: We don't have it,
   20         Q. So you're not here prepared to            20         yes.
   21   testify on any of the policies prior to 2015       21              MS. DICKINSON: Okay, I have
   22   with respect to interacting with the DEA           22         about ten more minutes probably on these
   23   regarding the abuse and diversion detection        23         topics. Do you want to keep -- do you
   24   program; is that right?                            24         really want to take a break, or do you

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    1       just want to do ten minutes? I mean --        1        Q.    Is that correct?
    2            MR. SNAPP: No, I want to take a          2             MR. SNAPP: Object to the form.
    3       break.                                        3   BY MS. DICKINSON:
    4            MS. DICKINSON: Okay. Well, then          4         Q. Okay. Are you here today
    5       we might as well take a lunch break.          5   prepared to identify all policies and procedures
    6            MR. SNAPP: We've been going for          6   at Purdue from 1990 to present for interacting
    7       an hour and 15 minutes.                       7   with the DEA?
    8            MS. DICKINSON: Well, no, I'm             8             MR. SNAPP: Object to the form.
    9       just trying to get to a normal stopping       9             THE WITNESS: No.
   10       place. I have about 10 minutes. I            10   BY MS. DICKINSON:
   11       mean, we can do the --                       11         Q. Okay. What portion of that topic
   12            MR. SNAPP: I understand, but I          12   are you prepared to address?
   13       think we should take a lunch break at        13         A. I can address the individuals and
   14       this point. We've been going for 75          14   the policies and procedures that were in place
   15       minutes.                                     15   for reporting to the DEA. I don't have the
   16            MS. DICKINSON: Okay, fair               16   specific SOPs of those.
   17       enough. Take a lunch break. Come back        17         Q. Okay. So you're not here
   18       on topic 10.                                 18   prepared to give the corporation's answer
   19            THE VIDEOGRAPHER: Remove your           19   identifying the universe of the SOPs that have
   20       microphones. The time is 12:58 p.m.          20   existed for interacting with the DEA at Purdue?
   21       Going off the record.                        21   That's what I'm trying to get at.
   22            (Luncheon recess.)                      22         A. Okay.
   23            THE VIDEOGRAPHER: The time is           23             MR. SNAPP: Object to the form.
   24       1:47 p.m., back on the record.               24             THE WITNESS: I can describe the
                                             Page 191                                                Page 193
    1   BY MS. DICKINSON:                                 1         procedures that were involved and the
    2        Q. Dr. Fanelli, we're back on the            2         individuals who report to DEA. I don't
    3   record. I just wanted to go through a couple      3         have the document, you know -- as we
    4   things on topic 10 before we leave that topic.    4         talked before, some of our procedures
    5             Topic 10 asks for identification        5         are not written down in documents or I
    6   of Purdue's policies and procedures regarding     6         don't have them, you know, the specific
    7   interacting with the DEA for the time period      7         writing -- write-up of those procedures.
    8   1990 to present.                                  8   BY MS. DICKINSON:
    9             Is that your understanding of the       9         Q. What did you do to prepare for
   10   topic that you were supposed to provide          10   this topic?
   11   testimony on today?                              11         A. I spoke to Mark Geraci, who is
   12             MR. SNAPP: Object to the form.         12   the head of our corporate security, about these
   13             THE WITNESS: My understanding          13   policies and reviewed the documents that we
   14        was that we would be discussing those       14   presented.
   15        policies and procedures, yes, during        15         Q. And those are the three documents
   16        that time frame, not presenting, you        16   that are listed on Exhibit 23?
   17        know, handing them, but discussing them,    17         A. Yes.
   18        yes.                                        18         Q. And what did you talk to
   19   BY MS. DICKINSON:                                19   Mr. Geraci about?
   20        Q. Okay. So your understanding was          20         A. The specifics of those policies.
   21   that we were going to discuss the policies and   21   As we talked before, regulatory affairs doesn't
   22   procedures but not necessarily look at the       22   deal directly with the DEA, that's Mark, the
   23   physical documents from 1998 to present?         23   corporate security is the lead interaction with
   24        A. Correct.                                 24   DEA. When there are inspections in our

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    1   facilities, manufacturing facilities, that's        1        Q. And this document that we
    2   folks like Monte Phipps, our technical -- you       2   produced to you at the deposition, in number 4
    3   know, the technical folks that's on your list,      3   identifies a "Procedure for Customer Service."
    4   and Gwen Mack is related to diversion control,      4              Who is customer service?
    5   monitoring of shipments and those kinds of          5        A. It's part of -- it's a department
    6   things. Anyway, those individuals are the ones      6   within Purdue that it's in the sales and
    7   that we talked to, and Mark and I look --           7   operations group who responds to customer
    8   discussed those SOPs as well.                       8   requests.
    9         Q. Okay. How long was your                    9        Q. Okay. This procedure for
   10   conversation with Mr. Geraci?                      10   customer service says, "They review each other
   11         A. I don't recall. It was on a one           11   for unusual quantifies or any other deviation
   12   day. It didn't last a whole day.                   12   from the customer's regular order pattern."
   13         Q. More or less than an hour?                13              Do you see that?
   14         A. Approximately an hour, I would            14        A. Yes.
   15   think, but I don't recall so much.                 15        Q. Is there an SOP, a standard
   16         Q. I'm not sure if we marked the             16   operating procedure, for how customer service
   17   policy, the SOP 7.7, the one that we got two       17   goes about this?
   18   days ago, the 031.                                 18        A. I don't know if there's an SOP.
   19         A. I have it.                                19   I'm looking at our --
   20         Q. Had we marked that? Okay. What            20        Q. You don't know?
   21   number did we mark that as?                        21        A. The details are not in that
   22         A. Twenty-eight.                             22   particular document.
   23         Q. Okay. And this policy was not             23        Q. And do you know if the details
   24   provided to you by Mr. Geraci, was it?             24   exist in a document at Purdue?
                                               Page 195                                                Page 197
    1          A. No.                                       1        A. If you look at the one with the
    2          Q. Okay. Did you discuss this                2   reference 29, that the -- which is the one I
    3   policy with Mr. Geraci?                             3   believe it's a similar topic -- well, it is
    4          A. It appears that this talks about          4   similar topic as that, there's a procedure in
    5   suspicious order, which we have one of the          5   terms of review, procedure number 1.
    6   policies that I handed you. I'm not -- I can't      6        Q. And Exhibit 29 is the policy that
    7   say for sure, but I think it's related to --        7   went into effect in September of 2017; is that
    8   well, it is definitely related to the same          8   right?
    9   procedure, so we did talk about that.               9        A. Yes.
   10          Q. Can -- what I'm trying to get a          10        Q. Okay. For suspicious order
   11   handle on is when was the earliest date that       11   monitoring we have Exhibit 28, we have Exhibit
   12   Purdue had a suspicious order monitoring policy?   12   29, which is dated September 25th, 2017. We
   13   And this one is dated 3/12/03, was that the        13   have Exhibit 31, which is dated February 29,
   14   first time that Purdue had a suspicious order      14   2016.
   15   monitoring policy?                                 15             Are these three policies the
   16          A. I'm not aware of the day it              16   universe of Purdue's policies with respect to
   17   started, the date it started. There clearly was    17   suspicious order monitoring?
   18   one at this point, '03.                            18             MR. SNAPP: Objection, beyond the
   19          Q. Okay. And you don't know --              19        scope.
   20   you're not prepared here today to answer the       20             THE WITNESS: I'm not aware if
   21   question of whether Purdue had a written policy    21        there are other procedures.
   22   on suspicious order monitoring prior to '03; is    22   BY MS. DICKINSON:
   23   that right?                                        23        Q. Okay. When you talked with
   24          A. That's correct.                          24   Mr. Geraci about the procedures that exist with

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    1   respect to interacting with the DEA, did you        1         Purdue-Fanelli-32.)
    2   talk about the universe of the specific             2   BY MS. DICKINSON:
    3   procedures and policies that exist? Was that        3         Q. Exhibit 32 appears to be one of
    4   one of the topics of that conversation?             4   the earlier versions of the policy that you did
    5         A. That conversation was about the            5   bring with you today, which is SOP 1.7.1; is
    6   individuals who interact with the DEA and how       6   that right?
    7   information is exchanged with the DEA.              7         A. Correct.
    8         Q. It was not about the policies and          8         Q. Okay. So there was a policy that
    9   procedures, correct? That topic, the policies       9   we now just marked as Exhibit 32 that existed
   10   and procedures was not the topic of your           10   prior to the policy that you brought with you
   11   conversation with Mr. Geraci; is that correct?     11   today from 2015; is that right?
   12         A. We talked about the procedures            12         A. Yes.
   13   and the policies, but not the -- you know,         13             MS. DICKINSON: And I'm going to
   14   specifically if we had all the particular SOPs.    14         mark another policy as Exhibit 33.
   15         Q. Okay. I'm trying to figure out            15             (Document marked for
   16   how I find out from you what the universe of the   16         identification as Exhibit
   17   SOPs is with respect to interactions with the      17         Purdue-Fanelli-33.)
   18   DEA.                                               18   BY MS. DICKINSON:
   19               Are these documents that we've         19         Q. And Exhibit 33 appears to be
   20   marked as between Exhibit 28 and Exhibit I think   20   another version of the 1.7.1 policy that we just
   21   it's 31, is that the universe of the written       21   looked at, earlier version; is that right?
   22   policies and procedures for interacting with the   22         A. Yes.
   23   DEA at Purdue?                                     23         Q. And you likewise did not review
   24         A. I believe it covers the -- all            24   this version of the policy in preparation for
                                               Page 199                                                Page 201
    1   the policies that deal with interacting with the    1   your testimony today or bring it with you; is
    2   DEA. I'm not aware if there may be other            2   that right?
    3   procedures. As we -- there are cases where          3         A. Correct.
    4   subparts for particular departments and I may       4         Q. Okay. And that's dated
    5   not be aware of those.                              5   November 1st, 2002.
    6         Q. Okay. So you're not prepared to            6             Do you see that?
    7   address the topic in its entirety about the         7         A. Yes.
    8   policies and procedures for interacting with the    8         Q. And do you know today whether
    9   DEA; is that correct?                               9   there is an earlier version of this policy,
   10              MR. SNAPP: Object to the form.          10   earlier than 20 -- or 2002?
   11              THE WITNESS: I'm prepared to as         11         A. I do not know.
   12         -- to talk about the policies and            12         Q. Okay. I'm going to quickly ask
   13         procedures, but you're correct, I don't      13   you a few questions about topics 37 and 38
   14         have the -- I'm not aware if I have the      14   before we go back to topic 30 quickly.
   15         whole universe of all those policies.        15         A. Sure.
   16   BY MS. DICKINSON:                                  16         Q. So topics 37 and 38 on Exhibit 1,
   17         Q. And you're not aware so you can           17   Topic 37 is your coordination, your being
   18   tell me what that universe is, right?              18   Purdue, or communications with any defendant in
   19         A. Correct.                                  19   this action, including but not limited to your
   20         Q. Okay. I'm going to hand you what          20   participation in any industry groups or
   21   has been marked as -- I'm going to hand you        21   professional societies or any defendant in this
   22   what's been marked as Exhibit 32.                  22   matter as a member, referring to pain care, the
   23              (Document marked for                    23   sale of opioids, the marketing or promotion of
   24         identification as Exhibit                    24   opioids, regulations, rules or laws affecting

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    1   the sale, promotion and marketing of opioids and    1   required studies by FDA that are part of the FDA
    2   the potential for abuse and diversion of            2   amendment act. FDA now can require
    3   opioids.                                            3   postmarketing studies when they believe safety
    4              You are not here today prepared          4   questions have arisen, they want additional
    5   to testify on that entire topic, correct?           5   studies, so we're working with -- it's varied
    6         A. Correct.                                   6   over time, now there's 12 companies, the ones
    7         Q. And in reading your counsel's              7   you mentioned are included, to design, conduct
    8   responses to the topic, your counsel has            8   and report those studies.
    9   designated Alan Must as the person who will         9         Q. Okay. And what is the subject of
   10   provide testimony regarding industry groups or     10   those postmarketing studies?
   11   professional societies relating to pain care or    11         A. So it's related to misuse, abuse,
   12   opioids. You will not be providing testimony on    12   addiction, overdose and death related to
   13   that subject, correct?                             13   prescription opioid and prescription -- in
   14         A. Yes, that's correct.                      14   patients taking prescription opioids and when --
   15         Q. Topic 38, the nature and scope of         15   if you look at the first five years ago, the
   16   any meetings, correspondence, communications,      16   letter from FDA, there were five studies. There
   17   documents, contracts or agreements between you     17   are currently 11 studies conducted based on
   18   and Cephalon, Janssen, Endo, Mallinckrodt          18   input, public meetings, protocols back and forth
   19   concerning the manufacture, development,           19   with FDA, scientific advice, and now we have 11
   20   formulation, marketing, advertising and the sale   20   studies.
   21   of opioids or opioid products.                     21         Q. Are you personally involved in
   22              You will not be providing               22   that effort?
   23   testimony on that entire topic; is that correct?   23         A. I am -- there are 11 studies, ten
   24         A. Yes.                                      24   of those are observational studies using
                                               Page 203                                                Page 205
    1         Q. Okay. And for this topic Purdue            1   epidemiological data. I am the regulatory lead
    2   has not designated another witness; however,        2   from -- for all the companies -- the FDA liaison
    3   they have said that you, Richard Fanelli, would     3   to the FDA for those -- ten of those studies.
    4   provide testimony regarding communications          4             I'm also Purdue's representative,
    5   between Purdue and any other opioid                 5   along with Marcelo Bigal, it's changed over
    6   manufacturers, including, as applicable,            6   time, but Purdue's representative on the
    7   Cephalon, Janssen, Endo or Mallinckrodt             7   steering committee as part of the -- I was going
    8   concerning postmarketing studies relating to        8   to say OPC, the opiate postmarketing required
    9   opioid medications.                                 9   consortium.
   10             So you have only prepared for            10        Q. Is that what the committee or the
   11   this topic as it relates to postmarketing          11   group working on that is called?
   12   studies; is that right?                            12        A. Yeah, yes. Both FDA -- both FDA
   13         A. Correct.                                  13   and the group refer to it -- the opiate
   14         Q. And that is also true for topic           14   postmarketing required consortium.
   15   37, you have only prepared for that topic as it    15        Q. And are these the studies the FDA
   16   relates to postmarketing studies; is that right?   16   required?
   17         A. Correct.                                  17        A. Yes.
   18         Q. Okay. Is Purdue currently                 18        Q. These were the studies we talked
   19   working with other companies to conduct a          19   about earlier in your deposition?
   20   postmarketing study?                               20        A. Yes, they are.
   21         A. Yes.                                      21        Q. Okay. Are there any other
   22         Q. Okay. What are they doing?                22   postmarketing studies that you were working with
   23         A. There are -- we talked about this         23   the entities identified in these topics on?
   24   briefly earlier. There are postmarketing           24        A. No.

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    1         Q. Okay. We can go back to topic 30           1   the deposition, though, you didn't ask, even
    2   briefly, and if you would look at topic 30,         2   though it wasn't part of your own personal
    3   Exhibit 1, please.                                  3   responsibility, you didn't ask anyone else at
    4              Topic 30 reads warning letters           4   the company about the budgets for the responses
    5   sent to you, that's Purdue, by the FDA and the      5   to the FDA warnings; is that right?
    6   DEA regarding your marketing of your opioid         6             MR. SNAPP: Object to the form.
    7   products, response to these letters, all            7             THE WITNESS: That's correct.
    8   subsequent actions you took in response to those    8   BY MS. DICKINSON:
    9   communications and all budgets for any such         9        Q. Were you told not to?
   10   actions by year.                                   10             MR. SNAPP: Object to the form.
   11              Are you prepared to testify on          11        I'm going to instruct you not to answer
   12   that topic on behalf of Purdue?                    12        to the extent the question calls for any
   13              MR. SNAPP: Just for the record,         13        attorney-client privilege
   14         Dr. Fanelli has been designated by           14        communications, any communications
   15         Purdue to testify on topic 30 as stated      15        between you and a lawyer.
   16         in our November 15th supplemental            16   BY MS. DICKINSON:
   17         responses and objections, where we           17        Q. Can you answer the question?
   18         defined his testimony as warning letters     18        A. I can't answer that question.
   19         sent to you by the FDA and the DEA           19        Q. But, for the record, nonetheless,
   20         regarding your marketing of your opioid      20   Purdue is not providing a witness or has not
   21         products, your response to these             21   identified one in response to topic 30 on the
   22         letters, all subsequent actions you took     22   budgets for the responses to the DEA -- or the
   23         in response to those communications and      23   FDA warning letters?
   24         all budgets for any such actions by          24             MR. SNAPP: And, for the record,
                                               Page 207                                               Page 209
    1        year. I'm sorry, I read the wrong              1        the plaintiffs have known that since
    2        thing.                                         2        November 15th and never picked up the
    3             He's prepared to testify on               3        phone or sent an e-mail to meet and
    4        warning letters sent by the FDA or DEA         4        confer on that issue.
    5        regarding Purdue's marketing of its            5   BY MS. DICKINSON:
    6        opioid medications and Purdue's response       6        Q. All right. Let's take the
    7        to an action taken in response to the          7   warning letters.
    8        letters. My apologies. I was reading           8             MS. DICKINSON: Where did we end
    9        the wrong thing.                               9        up on exhibits. I think we're on 32; is
   10   BY MS. DICKINSON:                                  10        that right? Thirty-three was the last
   11        Q. Okay. So you are not here today            11        one?
   12   prepared to testify on topic 30 as written in      12             (Document marked for
   13   Exhibit 1; is that correct?                        13        identification as Exhibit
   14             MR. SNAPP: Object to the form.           14        Purdue-Fanelli-34.)
   15             THE WITNESS: Yes.                        15   BY MS. DICKINSON:
   16   BY MS. DICKINSON:                                  16        Q. I'm going to hand you what has
   17        Q. And you are not going to be                17   been marked as Exhibit 34. Exhibit 34, is that
   18   providing information on the budget for the        18   an FDA warning letter?
   19   responses to the warnings from FDA, correct?       19        A. Yes, it is.
   20        A. That's the part I'm prepared to            20        Q. And what's the date on the stamp
   21   speak about all of it except for the budgets by    21   on that letter?
   22   year. It's not part of my responsibility,          22        A. November 20th, 1996.
   23   budget.                                            23        Q. Okay. And this warning letter
   24        Q. And you didn't -- to prepare for           24   concerns the Purdue Frederick Company's

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    1   promotional materials for the marketing of MS       1             THE WITNESS: Correct.
    2   Contin; is that right?                              2   BY MS. DICKINSON:
    3         A. Yes.                                       3       Q. Okay. I hand you what's been
    4         Q. And does this appear to be a true          4   marked as Exhibit 35.
    5   and correct copy of the warning letter that was     5             (Document marked for
    6   sent to Purdue by FDA?                              6       identification as Exhibit
    7         A. Yes.                                       7       Purdue-Fanelli-35.)
    8         Q. Okay. FDA in that letter says in           8             MS. DICKINSON: Oh, there's
    9   the middle of the first paragraph, "We have         9       copies here. Sorry. Just a minute.
   10   concluded that Purdue is disseminating             10       Did I hand you the folder with the
   11   promotional materials for MS Contin that contain   11       copies? I'm sorry.
   12   statements, suggestions or implications that are   12             THE WITNESS: Yeah.
   13   false or misleading in violation of the Federal    13             MS. DICKINSON: It came your way.
   14   Food, Drug and Cosmetic Act, Section 21 USC        14       All right. I'm sorry.
   15   352(a) and 331(a) and applicable regulations."     15   BY MS. DICKINSON:
   16              Do you see that?                        16       Q. Okay. Exhibit 35 is what?
   17         A. Yes.                                      17       A. It's a untitled letter to Beth
   18         Q. That's what FDA was saying in its         18   Conley regarding OxyContin.
   19   letter about MS Contin in 1996; is that right?     19       Q. And the date on that is May 11th,
   20         A. Correct.                                  20   2000; is that right?
   21         Q. Let's turn to the page 3, and             21       A. Correct.
   22   there's a section called "Repetitive Conduct,"     22       Q. Okay. Did you review this
   23   and in that section FDA says to Purdue,            23   document in preparation for your topic on topic
   24   "dissemination of these materials represents a     24   30?
                                               Page 211                                                Page 213
    1   repetitive course of violative conduct by Purdue    1         A. Yes.
    2   in the promotion of MS Contin."                     2         Q. Okay. And in the first paragraph
    3             Do you see that?                          3   FDA is telling Purdue that as part of its
    4        A. Yes.                                        4   routine monitoring and surveillance program, the
    5        Q. And that is what -- that is what            5   Division of Drug Marketing, Advertising, and
    6   FDA told Purdue in November of 1996, correct?       6   Communications has identified an advertisement
    7        A. Yes.                                        7   for OxyContin tablets, disseminated by Purdue
    8        Q. This section identifies one, two,           8   that violates the federal drug -- Federal Food,
    9   three, four -- five other letters and a meeting     9   Drug, and Cosmetic Act and its implementing
   10   with FDA between 1993 and 1994 on this subject,    10   regulations.
   11   correct?                                           11             Do you see that?
   12        A. Yes, letters and a meeting, yes.           12         A. Yes.
   13        Q. Do you know what the response by           13         Q. And it has two sections entitled
   14   Purdue was to that warning letter?                 14   "Misleading Efficacy Presentation" and
   15        A. I do not.                                  15   "Misleading Safety Presentation."
   16        Q. Okay. You can put that one                 16             Do you see that?
   17   aside. So just to clear up, I just asked you if    17         A. Yes.
   18   you knew what the response was. You did not        18         Q. Okay. And was there a written
   19   investigate or were not provided with any          19   response to this letter?
   20   information regarding the response to this         20         A. Yes.
   21   warning letter in preparing to testify on topic    21         Q. Okay. Do you have that with you
   22   30 about the warnings sent to Purdue by the FDA    22   today?
   23   and the responses; is that right?                  23         A. I believe so.
   24             MR. SNAPP: Object to the form.           24         Q. And while your counsel is

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    1   looking, this letter dated May 11th, 2000, that    1   what was the written response?
    2   is a true and accurate copy of a communication     2         A. So Exhibit 36 shows that four
    3   from the FDA to Beth Conley at Purdue Pharma,      3   days later, FDA sent another untitled letter
    4   correct?                                           4   where they say they've changed their opinion, so
    5              MR. SNAPP: Object to the form.          5   they provided other information related to the
    6              THE WITNESS: I believe it is,           6   misleading efficacy. Do you see it there?
    7         yes.                                         7         Q. And is Exhibit 36 the letter that
    8              MR. SNAPP: Are you going to show        8   --
    9         him a second untitled letter from May of     9         A. It's to Beth Conley.
   10         2000 also?                                  10         Q. To Beth Conley, okay, so Exhibit
   11              MS. DICKINSON: I don't know,           11   --
   12         because it's sort of his job to identify    12         A. The same.
   13         how many there were. I think I only         13         Q. -- 36 is a document that has
   14         have this one. If there's another one,      14   Bates stamp PPLPC005000006728; is that right?
   15         we might as well get it out. I'd like       15         A. Correct.
   16         to mark all the warnings, if possible.      16         Q. All right. And that is another
   17              MR. SNAPP: This isn't a warning        17   communication from FDA to Beth Conley; is that
   18         letter. It's an untitled letter.            18   right?
   19              MS. DICKINSON: If you could give       19         A. That's correct.
   20         me a copy, that would be great.             20         Q. And were there -- was there a
   21              MR. SNAPP: Absolutely. I'll            21   response by Purdue in between the time of the
   22         send one over your way.                     22   letter that we just looked at in Exhibit 35 and
   23              THE WITNESS: Do we have the            23   the letter that got sent in Exhibit 36?
   24         stickers?                                   24         A. Not a formal response.
                                              Page 215                                                Page 217
    1             MS. DICKINSON: Do you guys want          1         Q. Was there an informal response?
    2        the stickers? Here, to make this go           2         A. Not a response to the -- to the
    3        faster, can we get a stack of the             3   issues. There...
    4        letters he did review to prepare for          4         Q. Were there interactions with the
    5        this?                                         5   FDA on Purdue's behalf in between Exhibit 35 and
    6             MR. SNAPP: That's exactly what           6   Exhibit 36?
    7        I'm doing. You got it.                        7         A. I believe there may have been,
    8             MS. DICKINSON: That would be             8   but I'm not aware on this particular issue. I
    9        helpful.                                      9   know it resulted in Purdue response that's in
   10             MR. SNAPP: Absolutely.                  10   Exhibit 37.
   11             MS. DICKINSON: We're going to           11         Q. So you don't know if anyone at
   12        mark as Exhibit 36 -- this is 35.            12   Purdue in between Exhibit 35 and Exhibit 36
   13             MR. SNAPP: I think we're on 36.         13   communicated with FDA; is that right?
   14             MS. DICKINSON: We're on 36.             14         A. That's correct.
   15             (Documents marked for                   15         Q. And Exhibit 37 is a true and
   16        identification Exhibits                      16   correct copy of a letter to Spencer Salis at
   17        Purdue-Fanelli-36, 37 and 38.)               17   FDA; is that right?
   18   BY MS. DICKINSON:                                 18         A. Correct. That's the --
   19        Q. Okay. Mr. Fanelli, are you                19         Q. And that's from Beth Conley?
   20   ready?                                            20         A. Yes.
   21        A. Yes.                                      21         Q. Okay. And was this the written
   22        Q. Okay. We marked 35, and then the          22   response to Exhibit 35 and 36?
   23   question was what was the response, the written   23         A. Yes.
   24   response, if there was any, to Exhibit 35, so     24         Q. Was there any other response that

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    1   we haven't already talked about to Exhibit 35       1        A. Yes, he was chief operating
    2   and 36?                                             2   officer at the time.
    3         A. No.                                        3        Q. Okay. And he is no longer an
    4         Q. All right. Put that one aside.             4   officer at Purdue, correct?
    5         A. Written response, yeah. This               5        A. That's correct.
    6   one?                                                6        Q. Mr. Friedman is one of the
    7         Q. Okay. I was going to go next to            7   individuals who pled guilty in the US Department
    8   a 2002 -- or, actually, it's been referred to as    8   of Justice case; is that right?
    9   a January 2003 warning letter.                      9             MR. SNAPP: Objection, beyond the
   10              Are there any other warning             10        scope.
   11   letters that you reviewed, in preparation for      11             THE WITNESS: That's correct.
   12   this topic, prior to 2002?                         12   BY MS. DICKINSON:
   13         A. No, that's the one I'm thinking           13        Q. Okay. And this is another
   14   of.                                                14   warning letter from the FDA like the one we
   15         Q. All right.                                15   looked at a few minutes ago; is that right?
   16         A. I looked at one.                          16             MR. SNAPP: Objection.
   17         Q. Let's take a look.                        17             THE WITNESS: No -- sorry.
   18         A. That's the only one I'm aware of.         18             MR. SNAPP: Go ahead.
   19         Q. Okay. I'm going to mark as                19             THE WITNESS: This is the only
   20   Exhibit 39 -- 38 disappeared on me.                20        warning letter. The letter -- prior
   21              MR. SNAPP: Thirty-eight is the          21        letter was an untitled letter. You
   22         FDA's response.                              22        notice it doesn't have warning written
   23              MS. DICKINSON: Okay, got it.            23        on the top.
   24         All right. I'm going to mark as Exhibit      24             Untitled letters go to -- we
                                               Page 219                                                Page 221
    1         39, this.                                     1        talked about project managers,
    2              THE WITNESS: Thirty-eight was            2        regulatory project managers. So
    3         FDA's acknowledgment of our response.         3        untitled letters, you notice it went to
    4              MS. DICKINSON: Got it.                   4        Beth Conley, she's -- we talked about
    5              (Document marked for                     5        that she signs the letters and so forth
    6         identification as Exhibit                     6        so -- but when FDA determines a warning
    7         Purdue-Fanelli-39.)                           7        letter, they're writing a warning
    8   BY MS. DICKINSON:                                   8        letter, that goes then to a higher
    9         Q. Take a minute, if you would, and           9        official in the company, and that's
   10   review Exhibit 39. And what is Exhibit 39?         10        why -- so this is the warning letter.
   11         A. Thirty-nine is a warning letter           11   BY MS. DICKINSON:
   12   sent to Purdue on December 24th, 2002.             12        Q. Okay. And that warning letter
   13         Q. Christmas Eve?                            13   states in the first paragraph, "The Division of
   14         A. Faxed on Christmas Eve.                   14   Drug Marketing, Advertising, and Communications
   15         Q. Okay. And this is a true and              15   (DDMAC) has reviewed these advertisements and
   16   correct copy of that warning letter that was       16   concluded that they are in violation of the
   17   sent to Purdue and was addressed to Michael        17   Federal Food, Drug and Cosmetic Act."
   18   Friedman; is that correct?                         18              Is that correct?
   19              MR. SNAPP: Object to the form.          19        A. Yes.
   20              THE WITNESS: It's a copy of the         20        Q. And that's 2003, when OxyContin
   21         fax that was sent, yes.                      21   had approximately been on the market for seven
   22   BY MS. DICKINSON:                                  22   years at that point, correct?
   23         Q. Okay. And Mr. Friedman, he is --          23        A. Approximately.
   24   was he an officer of Purdue at the time?           24        Q. Okay. Do you have the written

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    1   response --                                       1   back to that for just one minute.
    2         A. Yes.                                     2         A. Yeah.
    3         Q. -- to this warning letter?               3         Q. At the bottom of the first page,
    4              Is the written response the            4   the FDA is telling Purdue that your
    5   letter dated January 24th, 2003? Okay.            5   advertisements thus grossly overstate the safety
    6         A. Yes, it's part of the                    6   profile of OxyContin, by not referring in the
    7   correspondence.                                   7   body of the advertisement to serious,
    8              MS. DICKINSON: All right. It           8   potentially fatal risks associated with
    9         looks like we're going to mark a series     9   OxyContin, thereby potentially leading to the
   10         of exhibits here. Okay. I'm going to       10   prescribing of the product based on inadequate
   11         hand you...                                11   consideration of risk.
   12              MR. SNAPP: He's got a set that's      12              Do you see that?
   13         identical to your set. Do you want us      13         A. Yes.
   14         to mark over here?                         14         Q. Okay. Turn to page 5, please, of
   15              MS. DICKINSON: That would be          15   that letter. At the top, the first big
   16         great. Let's do that.                      16   paragraph, the last sentence, FDA is telling
   17              THE WITNESS: Are we starting          17   Purdue that "This implication is false or
   18         with 40?                                   18   misleading and raises significant public health
   19              MS. DICKINSON: Yep. You know          19   and safety concerns."
   20         what, this one I'll give you 40 and then   20              That's what FDA was telling
   21         the rest, if you can mark the rest after   21   Purdue in this warning letter, correct?
   22         that.                                      22              MR. SNAPP: Object to the form.
   23              THE WITNESS: Okay. When we talk       23              THE WITNESS: This is at the end
   24         about them, make sure we have the          24         of a discussion of minimization of risk
                                              Page 223                                                       Page 225
    1         same --                                     1         and information perceived, and that's
    2             MS. DICKINSON: Do you have              2         the conclusion to that part.
    3         another copy of 40 or can I have the        3   BY MS. DICKINSON:
    4         clean copy from him?                        4         Q. Okay. And then now let's talk
    5             MR. SNAPP: What's the date on           5   about the response. Go ahead.
    6         40?                                         6         A. Similar to the untitled letter,
    7             THE WITNESS: I have 40. That's          7   the FDA reissued the warning letter after a
    8         40. You want to mark so we have the         8   telephone conversation, and that's what the
    9         same ones. There's more than this.          9   document in between is, and Purdue.
   10             (Documents marked for                  10               So the January 14th is a letter
   11         identification as Exhibits                 11   to Tom Abrams, who is the head of DDMAC, and Dan
   12         Purdue-Fanelli-40 through 46.)             12   Troy, chief counsel at FDA, written by outside
   13   BY MS. DICKINSON:                                13   attorneys for Purdue, and it documents some of
   14         Q. And we were just talking about          14   those discussions.
   15   the response to the warning letter that Purdue   15         Q. And that's marked as Exhibit?
   16   received from FDA that we had marked -- I'm      16         A. 40.
   17   sorry, what was the warning letter that was?     17         Q. 40?
   18         A. Thirty -- sorry.                        18         A. 40. And then --
   19         Q. What exhibit was the warning            19         Q. Okay. So on January 14th, after
   20   letter?                                          20   receiving the warning letter, Purdue's outside
   21         A. Thirty-nine.                            21   counsel wrote a letter in response to DDMAC
   22         Q. Okay. That we had marked as             22   dated January 14th, 2003, and Exhibit 40 is that
   23   Exhibit 39.                                      23   letter; is that right?
   24             And Exhibit 39, if we could go         24         A. That's what the letter is. There

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    1   was a meeting, a conversation prior to that. I      1         A. Correct.
    2   don't have the exact date of that.                  2         Q. And does that response
    3         Q. Who was at that meeting?                   3   accurately -- this exhibit we marked as Exhibit
    4         A. I don't have the attendees at              4   42, accurately summarize Purdue's positions in
    5   that either at this point.                          5   response to the FDA's 2003 warning letter?
    6         Q. So you were unaware of the                 6         A. Yes.
    7   attendees at a meeting to address the warning       7         Q. Okay. What was the next event in
    8   letter that we marked as Exhibit 39; is that        8   the sequence of the response to the warning
    9   right?                                              9   letter marked as Exhibit 39?
   10         A. Correct.                                  10         A. Let's look at the dates.
   11              MR. SNAPP: Object to the form.          11   Purdue's response is January 24th, and Exhibit
   12   BY MS. DICKINSON:                                  12   43 is a letter from Tom Abrams, head of DDMAC,
   13         Q. Who would know the answer to that         13   back to Michael Friedman.
   14   question, who the attendees were?                  14         Q. Okay. And that letter
   15         A. This was in 2000. It would be in          15   acknowledges the receipt of Purdue's response,
   16   our records. We could find out.                    16   right?
   17         Q. In preparing for your testimony           17         A. Yes.
   18   on the response to warning letters in topic 30,    18         Q. Okay. All right. What was the
   19   did you ask anyone who was in attendance at        19   next event in the sequence of the response to
   20   those meetings, or did you look at your records    20   the FDA's warning letter that was Exhibit 39?
   21   to find out who was in attendance at those         21              THE WITNESS: Are these in order?
   22   meetings?                                          22              MR. SNAPP: Mm-hmm.
   23         A. I did not look for that.                  23              THE WITNESS: On -- looking for
   24         Q. All right. Let's move on.                 24         the date. Oh, here it is, January 28th,
                                               Page 227                                               Page 229
    1              What was the next event in the           1         so this is January 24th, a letter was
    2   response to the warning letter that is Exhibit      2         sent from Tom Abrams and Daniel Troy to
    3   39?                                                 3         the outside counsels, Richard Morey and
    4         A. Forty-one is the reissue of that           4         Peter Mathers responding to their
    5   letter to Purdue from FDA. It's very similar,       5         response providing information.
    6   but has some changes.                               6   BY MS. DICKINSON:
    7         Q. Okay.                                      7         Q. And that is what exhibit?
    8         A. And the response is, I think you           8         A. Forty-four.
    9   mentioned it, January 24th.                         9         Q. And is there a date on that
   10         Q. Yes.                                      10   letter?
   11         A. Constitutes the detailed                  11         A. I think I said, January 28th,
   12   response.                                          12   2003. Well, it's a fax, I don't see a date.
   13         Q. So what you've marked as Exhibit          13         Q. Understood. All right. What was
   14   42 --                                              14   the next event in the sequence of the responses
   15         A. Uh-huh.                                   15   to FDA's warning letter that we marked as
   16         Q. -- is the detailed response on            16   Exhibit 39?
   17   behalf of Purdue to the FDA's warning letter,      17         A. There is a -- responses to FDA?
   18   and this response is dated January 24th, 2003;     18         Q. What was the next event in the
   19   is that right?                                     19   sequence of the responses? We were talking
   20         A. Correct.                                  20   about the response --
   21         Q. This response is -- looks like            21         A. Correct.
   22   has a three-page cover letter and then a 15-page   22         Q. -- to that warning letter.
   23   detailed response with five exhibits; is that      23              Is there anything else other than
   24   right?                                             24   the exhibits that we've marked and the meeting

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    1   that you talked about that were part of the         1         of the specific policy how those are --
    2   response to the warning letter?                     2         how that occurred.
    3         A. There was discussion about a               3   BY MS. DICKINSON:
    4   corrective ad to be placed in journals that's       4         Q. Do you know what the process was
    5   mentioned in those letters, and Exhibit 46 is       5   for redoing the promotional and marketing
    6   a -- there was conversations with FDA about that    6   materials that arose -- that's being mentioned
    7   and, you know, that letter talks about, and it      7   in this memo?
    8   was -- an example was sent to FDA for their         8         A. Yes.
    9   review.                                             9         Q. Okay. What was it?
   10         Q. Okay. And this corrective ad,             10         A. We have a process for review and
   11   was it run in this form?                           11   approval of materials, and that -- that
   12         A. I believe so.                             12   procedure does not allow use of materials that
   13         Q. And do you know who it was                13   are not approved by a medical, regulatory and
   14   distributed to?                                    14   law review committee, so that process was in
   15         A. There was a list in the response          15   place with these revised materials.
   16   of the publications.                               16         Q. Where is that process written
   17         Q. Okay. And do you know which               17   down?
   18   response it was -- the list is contained?          18         A. We have a standard operating
   19         A. It was produced the 24th, I               19   procedure that -- in place.
   20   believe. Let me check. Sorry, I'm out of order     20         Q. Which standard operating
   21   now.                                               21   procedure is that?
   22              There it is. I guess I don't            22         A. We have it. I don't have
   23   have that list. I thought it was part of this,     23   stickers.
   24   but it's not.                                      24              MR. SNAPP: I have them. Do you
                                               Page 231                                              Page 233
    1         Q. Okay. And then what was --                 1        want us to mark it?
    2   anything else that we've not talked about in the    2             MS. DICKINSON: I'm sorry. Sure.
    3   sequence of the response to the warning letter      3             MR. SNAPP: Would you like me to
    4   of 2003?                                            4        mark it.
    5         A. The Exhibit 45 is a note to the            5             MS. DICKINSON: Sure, sure.
    6   sales force about a response not to use any         6             MR. SNAPP: It will be Exhibit
    7   materials, prior materials until revised ones       7        47.
    8   were produced.                                      8             (Document marked for
    9         Q. And how did Purdue ensure that             9        identification as Exhibit
   10   that happened, that the sales reps were not        10        Purdue-Fanelli-47.)
   11   using prior materials?                             11   BY MS. DICKINSON:
   12         A. That's part of the compliance             12        Q. And have you marked this as an
   13   group we talked about earlier, they monitor        13   exhibit, which exhibit?
   14   sales force activity.                              14        A. Forty-seven.
   15         Q. How did they go about doing that?         15        Q. Forty-seven.
   16   Is there a written policy for doing that?          16        A. Sorry.
   17         A. I'm not aware of those policies.          17        Q. Okay. What is Exhibit 47?
   18         Q. Do you know how they went about           18        A. It's a standard operating
   19   monitoring that the sales force did not -- no      19   procedure that describes -- did I call it an
   20   longer distributed these materials that are        20   MR -- MRL, material review process. That
   21   referenced in Exhibit 45?                          21   process has been in place ever since I've been
   22             MR. SNAPP: Objection, form.              22   at Purdue and before, but it was put on paper,
   23         Objection, beyond the scope.                 23   and this gives a good description of how that
   24             THE WITNESS: No, I'm not aware           24   process occurs.
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    1         Q. When was that process first put            1        testify, as with all the topics in your
    2   on paper?                                           2        deposition notice, with respect to
    3         A. I don't remember the date of the           3        OxyContin, Hysingla ER and Butrans. As
    4   first one. It was in -- the process was in          4        we defined the topic, it's the process
    5   place, as I said, long before I got to Purdue,      5        for determining the accuracy,
    6   but I don't know the exact date.                    6        completeness and legality of sales,
    7         Q. You may not know the exact date.           7        marketing, promotional, or educational
    8   Do you have a rough idea of when the process was    8        material -- I'm sorry -- educational
    9   put in place?                                       9        information Purdue made available to
   10         A. I know the process has always             10        medical professionals, patients, or the
   11   been in place.                                     11        public concerning OxyContin, Hysingla ER
   12         Q. On paper?                                 12        and Butrans in any format.
   13         A. Yeah, sorry.                              13             And just so the record is clear,
   14              I would think around 2002, in           14        in our objections to your definition of
   15   that -- in the early 2000s, I believe.             15        opioids and opioid products I think it
   16         Q. Where would I go to find out?             16        was, we did specifically say that our
   17         A. We could look back at earlier             17        testimony was only going to pertain to
   18   versions of this document. This is version 3.      18        Hysingla, OxyContin and Butrans.
   19         Q. Okay. Are there any response or           19   BY MS. DICKINSON:
   20   any documents regarding the response to the        20        Q. Okay. So, Dr. Fanelli, again,
   21   warning letter in 2003 that we have not yet        21   you are not here prepared to testify on topic 44
   22   talked about?                                      22   as written; is that correct?
   23         A. Not that I'm aware of.                    23        A. Yes.
   24         Q. Okay. Are there any other                 24        Q. Okay. What was the process at
                                               Page 235                                                Page 237
    1   responses to the warning letter that are not        1   Purdue starting in 1995 for determining the
    2   summarized in these documents or that you           2   accuracy, completeness and legality of its
    3   haven't testified about? I'm trying to figure       3   sales, marketing and promotional materials, for
    4   out if there's anything else I need to know that    4   OxyContin, let's start there?
    5   Purdue did in response to that warning letter.      5        A. Sure. As I mentioned, related to
    6          A. I don't believe so. I mean, I             6   Exhibit 47 and to the previous question, we had
    7   don't think there's other documents.                7   review of material, always have had review of
    8          Q. Okay. I think we're going to              8   material -- we call it MRL, medical, regulatory
    9   move on to topic 44 quickly. This may be a          9   and legal review, according to a process that
   10   little bit of the same that we were just talking   10   each of those disciplines review and sign off on
   11   about.                                             11   any materials. It's presented by -- the piece
   12               Topic 44 asks for the process for      12   of material is -- and it's changed over time,
   13   determining the accuracy, completeness and         13   now it's electronic, but, you know, the
   14   legality of any sales, marketing, promotional,     14   presentation by the material review is reviewed
   15   or educational information you made available to   15   and approved by those three different
   16   medical professionals, patients, or the public     16   disciplines.
   17   concerning any one or more opioid products in      17        Q. Is that process -- was that
   18   any format, including printed materials, videos,   18   process written down anywhere in the time period
   19   websites and in-person messaging or detailing by   19   1995 to 2002?
   20   sales representatives.                             20        A. I'm not aware if it was written
   21               Are you here prepared to testify       21   down or not.
   22   on behalf of Purdue on that topic?                 22        Q. So in preparing for your
   23               MR. SNAPP: I'll just state for         23   testimony today, did you ask anyone if that
   24          the record that he's prepared to            24   process had been written down in the period 1995

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    1   to 2002?                                           1        several questions about 1990 to the
    2        A. I didn't ask if it was written             2        present.
    3   down. I asked what the process was, or I didn't    3             MS. DICKINSON: Well, it's what
    4   ask what the process was. I knew when I joined     4        the notice said, but we won't waste time
    5   what the process was, and it had been going as     5        on it.
    6   long as I'm aware of.                              6             Is Exhibit 47 --
    7        Q. Okay. You joined the company in            7             MR. SNAPP: Judge's order trumps
    8   2000?                                              8        the notice, with all due respect. Go
    9        A. Correct.                                   9        ahead.
   10        Q. Correct?                                  10   BY MS. DICKINSON:
   11             And your testimony is that there        11        Q. Is Exhibit 47, the -- this
   12   was no written policy at that time identifying    12   document.
   13   the process for determining the accuracy,         13        A. Got it.
   14   completeness and legality of sales and            14        Q. -- the process that has been in
   15   promotional materials; is that right?             15   place from 1995 to the present?
   16        A. Let me correct.                           16        A. So this -- the main parts of this
   17             MR. SNAPP: Object to the form.          17   process, yes, that I described about the three
   18             THE WITNESS: Sorry. I'm not             18   reviews.
   19        aware if it was written down at that         19             This goes into -- it's changed.
   20        time.                                        20   You know, it used to be in paper, those kinds of
   21   BY MS. DICKINSON:                                 21   things. So this goes into putting into the
   22        Q. And you didn't ask anyone if it           22   electronic system, you know, and those kinds of
   23   was written down in preparation for this          23   things.
   24   deposition, correct?                              24             So the -- the process of, you
                                               Page 239                                               Page 241
    1             MR. SNAPP: Object to the form.           1   know, what documents go through approval, who
    2             THE WITNESS: Correct.                    2   the reviewers are and the fact that these things
    3   BY MS. DICKINSON:                                  3   are reviewed periodically, if they're still in
    4        Q. Did you talk to anyone in                  4   existence, those main components of it have been
    5   preparation for topic 44, other than your          5   exist -- have been in existence.
    6   lawyers?                                           6         Q. And when was the first time that
    7        A. No.                                        7   those were in existence in written form?
    8        Q. Did you review any documents in            8              MR. SNAPP: Object to the form.
    9   preparation for this topic, other than Exhibit     9              THE WITNESS: Again, I don't know
   10   47?                                               10         when the first time was.
   11        A. No.                                       11   BY MS. DICKINSON:
   12        Q. Is Exhibit 47 the process that            12         Q. So your basis for testifying
   13   has been in place since -- for the entire time    13   about the process from 1995 up until this
   14   period 1990 to the present?                       14   written document in 2016 is your personal
   15        A. So --                                     15   knowledge of the process; is that right?
   16             MR. SNAPP: Just to make the             16         A. That's correct, yes. In 2000
   17        record clear, the judge ruled that the       17   when I joined, I was involved in the process as
   18        relevant discovery period is '95 to the      18   well. Sorry.
   19        present, not 1990.                           19         Q. What was the actual -- this
   20   BY MS. DICKINSON:                                 20   addresses print.
   21        Q. Okay. Can we -- I don't think it          21              What was the actual process for
   22   matters much.                                     22   making sure the sales representatives accurately
   23             Does Exhibit --                         23   and completely stated -- or I'm sorry, let's
   24             MR. SNAPP: Well, there's been           24   just start over.

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    1             This talks about in-person                1        the SOP, and I'm not sure what the scope
    2   messaging or detailing the topic.                   2        of those were. For instance, product
    3             What was the process for making           3        labeling, I mentioned that about the
    4   sure that statements made in in-person detailing    4        package insert, given to consultants
    5   by sales representatives was accurate, complete     5        there were exceptions, but I'm not aware
    6   and legal?                                          6        of that particular piece.
    7             MR. SNAPP: Object to the form,            7   BY MS. DICKINSON:
    8        beyond the scope.                              8        Q. Did this process not apply to
    9             THE WITNESS: So the approval of           9   unbranded marketing materials that didn't
   10        the materials we've talked about require      10   mention a product specifically?
   11        the sign-off by those three                   11              MR. SNAPP: Object to the form.
   12        representatives.                              12              THE WITNESS: It does refer to
   13             Materials cannot be -- are not           13        nonbranded materials in its current
   14        even actually distributed prior to that,      14        form.
   15        but before there -- depends on the            15   BY MS. DICKINSON:
   16        material, of course, if it's a package        16        Q. Okay. And the process applied to
   17        insert, it's not that complicated, but        17   each and every marketing material at Purdue,
   18        there is training of the sales force,         18   right, the process you described and is in
   19        and those materials are also reviewed by      19   Exhibit 47; is that right?
   20        that same group. It's not a -- I think        20        A. As described in this, yes. Now
   21        it says that in here. Anyway, so              21   -- yes.
   22        there's training of the sales force and       22        Q. So a video distributed to 20,000
   23        review of compliance by the corporate         23   doctors went through this process?
   24        compliance group we talked about before,      24              MR. SNAPP: Object to the form.
                                               Page 243                                                Page 245
    1         so those are the two ways they would be       1             THE WITNESS: Yeah.
    2         monitored.                                    2   BY MS. DICKINSON:
    3   BY MS. DICKINSON:                                   3         Q. Yes? Fair?
    4         Q. So because of the process you              4         A. I can't be sure that it did.
    5   were describing is it fair to say that any          5         Q. What happens if it didn't?
    6   sales, marketing, promotional or educational        6             MR. SNAPP: Object to the form.
    7   information that Purdue made available to the       7             THE WITNESS: So policies and
    8   medical professionals, patients or the public       8         procedures, as mentioned in FDA's
    9   were reviewed and signed off on by someone at       9         warning letter, changed over time, as
   10   Purdue?                                            10         feedback from FDA is received and gained
   11         A. Could you -- yes. You're say --           11         an understanding of the rules and
   12   our communication and marketing materials are      12         regulations around -- around promotion,
   13   approved, yes.                                     13         and Purdue's policies have also changed
   14         Q. And that's true from 1995 to the          14         over time.
   15   present; is that right?                            15   BY MS. DICKINSON:
   16         A. Yes.                                      16         Q. What policies are you talking
   17         Q. So someone approved the I got my          17   about?
   18   life back video that was shown in 2001; is that    18         A. The review of these materials
   19   right?                                             19   that you're talking about, the extent, whether
   20              MR. SNAPP: Object to the form.          20   or not a price list is reviewed or a particular
   21              THE WITNESS: I'm not aware of           21   video, those kinds of policies.
   22         that. Review materials that don't            22         Q. Was there a period of time where
   23         describe a product, there are -- there       23   certain marketing materials did not get reviewed
   24         are exceptions. I think it says it in        24   in this process we were talking about?

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    1         A. They would be assessed, but I              1           So for now I'm going to turn it
    2   don't know -- I'm not aware that there were         2      over to some of the other counsel who I
    3   times where they weren't reviewed.                  3      know are going to ask questions, and
    4         Q. I guess I'm confused.                      4      that's all I have for now. I appreciate
    5         A. All branded material were always           5      your time.
    6   reviewed. I'm not sure about nonbranded             6           THE WITNESS: Okay, you're
    7   materials, you know, how they fit into this         7      welcome.
    8   process.                                            8           THE VIDEOGRAPHER: Go off the
    9         Q. And when you say brand --                  9      record.
   10         A. In the early -- yeah.                     10           MS. DICKINSON: You want to just
   11         Q. When you say "branded materials,"         11      go off for a second.
   12   that's something mentioning the product by name,   12           THE VIDEOGRAPHER: I can tell you
   13   correct?                                           13      how much. So we used up four hours and
   14         A. Correct.                                  14      39 minutes. Should I go off the record?
   15         Q. And so anything mentioning the            15           MR. STEWART: Yeah.
   16   product by name, at all times from 1995 to         16           THE VIDEOGRAPHER: The time is
   17   present were reviewed by the company; is that      17      3:14 p.m., off the record.
   18   right? Is that right?                              18           (Documents marked for
   19             MR. SNAPP: Object to the form.           19      identification as Exhibit
   20             THE WITNESS: I believe so.               20      Purdue-Fanelli-48, 49, 50, 51 and 52.)
   21   BY MS. DICKINSON:                                  21           THE VIDEOGRAPHER: All right. We
   22         Q. And you're not certain if the             22      are back on the record. The time is
   23   unbranded materials were subject to that same      23      3:36 p.m.
   24   scrutiny; is that right?                           24   BY MR. STEWART:
                                               Page 247                                               Page 249
    1         A. The only thing I'm correct about           1        Q. Dr. Fanelli, I represent the
    2   the unbranded. In terms of the branded, the         2   Tennessee plaintiffs in separate litigation.
    3   period of '95 to 2000, I'm not -- I don't have      3   Obviously, I know that there's certain rules
    4   the -- I'm not that familiar with that, the         4   with respect to timing of 30(b)(6) depositions
    5   details of that procedure.                          5   in the federal cases. We're under Tennessee
    6         Q. And you didn't familiarize                 6   rule 30.02(6) that does not have any timing
    7   yourself with the details of that procedure to      7   requirements, and none of that applies to our
    8   answer this question today on behalf of Purdue;     8   cases. I'm planning to keep my questioning to
    9   is that right?                                      9   two hours, as I notified opposing counsel.
   10              MR. SNAPP: Object to the form.          10             Also, discovery, at least with
   11              THE WITNESS: That's right.              11   respect to the Tennessee litigation, is in its
   12              MS. DICKINSON: Take five                12   infancy. Obviously, we're going to probably
   13         minutes. I might be wrapping up.             13   take our own 30.02(6) corporation deposition in
   14              THE VIDEOGRAPHER: The time is           14   the Tennessee cases, notwithstanding our
   15         2:57 p.m., going off the record. Remove      15   presence here today.
   16         your microphone.                             16             Do you recall, Dr. Fanelli,
   17              (Brief recess.)                         17   talking about the material approval process?
   18              THE VIDEOGRAPHER: We are back on        18        A. Yes.
   19         the record. The time is 3:13 p.m.            19        Q. And that's the process whereby
   20              MS. DICKINSON: Dr. Fanelli,             20   Purdue would analyze materials that it was
   21         we're back on the record. I have             21   putting out into the public or to medical
   22         finished the questions I have on those       22   providers talking about OxyContin and other
   23         topics for you today. We have agreed to      23   drugs?
   24         do topic 29 tomorrow.                        24        A. Correct.

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                                                                           Review
                                              Page 250                                                Page 252
    1        Q. And I believe you testified that           1   policy --
    2   it applied to nonbranded materials?                2        A. I got it, yes, this document.
    3        A. Yes.                                       3        Q. Is it, in fact, Exhibit 49?
    4        Q. When you say "nonbranded                   4        A. Yes, it is.
    5   materials," did that include materials that        5        Q. Okay. And if you look at Exhibit
    6   third parties in which Purdue was a member or a    6   49, do you recognize that document?
    7   funder produced?                                   7        A. No, I do not recognize it.
    8             MR. SNAPP: Object to the form.           8        Q. Do you see that it's a document
    9             THE WITNESS: Yeah, could you             9   produced by the American Pain Foundation?
   10        repeat the question so --                    10        A. Yes.
   11   BY MR. STEWART:                                   11        Q. Is that an organization you're
   12        Q. Yeah, I'm just asking when you            12   familiar with?
   13   had an organization that Purdue is a part of or   13        A. I know of it.
   14   a funder of and it was putting out materials      14        Q. What do you know about it?
   15   about pain management about drugs that Purdue     15        A. All I -- you know, it's not part
   16   produced, would Purdue apply its material         16   of my responsibility to deal with outside
   17   approval process to those materials?              17   organizations, but I understand it to be a
   18        A. So this is -- could you give              18   foundation, advocates for pain.
   19   me -- so --                                       19        Q. Was it funded by Purdue, the
   20        Q. I'll give you a couple examples.          20   American Pain Foundation?
   21   Maybe you can just tell me.                       21             MR. SNAPP: Objection, beyond the
   22        A. That's good.                              22        scope.
   23        Q. You've got in front of you                23             THE WITNESS: I do not know.
   24   Exhibit 48. I think it's called "Partners         24   BY MR. STEWART:
                                              Page 251                                                Page 253
    1   Against Pain"?                                     1         Q. Do you know whether American Pain
    2         A. Sorry, yeah.                              2   Foundation -- strike that.
    3         Q. Why don't you just confirm for            3              Do you know whether materials
    4   the record, is that the right exhibit number?      4   produced by the American Pain Foundation would
    5         A. Yes, 48 it says visit our                 5   be subject to Purdue's material approval
    6   website.                                           6   process?
    7         Q. That's Partners Against Pain?             7         A. So production of this piece would
    8         A. Correct.                                  8   not be part of Purdue's review process. It was
    9         Q. Do you see that?                          9   produced by the American Pain Foundation, as far
   10         A. Yes.                                     10   as I can tell.
   11         Q. Okay. Can you look at that and           11         Q. Do you know whether anybody in
   12   tell me whether this is the sort of information   12   Purdue would typically review materials produced
   13   that would be subject to Purdue's material        13   by the American Pain Foundation?
   14   approval process that you've described in your    14              MR. SNAPP: Objection, beyond the
   15   testimony?                                        15         scope.
   16         A. It is.                                   16              THE WITNESS: I do not know that.
   17         Q. And now can you look at another          17   BY MR. STEWART:
   18   document, do you see Exhibit 49 is something      18         Q. Sir, if you could turn to Exhibit
   19   called "A Policymaker's Guide to Understanding    19   50, it's a document entitled "Treatment Options:
   20   Pain & Its Management"?                           20   A Guide for People Living with Pain."
   21         A. Forty-nine?                              21              Have you ever seen that document?
   22         Q. Perhaps.                                 22         A. Not that I recall.
   23         A. Sorry.                                   23         Q. Would this document be the sort
   24         Q. Do you have in front of you a            24   of document that was reviewed according to

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    1   Purdue's material approval process?                 1        Q. I've got one final document in
    2         A. No, it would not be reviewed for           2   front of you, and it's Exhibit 52 entitled "Exit
    3   creation of this document.                          3   Wounds."
    4         Q. Sounds like anything that the              4             Do you see that?
    5   American Pain Foundation produced would not be      5        A. Yes.
    6   subject to Purdue's material approval process,      6        Q. Have you ever seen "Exit Wounds"
    7   fair?                                               7   before?
    8         A. Correct.                                   8        A. No, I have not.
    9         Q. Just so the record is clear --             9        Q. Can you look at it and tell me
   10         A. As I understand.                          10   whether or not it is a document that would be
   11         Q. Just so the record is clear,              11   subject to Purdue's material approval process?
   12   earlier in your testimony you agreed to a          12        A. I cannot -- I don't believe it
   13   definition of Purdue that would encompass three    13   was, but I don't see the date. September? I
   14   different entities.                                14   don't believe this was or would have been.
   15              Do you recall doing that?               15        Q. As part of the material approval
   16         A. Yes.                                      16   process, it's the standard that Purdue will not
   17         Q. And we can still agree that               17   produce materials that contain statements that
   18   that's what we're talking about when we say the    18   are not backed by medical science?
   19   word Purdue?                                       19        A. Could you repeat that. There
   20         A. Yes.                                      20   were a couple negatives in there.
   21         Q. You've got another exhibit, it's          21        Q. The material approval process, is
   22   Exhibit 51, and it is entitled "Complexities of    22   one goal of Purdue's material approval process
   23   Caring for People in Pain."                        23   to make sure that statements made about its
   24              Can you look at that and see            24   products are consistent with existing medical
                                               Page 255                                                Page 257
    1   whether you're familiar with it?                    1   science?
    2          A. I'm not familiar with it. Parts           2         A. Yes, that's part of it.
    3   of it.                                              3         Q. I take it as part of the material
    4          Q. What are you familiar with?               4   approval process, if something is stated in a
    5          A. Actually, I don't recognize this          5   document that is not backed by medical studies,
    6   piece itself.                                       6   then the statement is removed from the
    7          Q. If it's a Purdue presentation             7   materials?
    8   that would have been given to physicians and        8         A. So we talked about the MRL,
    9   other prescribers outside the company, would it     9   medical, regulatory and legal review.
   10   have to go through the material approval           10         Q. I'm talking about the material
   11   process?                                           11   approval process, which I think you described as
   12          A. It says, yeah, produced by               12   the MRL process.
   13   Purdue. Yes, it would have gone through that       13         A. Yes, yeah. So the medical
   14   process.                                           14   information would be reviewed for support, you
   15          Q. The point is if Purdue is                15   know, is there other publications, is it part of
   16   speaking to prescribers through its own branded    16   the information about the product and so forth.
   17   materials, whether it's a website, a PowerPoint    17         Q. So, for example, if -- and if the
   18   presentation, approved statements by salespeople   18   US Food and Drug Administration told Purdue,
   19   or a pamphlet, that all has to be approved         19   this is the science, then you would want to
   20   through this approval process, the material        20   adhere to the directives of the Food and Drug
   21   approval process?                                  21   Administration, fair?
   22          A. That's correct.                          22              MR. SNAPP: Object to the form.
   23             MR. SNAPP: Object to the form.           23              THE WITNESS: That's correct.
   24   BY MR. STEWART:                                    24   BY MR. STEWART:

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    1         Q. I mean, you remember getting --            1   broad use of this drug to treat pain without
    2   you discussed earlier in your testimony a           2   disclosing a potential for abuse with the drug
    3   warning letter that Purdue received with respect    3   and serious, potentially fatal risks associated
    4   to some advertisements in the journal for the       4   with its use, is especially egregious and
    5   American Medical Association.                       5   alarming in its potential impact on the public
    6               Do you remember that?                   6   health."
    7         A. Yes.                                       7              Do you see that?
    8         Q. And do you remember that the               8         A. Yes.
    9   warning letter -- in the warning letter the FDA     9         Q. Now, once the FDA tells you that,
   10   was concerned and warned Purdue that it was        10   at least at that point, doesn't Purdue have an
   11   failing to communicate -- to adequately            11   obligation to make sure that it does not repeat
   12   communicate the abuse risks related to             12   the offending statements in future materials?
   13   OxyContin?                                         13         A. Yes. Purdue actually provided a
   14               MR. SNAPP: Object to the form.         14   response and removed all the materials.
   15               THE WITNESS: I'd have to see --        15         Q. I guess my -- go ahead.
   16         which document were you referring to,        16         A. That the FDA agreed with, yeah.
   17         the warning letter?                          17         Q. And my point is, though, it's not
   18   BY MR. STEWART:                                    18   just the warning letter doesn't just warn you
   19         Q. The warning letter. Go ahead,             19   about a particular set of materials, it gives
   20   yeah.                                              20   you -- it gives Purdue, the company, notice that
   21         A. What number do you have on there?         21   there are certain statements that are not
   22               MR. SNAPP: What exhibit number         22   acceptable, and that notice applies to all
   23         is it?                                       23   future communications to providers, fair?
   24               MR. STEWART: I don't have the          24              MR. SNAPP: Object to the form.
                                               Page 259                                                Page 261
    1         exhibit.                                      1              THE WITNESS: It talks about --
    2              MS. DICKINSON: I think it was            2         yes, it's not just the materials that
    3         39.                                           3         are mentioned.
    4              THE WITNESS: What's the date on          4   BY MR. STEWART:
    5         that one? There were two versions, so         5         Q. I mean, you wouldn't then defy a
    6         on the front page. Is it December?            6   warning letter from the FDA in a future set of
    7              MR. SNAPP: Here's the January.           7   materials?
    8              THE WITNESS: Is it the letter            8              MR. SNAPP: Object to the form.
    9         from --                                       9              THE WITNESS: We would follow the
   10   BY MR. STEWART:                                    10         recommendations of the FDA as part of
   11         Q. I'm going to tell you, I don't            11         our procedure.
   12   see a date.                                        12   BY MR. STEWART:
   13         A. Who is it addressed to? Sorry.            13         Q. And that's not just to a warning
   14         Q. Michael Friedman.                         14   letter, in general, when the FDA issues a
   15         A. Okay.                                     15   statement about science say, with respect to
   16         Q. Do you have a warning letter in           16   OxyContin, then it's Purdue's duty to follow
   17   front of you?                                      17   that recommendation, fair?
   18         A. Yeah, I do.                               18              MR. SNAPP: Object to the form,
   19         Q. What exhibit do you have on it?           19         scope.
   20         A. 41.                                       20              THE WITNESS: We do have a -- we
   21         Q. And turn to page 2 of the warning         21         collect those actually and have a guide
   22   letter. Do you see where the FDA says on the       22         on how to address them in future
   23   second sentence from the top, "The combination     23         communication.
   24   in these advertisements of suggesting such a       24   BY MR. STEWART:

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                                               Page 262                                                Page 264
    1         Q. Because you want to make sure              1   tolerance and withdrawal than other pain
    2   that your communications with providers fulfill     2   medications, and then it lists some examples.
    3   Purdue's duty to not say things to providers        3              Do you remember that?
    4   that are inconsistent with the guidance from the    4         A. What page are you on? Can I --
    5   FDA, fair?                                          5         Q. I'm on page 5 and 6.
    6         A. That's correct.                            6         A. Yes.
    7         Q. Tell me, what about the guilty             7         Q. The point is from the point that
    8   plea that Purdue and its executives entered into    8   Purdue pled guilty to misbranding, I take it
    9   in 2007, do you use the guilty plea as guidance     9   that it assumed a duty not to repeat these false
   10   when determining what to say in Purdue materials   10   statements to providers, whether through
   11   from 2007 forward?                                 11   pamphlets, websites, salespersons or other
   12              MR. SNAPP: Object to the form.          12   means?
   13              THE WITNESS: We -- I'm not that         13              MR. SNAPP: Object to the form,
   14         aware of -- it's not part of my              14         beyond the scope.
   15         responsibility, the legal part of those,     15   BY MR. STEWART:
   16         the pleas and so forth, but we take all      16         Q. You can answer.
   17         messages that we have related to the         17         A. Yes, those while -- while --
   18         agency's view on messaging when we           18   again, I said that this is not, you know, a
   19         review materials moving forward. Sorry.      19   document that we reviewed or I personally
   20   BY MR. STEWART:                                    20   reviewed. There were changes that were made
   21         Q. I noticed earlier you said you'd          21   based on that timing and those events on
   22   never seen the guilty plea. Do you remember        22   messaging going forward, yes.
   23   testifying to that?                                23         Q. But the point is the system
   24         A. Mm-hmm.                                   24   should ensure the system for -- strike that.
                                               Page 263                                                Page 265
    1        Q. My question is how can you                  1             The system Purdue has for
    2   determine as part of the materials review           2   reviewing materials before they're distributed
    3   process that Purdue is not making false             3   to prescribers should weed out statements that
    4   statements if you don't know the false              4   repeat misstatements for which Purdue pled
    5   statements articulated in the guilty plea?          5   guilty in its guilty plea, fair?
    6        A. So we --                                    6             MR. SNAPP: Object to the form.
    7             MR. SNAPP: Object to the form.            7             THE WITNESS: I would say that's
    8             THE WITNESS: Sorry. As I                  8        fair, yes.
    9        mentioned, there is medical, regulatory        9             (Document marked for
   10        and law are part of that review, and the      10        identification as Exhibit
   11        law department is responsible for that        11        Purdue-Fanelli-53.)
   12        aspect of a review.                           12   BY MR. STEWART:
   13   BY MR. STEWART:                                    13        Q. Dr. Fanelli, you have in front of
   14        Q. So somewhere in the review                 14   you a document, can you tell me if it's marked
   15   process if -- and you're welcome to look at        15   with an exhibit sticker?
   16   Exhibit 15, which is the Agreed Statement of       16        A. Exhibit 53.
   17   Facts for the guilty plea, but, you know, the      17        Q. And do you recognize the exhibit?
   18   Agreed Statement of Facts states that beginning    18        A. Yes.
   19   on or about December 12th, 1995, and continuing    19        Q. What is it?
   20   on for about June 30th, 2001, certain Purdue       20        A. It's a submission to the FDA of a
   21   supervisors and employees, with the intent to      21   review publication.
   22   defraud or mislead, marketed and promoted          22        Q. And --
   23   OxyContin as less addictive, less subject to       23        A. I'm sorry. It was a reviewed
   24   abuse and diversion and less likely to cause       24   document. I don't know if it was published.

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    1        Q. Were you involved with the                  1   executive committee for sure.
    2   submission?                                         2         Q. And executive committee is made
    3        A. Yes, I was the one, as the                  3   up of?
    4   regulatory liaison, who submitted it to FDA.        4         A. Mostly the heads of the
    5        Q. And can you tell me briefly about           5   departments.
    6   your process for getting something like this        6         Q. Do you see the last sentence in
    7   approved before you submit it?                      7   the second paragraph in your routing letter to
    8        A. To submit to FDA?                           8   Dr. Rappaport, you say, "The results of this
    9        Q. Sure. Before you got this                   9   review indicated that for those patients who
   10   document that's Exhibit 53 and submit it to the    10   choose to continue to take opioids beyond 3
   11   FDA, what sort of approvals did you get within     11   months, efficacy and safety are generally
   12   the company?                                       12   maintained through 52 weeks, and that beyond 52
   13        A. So this is authored by -- I have           13   weeks, limited data suggest a critical need for
   14   to look and see -- what year is this? It's         14   additional studies to determine the long-term
   15   2013. The contact for the content of the           15   safety and efficacy for durations of therapy
   16   review -- it's a literature review is Dr. Craig    16   beyond 1 year."
   17   Landau. I'm not sure of all of the individuals     17             Do you see that?
   18   who were involved in putting the material          18         A. I do.
   19   together. The groups we talked about earlier       19         Q. Okay. And is that a statement
   20   today, R&D and medical would have been involved    20   that reflects your understanding of science as
   21   in producing it, and this is a general topic, so   21   of May 28th, 2013?
   22   it would have been -- you know, it's outside of    22             MR. SNAPP: Objection, beyond the
   23   one individual product description, so it's not    23         scope.
   24   part of a project team. It would have been         24             THE WITNESS: Yes, it is.
                                               Page 267                                               Page 269
    1   reviewed and the determination for submission       1   BY MR. STEWART:
    2   would have been made by the groups of               2         Q. I take it, because you were
    3   individuals involved in that.                       3   involved with this, you have individual
    4         Q. Would it be the sort of thing              4   knowledge of this particular document, fair?
    5   you'd review at regulatory affairs group staff      5         A. I was not an author, but I have
    6   meetings?                                           6   some knowledge, yes.
    7         A. This -- this is more outside of            7         Q. As of May 28th, 2013 was Purdue
    8   that. It's more of a -- again, it's a review        8   in a position using IMS data and other data to
    9   article, so within regulatory, again, it's not      9   determine the number of patients in the United
   10   responding to an FDA request or a, you know,       10   States that have been -- that were receiving
   11   development, for instance, a labeling change or    11   prescriptions and had been doing so for over a
   12   something like that. It was providing some         12   year?
   13   research that was done, so it would have been      13             MR. SNAPP: Objection, beyond the
   14   discussed at regulatory affairs, but the           14         scope.
   15   decision would have been outside of that, among    15             THE WITNESS: I was going to --
   16   the authors and the executives on -- who were      16         not part of my responsibility.
   17   putting that together, and I was -- I would be     17   BY MR. STEWART:
   18   part of that, of course.                           18         Q. Do you know the answer?
   19         Q. Would the CEO be involved in              19         A. Could you ask the question again.
   20   reviewing this document before it went out to      20         Q. Sure. You know, Purdue looks at
   21   the FDA?                                           21   IMS data for a variety of items of information
   22         A. Could have been. I'm not sure at          22   about prescribing, fair?
   23   this time.                                         23         A. Yes.
   24              It raises to the level of               24         Q. Can Purdue determine how many

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    1   people have been receiving a long-term opioid       1         and it is -- was submitted to the FDA.
    2   medication for over a year through that data?       2   BY MR. STEWART:
    3            MR. SNAPP: Object to the form.             3         Q. And I take it one of the
    4       Objection as beyond the scope.                  4   policies, or among the policies and procedures
    5            THE WITNESS: I'm not aware of              5   for interacting with the FDA, would be a policy
    6       the -- the IMS data, you know, what the         6   of not submitting a report with a statement that
    7       details of -- can you follow -- can you         7   Purdue didn't agree with?
    8       get information on an individual patient        8              MR. SNAPP: Object to the form.
    9       across the year, for instance. I think          9              THE WITNESS: That's correct.
   10       that was what your question was.               10   BY MR. STEWART:
   11            MR. STEWART: And, counsel, I'll           11         Q. I mean, this is a statement by
   12       just say you're making scope objections,       12   Purdue to the US Food and Drug Administration,
   13       and I'll just ask you, I mean, I'm happy       13   fair?
   14       to continue this in his individual             14              MR. SNAPP: Object to the form.
   15       deposition, if that's what you're              15              THE WITNESS: It's a submission
   16       suggesting.                                    16         of a literature review that was
   17            MR. SNAPP: I just -- I'm having           17         submitted to the FDA, yes.
   18       a hard time understanding how IMS data         18   BY MR. STEWART:
   19       is related to any of the topics that           19         Q. So this is published in 2013.
   20       were noticed for this deposition, but if       20              If we were to look back prior to
   21       you can identify it --                         21   2013 and see statements by Purdue or anyone else
   22            MR. STEWART: I think it's                 22   suggesting knowledge of how much addictive
   23       related --                                     23   disorder would be associated with the
   24            MR. SNAPP: -- I'll make my                24   prescribing of chronic opioid therapy, those
                                               Page 271                                                Page 273
    1         objections, you can ask your questions.       1   statements wouldn't be consistent with science,
    2              MR. STEWART: I'll tell you what,         2   fair?
    3         I think it's related to topics 7 and 10,      3               MR. SNAPP: Object to the form,
    4         and what I'll do is ask a certain number      4         scope.
    5         of questions, and then I'll continue the      5               THE WITNESS: So this is talking
    6         questioning tomorrow in your individual       6         about the relative risk. The science
    7         deposition.                                   7         around monitoring addictive disorder in
    8   BY MR. STEWART:                                     8         those patients has evolved over time.
    9         Q. Question, could you turn to page           9         So statements when they are made are
   10   6, which is marked with a Bates number 33091.      10         based on the science at that particular
   11         A. Okay.                                     11         time, and at this time we're still --
   12         Q. Do you see in the middle of the           12         we're still studying it now, we talked
   13   page, section 2 it states, "The relative risk of   13         about the ten postmarketing commitment
   14   developing an addictive disorder in patients       14         studies. Those are looking at the rates
   15   with chronic non-cancer pain who are treated       15         of addictive behavior today, and FDA and
   16   with chronic opioid therapy remains unknown."      16         all the sponsors are continuing to
   17              Do you see that?                        17         revise the science around that, and this
   18         A. Yes.                                      18         is -- was a statement at that particular
   19         Q. Okay. So that's a conclusion or           19         time.
   20   a statement that Purdue is making to the US Food   20   BY MR. STEWART:
   21   and Drug Administration?                           21         Q. So here's my confusion: if
   22              MR. SNAPP: Object to the form.          22   something is scientifically unknown in 2013,
   23              THE WITNESS: It's part of a             23   can't we assume that it was scientifically
   24         report that was reviewing the literature     24   unknown in, say, 1996?

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    1             MR. SNAPP: Object to the form.            1   reviewed by a different group of individuals,
    2             THE WITNESS: No, I wouldn't say           2   but it would be reviewed for accuracy, for sure.
    3        that -- we learned -- just because, you        3         Q. Who in Purdue could tell me or
    4        know, a statement is made at one time          4   put it this way: who would have reviewed this
    5        and it's revised later doesn't mean that       5   document who could tell me whether Purdue ever
    6        at that time someone wasn't making a           6   had justification for a different position,
    7        scientific conclusion based on the             7   other than the one that we're talking about with
    8        information they had, it changes.              8   respect to the risk of addiction?
    9   BY MR. STEWART:                                     9              MR. SNAPP: Objection, beyond the
   10        Q. Tell me then, Dr. Fanelli, when            10         scope.
   11   specifically did this statement that you -- that   11              THE WITNESS: We have a -- in our
   12   "the relative risk of developing an addictive      12         medical affairs department, we have a
   13   disorder in patients with chronic non-cancer       13         group of epidemiological scientists, and
   14   pain who are treated with chronic opioid therapy   14         that's part of their responsibility.
   15   remains unknown," when did that become a           15   BY MR. STEWART:
   16   statement consistent with current medical          16         Q. Who -- if the FDA called Purdue
   17   science?                                           17   today and said, you know, we see that you have
   18             MR. SNAPP: Object to the form,           18   said in 2013 that you can't predict the
   19        beyond the scope.                             19   likelihood of addiction in connection with
   20             THE WITNESS: I don't know. When          20   chronic opioid therapy, we'd like to know
   21        this was written and I don't know -- it       21   whether you've taken a different position in the
   22        was submitted in 2013, that was a             22   past and what the basis was, who would they talk
   23        statement made following review of the        23   to?
   24        literature at that time.                      24              MR. SNAPP: Object to the form.
                                               Page 275                                                Page 277
    1   BY MR. STEWART:                                     1              THE WITNESS: It depend -- you
    2          Q. Well, tell me any literature that         2         know, FDA would -- in order to answer
    3   you are aware of, okay, that justified a            3         that I'd need much more specific
    4   different conclusion with respect to chronic        4         statements about what the material was,
    5   opioid therapy and the risks of addiction?          5         you know, how it was submitted and so
    6              MR. SNAPP: Objection, beyond the         6         forth.
    7          scope.                                       7   BY MR. STEWART:
    8              THE WITNESS: So I'm not a                8         Q. Who in Purdue could detail
    9          scientist in that area, the head of          9   Purdue's evolving position over time, if it did
   10          regulatory affairs, and I don't have an     10   evolve, with respect to the risk of addiction
   11          answer for that.                            11   related to chronic opioid therapy?
   12   BY MR. STEWART:                                    12              MR. SNAPP: Object to the form,
   13          Q. Okay. Would your policies and            13         beyond the scope.
   14   procedures at Purdue for interacting with the      14              THE WITNESS: Today that would be
   15   FDA include a policy for making sure that a        15         our medical affairs or our -- and the
   16   statement like this wasn't inconsistent with       16         risk -- there's a group, the
   17   some other study?                                  17         epidemiologists I mentioned within
   18          A. The review of a document such as         18         Purdue.
   19   this, a publication, although I don't think this   19   BY MR. STEWART:
   20   was published. I can't say that or a summary       20         Q. And who's that?
   21   document is reviewed by -- it's outside of a       21         A. It's changed very recently. It's
   22   material review because this is not -- it's not    22   under Marcelo Bigal, who is our chief medical
   23   for publication or it's not for presentation,      23   officer.
   24   it's for submission to FDA. So that would be       24         Q. And so OxyContin is one drug used

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    1   to provide chronic opioid therapy, fair?            1   routing letter, "Based upon the literature
    2         A. Yes.                                       2   reviewed, it is estimated that the prevalence of
    3         Q. And OxyContin has been marketed            3   aberrant drug behaviors and abuse of opioids
    4   by Purdue for over 20 years since 1996?             4   ranges from 0.08 to 32%, and the prevalence of
    5         A. Correct.                                   5   opioid use disorder ranges from 2.7 to 25.8% in
    6         Q. And what you're admitting in this          6   patients with CNCP treated with chronic opioid
    7   document that's before you is that Purdue           7   therapy."
    8   doesn't believe that it knows or has science to     8              Do you see that?
    9   support a rate of addiction stemming from           9          A. Yes.
   10   chronic opioid therapy with OxyContin, fair?       10          Q. That statement reflects the
   11              MR. SNAPP: Object to the form,          11   company's understanding of the current science?
   12         beyond the scope.                            12          A. No. What it reflects is the
   13              THE WITNESS: Could you repeat           13   literature that was reviewed, and there's a
   14         the --                                       14   table here with all those publications and the
   15   BY MR. STEWART:                                    15   list, and if you review those publications, in
   16         Q. Sure.                                     16   that review, it's talking about they state the
   17              Is it -- when a jury or a judge         17   prevalence as you just described it.
   18   is looking at this document, I take it they        18          Q. So I take it your -- Purdue's
   19   could conclude that Purdue has been marketing a    19   policies and procedures for interacting with the
   20   drug, OxyContin for chronic opioid therapy for     20   FDA are such that you wouldn't include in your
   21   22 years and now admits that it has no idea what   21   analysis studies that you thought were without
   22   the risk of developing addictive disorder from     22   any scientific basis?
   23   that drug is, fair?                                23              MR. SNAPP: Object to the form.
   24              MR. SNAPP: Object to the form,          24              THE WITNESS: That's correct, and
                                               Page 279                                                Page 281
    1         beyond the scope.                             1         what this review is, looking at that
    2              THE WITNESS: It says the                 2         publication, providing it to FDA so
    3         relative risk, so that's what it's            3         they're aware of what science is out
    4         talking about, relative risk, not no          4         there at the current time about that.
    5         idea.                                         5   BY MR. STEWART:
    6   BY MR. STEWART:                                     6         Q. And some of the studies that
    7         Q. Okay. It doesn't know -- Purdue            7   Purdue is bringing -- or is citing to the FDA
    8   is admitting here that 22 years into its            8   find that between a quarter and a third of the
    9   marketing of OxyContin for chronic opioid           9   people that have chronic opioid therapy develop
   10   therapy, it doesn't know the relative risk that    10   abuse of opioids or opioid use disorder, fair?
   11   that therapy poses for developing an addictive     11             MR. SNAPP: Object to the form.
   12   disorder?                                          12             THE WITNESS: Can you point out
   13              MR. SNAPP: Object to the form,          13         where you --
   14         beyond the scope.                            14   BY MR. STEWART:
   15              THE WITNESS: That's correct.            15         Q. Well, I'm just saying --
   16   BY MR. STEWART:                                    16         A. Oh, I see.
   17         Q. Turn back to the first page, your         17         Q. -- your conclusion is that there
   18   routing letter in Exhibit 53.                      18   are studies that you cite that suggest that 32%
   19         A. Mm-hmm.                                   19   of people involved in chronic -- in chronic
   20         Q. Do you see that you state in the          20   opioid therapy show aberrant drug behaviors and
   21   second to last sentence in the second paragraph,   21   abuse of opioids, fair?
   22   based upon -- a quote -- strike that. Let's        22         A. What it says is the prevalence of
   23   make this clearer.                                 23   aberrant drug behaviors in these articles range
   24              Do you see you state in your            24   from 0.08 to 32%.

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    1        Q. And then the prevalence of opioid           1   long-term opioid therapy, fair?
    2   abuse disorder ranges from 2.7 to 25.8%?            2              MR. SNAPP: Object to the form.
    3        A. That's correct.                             3              THE WITNESS: It says -- it
    4        Q. And does -- has Purdue ever                 4         describes opiate abuse, but I'd have
    5   evaluated the studies that show that nearly a       5         to look at them to -- but that appears
    6   third of people that receive treatment -- that      6         to be what it says.
    7   receive chronic opioid therapy show behaviors,      7   BY MR. STEWART:
    8   aberrant drug behaviors and abuse of opioids?       8         Q. I take it -- I mean, this study
    9             MR. SNAPP: Objection, beyond the          9   right here, you've submitted it to the FDA,
   10        scope.                                        10   given the policies and procedures of Purdue, a
   11             THE WITNESS: What this                   11   Court can look at this document and see that
   12        literature review shows is that the --        12   this is a statement that Purdue is making to a
   13        and I mentioned this before, the science      13   federal body, trying to give its view about the
   14        around prevalence of aberrant drug            14   current state of the science in this area, fair?
   15        behaviors, the science around opioid use      15              MR. SNAPP: Object to the form.
   16        disorder is an evolving science. It's         16              THE WITNESS: Yes, that's fair.
   17        relatively new, and that's why there's        17   BY MR. STEWART:
   18        such a wide variety. 0.08 to 32%, 3% to       18         Q. Do you see you've got three
   19        26%, 25.8.                                    19   studies that you -- that you highlight, an Adams
   20             And the point of that is to              20   study, Naliboff study and a Reid study? That's
   21        say -- and the next sentence says it,         21   on pages 36 and 37.
   22        "these studies do not permit estimates        22         A. Study one, Adams. Study two, I
   23        of incidence for either aberrant drug         23   don't know how to say it, but, yes, I see those
   24        behaviors or opioid use disorder since        24   three.
                                               Page 283                                                Page 285
    1        typically the history" -- anyway,              1        Q. Are you familiar with those
    2        there's other issues related to the            2   studies?
    3        patient studies. There's not adequate          3        A. No, not in --
    4        history, and that's why I mentioned            4        Q. We'd have to read the report to
    5        about the science continuing to evolve         5   determine --
    6        and we're continuing to study this.            6        A. Yes.
    7   BY MR. STEWART:                                     7        Q. -- how the company position on
    8        Q. Turn to page 36, sir.                       8   those studies?
    9        A. The Bates or --                             9        A. Yes.
   10        Q. Turn to page -- not the Bates, 36          10            (Document marked for
   11   of Exhibit 53.                                     11        identification as Exhibit
   12        A. Okay.                                      12        Purdue-Fanelli-54.)
   13        Q. And do you see that the Bates              13            MR. SNAPP: Dr. Fanelli was just
   14   number on that page ends in the number 3121?       14        saying we might need to take a break in
   15        A. Yes.                                       15        about 20 minutes
   16        Q. Okay. Do you see three sentences
   17   down in section 5.1.1, the report states "all 20   17             MR. STEWART: That's fine. We
   18   studies described opioid abuse or aberrant         18         can take it now, if you'd like.
   19   behaviors"?                                        19             THE WITNESS: No, 20 minutes will
   20        A. Starts with while?                         20         be good.
   21        Q. Yes. You see that?                         21             MR. STEWART: Perfect.
   22        A. I see that, yeah.                          22   BY MR. STEWART:
   23        Q. Okay. Every study that is                  23         Q. Dr. Fanelli, you have a document
   24   reviewed described that in patients that were on   24   in front of you, it's Exhibit 54?

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    1         A. Yes.                                      1   involve? What does the PowerPoint tell the FDA?
    2         Q. And have you recognize -- do you          2         A. Well, so, again, this is --
    3   recognize it?                                      3   without seeing the whole -- the other appendices
    4         A. No, I do not.                             4   and all, it's part of showing FDA or providing
    5         Q. Okay. It's not something you              5   to FDA for their information part of a Citizen's
    6   were involved with?                                6   Petition about changes in prescriptions after
    7         A. Well, it's an appendix. I don't           7   the introduction of the reformulation of
    8   know what was in front of this.                    8   OxyContin.
    9         Q. Okay.                                     9         Q. And do you remember the study
   10             (Document marked for                    10   being conducted that's described in this
   11         identification as Exhibit                   11   PowerPoint presentation?
   12         Purdue-Fanelli-55.)                         12         A. I do not.
   13   BY MR. STEWART:                                   13         Q. Do you remember that Purdue
   14         Q. I've given you an Exhibit 55 that        14   compared physicians that were in its Region 0
   15   I believe is a routing letter of the appendix.    15   program which its salespeople did not visit
   16   Can you look at it and tell me whether I'm        16   against other -- other physicians that were not
   17   correct?                                          17   in the Region 0 program?
   18         A. So this -- this cover letter from        18         A. Yes, I know that we did that.
   19   October 25th, 2013 mentions, if you look at the   19         Q. Okay.
   20   second paragraph, that we're providing FDA with   20         A. And it looks like that's part of
   21   a courtesy copy of a submission to the FDA --     21   this.
   22   the docket containing a Citizen Petition with     22         Q. What do you know about that
   23   exhibits. So this is Appendix C.                  23   study?
   24             I'm not sure if this is all that        24              MR. SNAPP: Objection, beyond the
                                              Page 287                                                Page 289
    1   went with this letter.                             1        scope.
    2        Q. Let me ask you, could you turn --          2             THE WITNESS: I don't recall the
    3   go to Exhibit 54.                                  3        findings or, you know, actually the
    4        A. Uh-huh.                                    4        actual conduct.
    5        Q. Which is the larger exhibit, the           5   BY MR. STEWART:
    6   appendix, and turn to the Bates stamp page that    6        Q. Let me ask you this: If this
    7   ends in 8177. It's about 100 pages in.             7   PowerPoint was submitted to the FDA, I take it,
    8        A. I'm there.                                 8   based on Purdue's procedures, it would contain
    9        Q. Okay. Do you recognize that                9   an accurate description of the study?
   10   PowerPoint?                                       10        A. That's correct.
   11        A. No, I do not.                             11        Q. You know, someone could look at
   12        Q. So you have not -- you're not             12   the PowerPoint and understand that this was
   13   familiar with the study described in the          13   information that was designed to convey to the
   14   PowerPoint?                                       14   FDA what Purdue had found with respect to this
   15        A. I know about it, but -- and I             15   study of comparative prescribing practices by
   16   have seen this, but it's been a while.            16   different groups of doctors?
   17        Q. Okay. So you have seen this               17             MR. SNAPP: Object to the form.
   18   PowerPoint?                                       18   BY MR. STEWART:
   19        A. Let me -- can I look through the          19        Q. Fair?
   20   whole thing?                                      20        A. I'd have to read the study to
   21        Q. Yes, absolutely.                          21   understand, but what -- again, it's looking at
   22        A. (Witness reviews document.)               22   changes in prescriptions from the title, but I'd
   23            Yes.                                     23   have to read the study, not only the
   24        Q. And what does it -- what does it          24   presentation, which is a summary of that, but,

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    1   again, it's part of a Citizen's Petition, and       1   call the contents of the study?
    2   I'd have to look back at the -- I'm not sure        2         A. That particular study is the same
    3   what docket it was. So, yes, it's related to,       3   group we were talking about before. Two former
    4   as it says in the letter, that it was abuse         4   employees are listed on there from that group.
    5   deterrent science meeting by FDA, and it was        5   I don't have -- what page was that? Here it is.
    6   providing information, I assume, that was           6   Actually, three. Howard Chilcoat. I don't know
    7   relevant to that to the FDA.                        7   Sayee, I think he's a statistician, and Paul and
    8         Q. At the time that this was                  8   Robin Abrams is also listed on there, who is an
    9   submitted, what was your role with respect to       9   attorney. She was the lead -- part of the SOPs
   10   dealings with the FDA?                             10   we talked about earlier today, the ADD, which is
   11         A. What day was that? Sorry.                 11   mentioned in this publication falls under the
   12         Q. It looks like it was October              12   law department, so that's why those would be the
   13   2013?                                              13   responsible individuals.
   14         A. So I became head of regulatory            14         Q. You've got a document in front of
   15   affairs the next year. At this time, 2013,         15   you marked Exhibit 56. It's a thick one. Do
   16   right before this, there were three different      16   you see it? It's coming.
   17   groups in regulatory, and I was head of one of     17             (Document marked for
   18   those groups, which was all the FDA liaisons       18         identification as Exhibit
   19   reported in to me and the project manager. So a    19         Purdue-Fanelli-56.)
   20   regulatory person who was on a development         20             THE WITNESS: I put these out of
   21   project would report in to me.                     21         order sorry. Should I keep this one?
   22         Q. Would somebody that reported to           22             MR. STEWART: No. Move on to the
   23   you have been involved with this study, where      23         next.
   24   doctors were compared with regard to their         24             THE WITNESS: Okay.
                                               Page 291                                                Page 293
    1   prescribing of OxyContin?                           1   BY MR. STEWART:
    2         A. What do you mean by "involved              2         Q. Do you recognize Exhibit 56?
    3   with this study"?                                   3         A. From the title, but it doesn't
    4         Q. Well, I'm just trying to figure            4   have the covering information, so I recognize it
    5   out you sound -- you know, I've handed you the      5   as a response to FDA -- an information request,
    6   PowerPoint that's part of Exhibit 54, and I'm       6   call it an IR from FDA, so final IR questions.
    7   just trying to figure out if it fell within         7         Q. And you're familiar with the
    8   your -- your responsibilities?                      8   policies and procedures that Purdue would have
    9         A. So Beth Conley is -- reported to           9   for responding to an information request from
   10   me at the time. This is -- we filed to FD -- we    10   the FDA?
   11   forward to FDA responses to things like Citizens   11         A. Yes.
   12   Petitions, to the FDA docket so they have the      12         Q. Can you generally tell me what
   13   information that Purdue has relative, so the       13   Purdue's obligation is when you get an FDA
   14   responsibility -- regulatory's responsibility is   14   information request?
   15   to understand, you know, what the document is,     15         A. So information requests come from
   16   where it fits in correspondence with FDA and to    16   FDA mostly related to applications under review
   17   provide that to the FDA.                           17   or supplements under review or package insert
   18         Q. So it did fall within your                18   supplements and so forth. They come in the
   19   responsibility?                                    19   form, either e-mail or a written form, and,
   20         A. Getting this to FDA did.                  20   generally, in FDA's -- obviously they're not all
   21         Q. Okay.                                     21   the same, depends on what the FDA is asking
   22         A. Conduct of the study and the              22   about.
   23   details of the study are outside of regulatory.    23              FDA provides comments, requests
   24         Q. Who's responsible for what you            24   related to some material and provides -- usually

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    1   FDA actually usually provides what their request    1   their limitations based on where the data come
    2   is in terms of timing of response and so forth,     2   from and so forth. RADARS, in fact, recently
    3   so that's an information request.                   3   FDA uses RADARS as well to get data, and
    4          Q. When a comp -- when Purdue                4   recently FDA identified an issue with one of the
    5   responds to an FDA information request, I take      5   sources and informed both RADARS and all the
    6   it its responses are intended to reflect its        6   sponsors that that data was going to be redone.
    7   understanding of the truth?                         7   So anyway, sorry to go on for so long, but
    8          A. Yes.                                      8   that's what RADARS is all about.
    9          Q. This is meant to be a reliable            9             So, yes, we rely on their data,
   10   document?                                          10   data from every -- different sources have
   11          A. Mm-hmm, yes.                             11   advantages and limitations, and I'll just stop
   12          Q. You have procedures in place -- I        12   there. Is that helpful? Did it answer your
   13   mean, you have procedures in place to ensure       13   question?
   14   that the FDA can read this document that's         14         Q. Yeah, I think it does.
   15   Exhibit 56 and understand what Purdue's position   15             In this -- in this particular
   16   is with respect to its questions, fair?            16   response to the FDA, Purdue says, and it's the
   17          A. That's our intent.                       17   fifth paragraph down, "Previous results indicate
   18          Q. Okay. Can you turn to -- can you         18   that drug diversion data relate to real world
   19   turn to page Bates number 3819. You see there's    19   events. Besides the apparent reduction in drug
   20   a lengthy -- there's a question from the FDA       20   diversion, the introduction of reformulated
   21   about the RADARS Drug Diversion Study?             21   OxyContin had similar decreases in the RADARS
   22          A. Yes, I see that.                         22   Poison Control Center Program, Opioid Treatment
   23          Q. Do you know what that is? Do you         23   Program, Survey of Key Informants' Patients and
   24   know what the RADARS Drug Diversion Study is?      24   StreetRx."
                                               Page 295                                                Page 297
    1        A. I know what RADARS is. This                 1              Do you see that?
    2   particular study -- RADARS is involved -- it's      2         A. Yes.
    3   actually a collection of detection sources to       3         Q. Okay. First of all, it sounds
    4   detect abuse, overdose and death, misuse, that      4   like you agree that drug diversion data from
    5   was actually created at Purdue, but now it          5   RADARS does relate to real world events; it
    6   resides in Colorado. We have many studies,          6   shows what's going on on the street, fair?
    7   including in the class postmarket realm, I'm not    7              MR. SNAPP: Object to the form
    8   sure, in each different products to use data        8         and beyond the scope.
    9   from RADARS to answer questions around drug         9              THE WITNESS: It's part of the
   10   diversion and so forth. So but this particular     10         picture, it provides data, yes.
   11   study I'd have to -- I don't see a title. I'd      11   BY MR. STEWART:
   12   have to go by what it says here.                   12         Q. I mean, Purdue uses it to figure
   13        Q. Let me ask you, you say that               13   out -- to measure diversion?
   14   Purdue relies on RADARS to inform it about         14         A. As I say, it's part of -- it's
   15   diversion with respect to a number of its          15   one of the things we look at. There are many
   16   products?                                          16   different databases that we're currently trying
   17        A. So RADARS is only one part that            17   to look at. We still have four -- after years
   18   we talked about this earlier today. That's why     18   working with FDA, we're actually in the final
   19   there are 11 studies, ten of which are             19   stages of finishing our postmarketing required
   20   epidemiological like this is getting data from     20   studies for OxyContin. After working with FDA
   21   different sources. RADARS is one of those          21   the last revision on their protocol that they
   22   sources. Each of those individual sources,         22   asked us to revise was within the last year, but
   23   databases, if we're using Kaiser Permanente's      23   we're near -- two of those four studies have
   24   database on patient use and so forth, each has     24   been submitted to the FDA, and there are two

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    1   more still ongoing.                                       1         all -- now, I still don't have -- I
    2         Q. And I think --                                   2         don't have the cover letter, so I'm not
    3         A. So all I'm saying is that the                    3         exactly sure. It doesn't have a date on
    4   data are coming in now.                                   4         it either, although what it's referring
    5         Q. All right. So you're saying it's                 5         to, FDA is -- if you go to the top of
    6   one of the -- one of the datasets that Purdue             6         the next page, this is related to FDA's
    7   uses to measure diversion?                                7         guidance to industry for the evaluation
    8         A. Correct.                                         8         and labeling of abuse of current
    9         Q. And do you see in the last                       9         opioids.
   10   paragraph the document says, "Given that trends          10               FDA, I think this is related
   11   over time in drug diversion data are similar to          11         to -- and the Citizens Petition is
   12   trends from the Poison Control Center Program            12         related to providing FDA with points to
   13   (in abuse and misuse), as well as admission              13         consider as part of that guidance,
   14   rates to opioid treatment centers (addiction)            14         although I'm not sure, since I don't
   15   and can detect changes at both product and               15         have the cover letter.
   16   geographically specific levels in response to            16               And what that statement is saying
   17   interventions, drug diversion data should be             17         is that those drug diversion data can
   18   considered relevant information for the                  18         detect changes in response to
   19   postmarketing outcome described the FDA Guidance         19         intervention and it does mention
   20   for Industry."                                           20         geographically.
   21             Do you see that?                               21   BY MR. STEWART:
   22         A. Yes.                                            22         Q. And you just mentioned that there
   23         Q. And what Purdue is saying here is               23   a -- there are a number of different systems
   24   to the FDA, there's a reason that you can use            24   that Purdue uses to measure diversion, fair?
                                                    Page 299                                                 Page 301
    1   this drug diversion data to measure diversion             1              MR. SNAPP: Object to the form,
    2   both at the product level and at the                      2         beyond the scope.
    3   geographically specific level, fair?                      3              THE WITNESS: There are studies
    4             MR. SNAPP: Object to the form,                  4         ongoing to assess that.
    5         beyond the scope.                                   5   BY MR. STEWART:
    6             THE WITNESS: Could you repeat                   6         Q. And can you just tell me for
    7         your question.                                      7   each -- tell me just -- and I realize you
    8   BY MR. STEWART:                                           8   answered this question earlier, but just to be
    9         Q. Sure.                                            9   clear, what tools like RADARS would Purdue use
   10             What Purdue is telling the FDA                 10   currently to measure the illegal drug market for
   11   here is you can use this drug diversion data             11   diverted drugs in a particular area?
   12   from RADARS to measure diversion both at the             12              MR. SNAPP: Objection, beyond the
   13   product and the geographically specific level,           13         scope.
   14   fair?                                                    14              THE WITNESS: Yeah, I'm not aware
   15             MR. SNAPP: Object to the form                  15         of the specific tools to address that.
   16         and beyond the scope.                              16   BY MR. STEWART:
   17             THE WITNESS: That's what it says               17         Q. Well, what -- I'm trying to draw
   18         there.                                             18   off of what you said earlier.
   19   BY MR. STEWART:                                          19              You said Purdue uses a number of
   20         Q. Yeah, it says, look, you can --                 20   systems to evaluate diversion, so what systems
   21   you can isolate diversion of a particular                21   would Purdue currently use to evaluate diversion
   22   product like Oxycontin with this RADARS data?            22   in a given area?
   23             MR. SNAPP: Same objections.                    23              MR. SNAPP: Objection, beyond the
   24             THE WITNESS: So, as I say,                     24         scope.

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    1             THE WITNESS: So we have -- the            1      objectives are, we submit those in the
    2        postmarketing studies that we're doing         2      protocol. So my role and responsibility
    3        and the industry is doing include, as I        3      is providing those to the scientists who
    4        said, up to ten studies. They measure          4      then conduct the studies and then
    5        things such as doctor shopping, for            5      interact with FDA. All these studies
    6        example. They measure things such as --        6      are done with contracting to
    7        and actually, you know, again, I'm not         7      organizations such as RADARS,
    8        the scientists, the epidemiologists            8      institutions such as Columbia
    9        there, but it's just from my experience        9      University, they have a group there
   10        of interacting with FDA where my              10      that's studying questionnaires, and
   11        knowledge comes from, looking at              11      we're designing them right now to assess
   12        databases from managed care                   12      opiate -- risk of opiate abuse and so
   13        organizations, for instance, on adverse       13      forth. So that's the kind of
   14        events that are reported. So all              14      responsibility that's mine.
   15        those -- all those information are            15           MR. STEWART: Why don't we take a
   16        available and tools that are used to          16      break.
   17        assess.                                       17           THE WITNESS: Thanks.
   18   BY MR. STEWART:                                    18           THE VIDEOGRAPHER: Remove your
   19        Q. Do you recall Purdue undergoing            19      microphones. The time is 4:41 p.m., off
   20   an effort to measure whether or not the market     20      the record.
   21   for diverted drugs declined after it introduced    21           (Brief recess.)
   22   reformulated OxyContin?                            22           THE VIDEOGRAPHER: We are back on
   23             MR. SNAPP: Object to the form,           23      the record, the time is 4:54.
   24        objection, beyond the scope.                  24   BY MR. STEWART:
                                               Page 303                                                Page 305
    1              THE WITNESS: We are -- those are         1         Q. Sir, in reviewing materials
    2        -- that is exactly what the                    2   for -- that are sent to federal regulators, you
    3        postmarketing studies continue to do.          3   talked at times there's senior members of Purdue
    4        We've been doing that since -- for             4   management that are involved, fair?
    5        years, and we continue to study that.          5         A. Sometimes, yes.
    6   BY MR. STEWART:                                     6         Q. What are those times, how would
    7        Q. And you, you're familiar with the           7   you define them?
    8   postmarketing study process, fair, in your          8         A. Depends on what you mean.
    9   current --                                          9         Q. Yeah, when is it that, say, the
   10        A. Process, yes.                              10   board of Purdue gets involved with submission of
   11        Q. If I wanted to talk to you, if I           11   things to federal regulator?
   12   wanted to get a document for you that would        12         A. The board, when I say senior
   13   allow you to provide as much knowledge as you      13   management, I'm speaking of up to the CEO, the
   14   have about measurement of diversion with respect   14   board would rarely -- I can't think of an
   15   to your postmarketing efforts, what document       15   incident -- get involved in a submission to the
   16   would I be looking for?                            16   FDA.
   17              MR. SNAPP: Object to the form.          17         Q. So the highest level people would
   18              THE WITNESS: So my -- again is          18   be the CEO and other top executives, fair?
   19        related to the process of how we deal         19         A. Yes.
   20        with FDA, how we submit the protocols,        20         Q. Okay. You've got in front of you
   21        how we get feedback from FDA on most          21   or you will an exhibit.
   22        protocols, how we submit the results,         22              MR. STEWART: What number are we
   23        the timing. Each postmarketing                23         on? 57.
   24        requirement has a state of what the           24              (Document marked for

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    1        identification as Exhibit                      1   international -- this particular e-mail goes to
    2        Purdue-Fanelli-57.)                            2   the international regulatory affairs staff. I
    3   BY MR. STEWART:                                     3   was not a member of the international regulatory
    4        Q. Do you see it is an e-mail?                 4   affairs staff.
    5        A. Hold on.                                    5              Oh, I know what this is now.
    6        Q. It's a series of --                         6   Sorry. I had to look at the entire -- so that's
    7        A. Oh, I gave away the --                      7   for the entire regulatory department.
    8        Q. Okay. Do you see it's a series              8              At that time, you know, we had an
    9   of e-mails?                                         9   international department and a US department. I
   10        A. That's what it appears to be,              10   was always when I came a member of the US
   11   yes.                                               11   regulatory affairs, but this looks like it's a
   12        Q. And who's sending the e-mails? I           12   joint meeting of all, if I look at the
   13   think you've already talked about.                 13   individuals.
   14        A. So it start -- are you on 154?             14         Q. And if you're getting an invite
   15        Q. Right. Why don't you -- do you             15   to a meeting, are you going to attend, or how
   16   see you have a series of e-mails in your hand?     16   does that work?
   17        A. Yes.                                       17         A. It depends. I have three
   18        Q. They're a single exhibit?                  18   meetings today that I could not attend, so I
   19        A. Yeah.                                      19   usually would assign it to someone who works for
   20        Q. And the exhibit is 57; is that             20   me or have it covered by one of my associates.
   21   correct?                                           21         Q. If you receive a meeting invite
   22        A. Yes.                                       22   like this in Purdue, does that mean that someone
   23        Q. Okay. Let's just go through the            23   is supposed to attend on your behalf?
   24   e-mails front to back, fair?                       24         A. It really depends on the agenda
                                               Page 307                                                Page 309
    1        A. Okay.                                       1   item. So if -- and also my role at the current
    2        Q. Do you see you have an e-mail in            2   time. You know, it would really depend. So
    3   front of you that has the Bates Number 9154?        3   there may -- let me further, you know, given the
    4        A. Yes.                                        4   list of attendees, there could be someone who
    5        Q. Okay. Do you see that -- and                5   has a similar responsibility that I do who could
    6   you're the third line from the bottom that you      6   cover for me, and I wouldn't -- they were
    7   received the e-mail?                                7   already there, I wouldn't have to assign it.
    8        A. Yes.                                        8         Q. Now, you look five down from the
    9        Q. Okay. And do you see that the               9   top -- well, first of all, do you remember
   10   e-mail is entitled "RA Staff Meeting"?             10   actually attending any of these meetings of this
   11        A. Yes.                                       11   group?
   12        Q. Okay. What's that?                         12              MR. SNAPP: Objection, beyond the
   13        A. This one says International RA             13         scope.
   14   Staff Meeting.                                     14              THE WITNESS: Yes, I can -- I can
   15              At the time and the individual is       15         remember.
   16   the administrative assistant to Ron Hargreaves,    16   BY MR. STEWART:
   17   who is the first individual on this -- what year   17         Q. What was the purpose of that
   18   was this? Sorry. This was sent -- do you know      18   group, the international regulatory affairs
   19   what I see is this is a recurring notice of a      19   group?
   20   meeting that occurs every month, so I'm not --     20              MR. SNAPP: Objection, beyond the
   21   well, it says 2002 to 2003.                        21         scope.
   22        Q. I'm just wondering, do you                 22              THE WITNESS: So our -- it's a
   23   remember having meetings of that sort?             23         department meeting where we would
   24        A. Yeah, we would -- this one is the          24         discuss topics of interest to the entire

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    1        department, generally.                         1             THE WITNESS: Not that I'm aware
    2   BY MR. STEWART:                                     2        of.
    3        Q. So you talk about reports, for              3   BY MR. STEWART:
    4   example, with respect to regulatory affairs?        4        Q. Do you know if she has an office
    5             MR. SNAPP: Object to the form.            5   at Purdue?
    6             THE WITNESS: We would generally           6             MR. SNAPP: Objection, beyond the
    7        talk about different projects, according       7        scope.
    8        to drug development products, marketed         8             THE WITNESS: I believe she does.
    9        products and so forth. It could come up        9   BY MR. STEWART:
   10        that a submission would be discussed,         10        Q. Why would she be invited to a
   11        but it depends on the agenda and the          11   meeting of this sort? Is that pretty typical?
   12        day.                                          12             MR. SNAPP: Object to the form,
   13   BY MR. STEWART:                                    13        beyond the scope.
   14        Q. I noticed that five or four lines          14             THE WITNESS: Not that I'm aware
   15   down in this list of folks that are notified, do   15        of. I don't know.
   16   you see there's a doctor, I think, Kathe           16   BY MR. STEWART:
   17   Sackler?                                           17        Q. Okay. What about Dr. Richard
   18        A. Yes.                                       18   Sackler, who's that?
   19        Q. Is that how you pronounce that             19             MR. SNAPP: Objection.
   20   Kathe?                                             20   BY MR. STEWART:
   21        A. Yes.                                       21        Q. He's the next person on the list.
   22        Q. Who is Kathe Sackler?                      22             MR. SNAPP: Beyond the scope.
   23             MR. SNAPP: Objection, beyond the         23             THE WITNESS: Another member of
   24        scope.                                        24        the Board of Directors.
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    1             THE WITNESS: Member of the Board          1   BY MR. STEWART:
    2        of Directors.                                  2         Q. Did he also have a role as an
    3   BY MR. STEWART:                                     3   officer of the company?
    4        Q. Okay. And is she also an officer            4              MR. SNAPP: Objection, beyond the
    5   in the company?                                     5         scope.
    6             MR. SNAPP: Objection, beyond the          6              THE WITNESS: He is a member of
    7        scope.                                         7         the board.
    8             THE WITNESS: I'm not sure how             8   BY MR. STEWART:
    9        that's defined.                                9         Q. Has he ever had a role as
   10   BY MS. DICKINSON:                                  10   president or CEO or anything else?
   11        Q. Well, does she have a title in             11         A. Oh, yes.
   12   the company in an active role?                     12              MR. SNAPP: Objection, beyond the
   13             MR. SNAPP: Objection, beyond the         13         scope.
   14        scope.                                        14              THE WITNESS: He was -- sorry, I
   15             THE WITNESS: She's a member of           15         apologize. You want to repeat it.
   16        the Board of Directors.                       16   BY MR. STEWART:
   17   BY MR. STEWART:                                    17         Q. Yeah, go ahead. Richard Sackler,
   18        Q. But outside of being a member of           18   what sort of roles has he played, other than
   19   the board, does she have an active role --         19   just being a member of the board?
   20        A. Sort of like --                            20              MR. SNAPP: Objection, beyond the
   21        Q. -- in the operations of the                21         scope.
   22   company?                                           22              THE WITNESS: He was the -- I'm
   23             MR. SNAPP: Objection, beyond the         23         not sure of the exact title back then,
   24        scope.                                        24         president, CEO, head of the --

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    1   BY MR. STEWART:                                     1         those meetings are attended by the head
    2         Q. He was the top executive of the            2         of R&D, who I report to, and, again,
    3   company at this time, fair?                         3         I've only been the head of regulatory
    4              MR. SNAPP: Objection, beyond the         4         since 2014 so, you know...
    5         scope.                                        5   BY MR. STEWART:
    6              THE WITNESS: Correct.                    6         Q. Have most of your meetings with
    7   BY MR. STEWART:                                     7   the board been since 2014 when you became head
    8         Q. And do you remember a --                   8   of regulatory?
    9         A. Can I -- I'm not exactly sure on           9         A. No, they've been across the time.
   10   this particular date, you know, when that          10   So when I first joined Purdue, I was on a couple
   11   changed.                                           11   of -- as the regulatory representative on a
   12         Q. At some point he was the top              12   particular project. When that project came up
   13   executive in the company, correct?                 13   for review, I might have gone to the board.
   14              MR. SNAPP: Objection, beyond the        14              A good example of that is Butrans
   15         scope.                                       15   or buprenorphine transdermal system, I was the
   16              THE WITNESS: Correct.                   16   lead as if you look at the approval letter, I'm
   17   BY MR. STEWART:                                    17   the person who signed those letters and
   18         Q. Now, so do you remember attending         18   submitted those, and discussions of the plans
   19   a meeting with Kathe and Richard Sackler?          19   for those studies took place -- this is just an
   20              MR. SNAPP: Objection to the             20   example, took place at a board meeting.
   21         form.                                        21         Q. Typically, when there's a meeting
   22   BY MR. STEWART:                                    22   at Purdue, is there a calendar entry sent around
   23         Q. Do you remember attending this            23   like this?
   24   particular meeting?                                24         A. Calendar invite is how folks find
                                               Page 315                                                Page 317
    1       A. No, do not.                                  1   out about meetings.
    2       Q. Have you attended meetings with              2         Q. So if we wanted to know all the
    3   Kathe Sackler?                                      3   meetings that you've been invited to since 2002,
    4            MR. SNAPP: Objection, beyond the           4   the best way to do it would be to look at your
    5       scope.                                          5   calendar entries, fair?
    6            THE WITNESS: I have attended               6               MR. SNAPP: Object to the form.
    7       board meetings, no -- besides -- the            7         Objection, beyond the scope.
    8       only meetings that I had that included          8               THE WITNESS: You could do that.
    9       Dr. Richard and Dr. Kathe Sackler were          9         It's not 100% accurate in terms of --
   10       board meetings, where I was as the head        10         you know, it could be on my calendar, I
   11       of regulatory or even before then as the       11         might not have attended and so forth.
   12       head of a particular project reporting         12         It will definitely give you an idea of
   13       to the board on development programs and       13         my day.
   14       items such as that.                            14   BY MR. STEWART:
   15   BY MR. STEWART:                                    15         Q. And that would be true for
   16       Q. How many times have you had a               16   anybody on this e-mail right here, anybody
   17   meeting with -- have you attended a Purdue board   17   that's been invited, fair?
   18   meeting?                                           18               MR. SNAPP: Object to the form.
   19            MR. SNAPP: Objection, beyond the          19               THE WITNESS: So there are -- and
   20       scope.                                         20         this e-mail, again, is old, and I'm not
   21            THE WITNESS: I -- it would have           21         sure, it doesn't look familiar to me
   22       to be a very rough estimate, a handful,        22         either in terms of the formatting.
   23       I'd say. I worked at Purdue 18 years,          23         Usually it has the name, but maybe
   24       maybe a dozen of those times. Usually          24         that's how they were in 2002.

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    1               There are folks that are included       1   from Joyce Mulligan sending around a report?
    2         on invitations so they know they're           2         A. That's what it says in the body
    3         occurring but not expected to be there        3   of the e-mail.
    4         so...                                         4         Q. Sending around something called a
    5   BY MR. STEWART:                                     5   Regulatory Agency Contact Report?
    6         Q. The point is it shows you who's            6         A. Correct.
    7   invited to a meeting, not necessarily who           7         Q. What's that?
    8   attends is what you're saying?                      8         A. We refer to it as a RACR. Any
    9         A. It -- what it's indicating is              9   time that there is a conversation with FDA, a
   10   who's -- who's been informed about the meeting.    10   phone call, an e-mail, as we talked about
   11   I'm not sure if they were all invited.             11   earlier, we might relate it to those information
   12               So, for instance, when I first         12   requests, we might get an e-mail from FDA rather
   13   saw this and thought it was an international       13   than a paper. We don't do anything with paper
   14   regulatory, as I say, at different times there     14   anymore. An e-mail with an attachment, for
   15   was a international separate group that had        15   instance, any time those occur they are sent --
   16   their own meetings, they would have let me know    16   they are recorded as a contact report, and over
   17   about it in case, you know, I had part of the      17   the years it's been in different forms.
   18   agenda. And as you notice, this is -- at least     18         Q. The point is --
   19   it says here occurs every first Tuesday of every   19         A. So that it's -- so that it's part
   20   month, so this is a repeat meeting, so it goes     20   of the record.
   21   on your calendar every month, and not all these    21         Q. -- when there's an FDA contact, a
   22   people, you know, might have been invited each     22   report is sent around so everybody knows about
   23   month. It's just to let them know. I think         23   it that might have interest in it or need to
   24   this is more of a notification e-mail.             24   know; is that fair?
                                               Page 319                                                Page 321
    1        Q. It's to tell, for example, you,             1        A.    That's fair.
    2   Dr. Kathe Sackler, Dr. Richard Sackler, this is     2             MR. SNAPP: Object to the form.
    3   a standard meeting that you can come to that you    3   BY MR. STEWART:
    4   need to be aware of, fair?                          4        Q. Now, do you see here that in
    5             MR. SNAPP: Object to the form.            5   addition to you, Dr. Kathe Sackler and
    6             THE WITNESS: So as long ago as            6   Dr. Richard Sackler got this RACR report?
    7        this was, I'm not exactly sure, you            7             MR. SNAPP: Object to the form.
    8        know, why, you know, everyone was on           8   BY MR. STEWART:
    9        here, but that does occur, as you              9        Q. It's the third line up from the
   10        described.                                    10   bottom.
   11   BY MR. STEWART:                                    11             MR. SNAPP: Beyond the scope.
   12        Q. I mean, what you do know is they           12             THE WITNESS: I see them on
   13   were all invited to this particular recurring      13        there, yes.
   14   meeting?                                           14   BY MR. STEWART:
   15             MR. SNAPP: Object to the form.           15        Q. Do you know one way or the other
   16             THE WITNESS: All I know is they          16   whether that's typical for them to get all the
   17        were notified about this particular           17   RACR reports?
   18        meeting.                                      18             MR. SNAPP: Object to form,
   19   BY MR. STEWART:                                    19        beyond the scope.
   20        Q. Okay. Why don't you turn to the            20             THE WITNESS: I believe it's not
   21   next page. Do you see you have a document in       21        typical for them to get all the RACR
   22   front of you marked 8153?                          22        reports.
   23        A. Yes.                                       23   BY MR. STEWART:
   24        Q. Okay. Now, is this an e-mail               24        Q. Why do you believe that?
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    1         A. Well, I can tell you since I've            1   e-mail distributing a January 2002 letter from
    2   been head of regulatory, I have not sent them       2   the FDA?
    3   to -- I should be careful. Board members. The       3        A. Yep, yes.
    4   only time that I communicate -- there have been     4        Q. And it's a letter approving the
    5   times I communicated to the board, the entire       5   labeling supplement for the OxyContin patient
    6   board, and those would be events such as a drug     6   package insert?
    7   approval, you know, so -- so for me directly, it    7        A. Yes, that's what it says.
    8   would be announcement of something major.           8        Q. Here again, I notice that in
    9         Q. In 2002 in the e-mail that is              9   addition to you, Dr. Kathe Sackler and
   10   Bates Number 8513 was sent, who is Joyce           10   Dr. Richard Sackler are copied.
   11   Mulligan? What did she do?                         11             Do you see that?
   12         A. She was an administrative                 12             MR. SNAPP: Object to the form.
   13   assistant, but I'm not sure who -- I know -- I     13   BY MR. STEWART:
   14   believe she was in regulatory affairs at the       14        Q. Second line up.
   15   time -- oh, and here it is, sorry.                 15             MR. SNAPP: Beyond the scope.
   16              If you look at the -- who               16             THE WITNESS: I see that, yes.
   17   distributed this at the bottom, it's Chris Prue,   17   BY MR. STEWART:
   18   so he's -- Joyce was his administrative            18        Q. Why were they receiving a routine
   19   assistant.                                         19   correspondence from the FDA?
   20         Q. You see you have another                  20             MR. SNAPP: Object to the form,
   21   document, it's a very lengthy document that        21        beyond the scope.
   22   starts at Bates stamp 1419 and ends at Bates       22             THE WITNESS: This is more
   23   stamp 1421.                                        23        than -- similar to what I mentioned
   24         A. Yes.                                      24        before, approvals of regulatory
                                               Page 323                                               Page 325
    1         Q. I won't make you find your name            1        submissions have a wider distribution.
    2   on here, but tell me is this a -- tell me what      2   BY MR. STEWART:
    3   this e-mail is designed to do?                      3        Q. And to figure out what
    4              MR. SNAPP: Object to the form.           4   Dr. Richard Sackler was involved in, we just
    5              THE WITNESS: So I don't have the         5   have to -- we'd have to look at all the various
    6         attachment that it's talking about. It        6   calendar entries and all the e-mails, fair?
    7         looks like it's a calendar of the R&D --      7             MR. SNAPP: Object to the form,
    8         international R&D meetings to inform          8        object as beyond the scope.
    9         people when they are.                         9             THE WITNESS: I have no knowledge
   10   BY MR. STEWART:                                    10        of how to -- of that.
   11         Q. Okay. So this is just a calendar          11   BY MR. STEWART:
   12   that tells everyone when they can go to these      12        Q. You can speak to these e-mails
   13   meetings, fair?                                    13   because you're on them, right?
   14              MR. SNAPP: Object to the form.          14        A. You've shown them to me, so I can
   15              THE WITNESS: It's not inviting          15   speak to that they are -- they are listed on
   16         them to the meeting, it's just showing       16   there.
   17         them when they occur providing further       17        Q. Now, let me ask you something.
   18         information.                                 18   Have you ever had a conversation outside of a
   19   BY MR. STEWART:                                    19   board meeting with Dr. Richard Sackler?
   20         Q. Turn to the last page in this             20             MR. SNAPP: Object to the form,
   21   group. It's 8174.                                  21        objection as beyond the scope.
   22              Do you see that?                        22             THE WITNESS: Very rare. In the
   23         A. Yes, sorry.                               23        hallway. One I remember particularly,
   24         Q. Do you see it's a distribution,           24        I'm a Type I diabetic with an insulin

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    1        pump, and Purdue was looking at an            1   like a pretty extensive document.
    2        inhaled insulin product, and Dr. Sackler      2         A. I don't remember all the details.
    3        wanted to talk to me about it.                3         Q. Okay.
    4   BY MR. STEWART:                                    4         A. But I remember it.
    5        Q. Do you remember any conversations          5         Q. Again, I take it this is a filing
    6   with Dr. Sackler about regulatory matters?         6   with the FDA, so your intention would have been
    7             MR. SNAPP: Objection as beyond           7   to provide truthful information to the
    8        the scope.                                    8   regulator, fair?
    9             THE WITNESS: Not that I                  9         A. Yes.
   10        remember.                                    10         Q. Okay. Do you see on the second
   11   BY MR. STEWART:                                   11   page which is Bates stamped 6540, the first
   12        Q. How often would Dr. Sackler               12   complete sentence states, "This suggests that
   13   contact you with respect to an issue involving    13   the relationship between prescribed opioid dose
   14   the safety of a Purdue product?                   14   and the risk of opioid overdose is complex and
   15             MR. SNAPP: Objection, beyond the        15   requires more careful scientific investigation."
   16        scope.                                       16              Do you see that?
   17             THE WITNESS: I have never had a         17         A. Yes.
   18        conversation with Dr. Sackler about          18         Q. That's Purdue's understanding as
   19        that. I wasn't head of regulatory until      19   we -- at least as of 2013 of the relationship
   20        2014, but, personally, I haven't had a       20   between dose and the complication of overdose?
   21        conversation about that.                     21              MR. SNAPP: Objection, beyond the
   22             MR. STEWART: It's our last              22         scope.
   23        exhibit.                                     23              THE WITNESS: That's what's
   24             (Document marked for                    24         stated there, yes.
                                              Page 327                                                Page 329
    1         identification as Exhibit                    1   BY MR. STEWART:
    2         Purdue-Fanelli-58.)                          2         Q. Okay. And this would have all --
    3               THE WITNESS: This looks -- oh,         3   this material, because it's provided to the FDA,
    4         it's different.                              4   this would have been subject to the review
    5               MR. SNAPP: Wait for a question.        5   process that you're here to discuss today as a
    6   BY MR. STEWART:                                    6   corporate representative?
    7         Q. Do you have in front of you               7         A. As we discussed, this is actually
    8   Exhibit 58, sir?                                   8   the part of a series, and we've discussed
    9         A. Yes, I do.                                9   similarly on that other document, yes.
   10         Q. And do you see or do you                 10         Q. So if somebody, Purdue or anyone
   11   recognize the document?                           11   else, has said in the past that increasing the
   12         A. I have a vague recollection of           12   dose of opioids doesn't increase a risk of
   13   it. I'd have to look through it more carefully.   13   overdose, that wouldn't be consistent with
   14         Q. Well, it's a filing that you             14   Purdue's understanding; is that fair?
   15   provided to the Food and Drug Administration,     15              MR. SNAPP: Object to the form.
   16   right?                                            16         Objection as beyond the scope.
   17         A. Mm-hmm.                                  17              THE WITNESS: So like I mentioned
   18         Q. Okay. Why don't you look at it,          18         before, science around all of -- all of
   19   and then I'll ask you some questions.             19         the risks is continuing to evolve. So
   20         A. Sure. (Witness reviews                   20         at this time this -- that's a statement
   21   document.) Okay.                                  21         related to this document.
   22         Q. Do you remember filing this?             22   BY MR. STEWART:
   23         A. Vaguely, yes.                            23         Q. And could you remind us who the
   24         Q. Okay. Why vaguely? It seems              24   human being is that could best describe the

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    1   evolution of Purdue's understanding of the          1         Q. And that's -- I mean, it's part
    2   relationship between prescribed opioid dose and     2   of -- the Navippro is one of the systems that
    3   the risk of overdose over time has been?            3   informs some of your filings with the Food and
    4              MR. SNAPP: Objection, beyond the         4   Drug Administration, fair?
    5         scope and form.                               5              MR. SNAPP: Objection, beyond the
    6              THE WITNESS: Again, it's changed         6         scope.
    7         over time, the department. The author         7              THE WITNESS: There's protocols
    8         here Paul Coplan was head of the group        8         related to that that have been submitted
    9         of our epidemiological scientists at          9         to the FDA, yes.
   10         this current time, and they reside in        10              (Document marked for
   11         the medical affairs group, the ones that     11         identification as Exhibit
   12         we've been talking about prior, not          12         Purdue-Fanelli-59.)
   13         research and development but medical         13   BY MR. STEWART:
   14         affairs.                                     14         Q. By the way, do you happen to know
   15              MR. STEWART: Let's take a               15   if Navippro -- if in Navippro it includes
   16         two-minute break, and then we'll be          16   information about where patients got the drugs
   17         about done.                                  17   that they're abusing?
   18              THE VIDEOGRAPHER: Stand by,             18              MR. SNAPP: Objection, beyond the
   19         please. The time is 5:19 p.m., going         19         scope.
   20         off the record.                              20              THE WITNESS: Without the
   21              (Brief recess.)                         21         information about it, I would not know
   22              THE VIDEOGRAPHER: We are back on        22         or don't know.
   23         the record. The time is 5:22 p.m.            23   BY MR. STEWART:
   24   BY MR. STEWART:                                    24         Q. We'd have to look at the
                                               Page 331                                                Page 333
    1         Q. Dr. Fanelli, you talked about a            1   protocol?
    2   number of systems Purdue uses to, among other       2         A. Yeah.
    3   things, measure diversion.                          3         Q. I've got a document I've just
    4             Do you remember that?                     4   handed you, and it's Exhibit 59.
    5         A. Yes.                                       5              Do you see that?
    6         Q. Is the Navippro, N-a-v-i-p-p-r-o,          6         A. Yes.
    7   system one of those?                                7         Q. Okay. Do you see it's an e-mail
    8             MR. SNAPP: Objection, beyond the          8   from you to Raul Damas?
    9         scope.                                        9         A. Yes.
   10             THE WITNESS: Yes.                        10         Q. And you're going back and forth,
   11   BY MR. STEWART:                                    11   and what you've got is a -- you're commenting on
   12         Q. And can you just tell me what             12   a comment by a David Haddox?
   13   your understanding of Navippro is?                 13         A. I'm not -- I'm just forwarding
   14             MR. SNAPP: Objection, beyond the         14   it. I don't see my comment.
   15         scope.                                       15         Q. Okay. Well, you're forwarding
   16             THE WITNESS: Without seeing the          16   this, these materials with David Haddox's
   17         protocol, I know it's one of the systems     17   comment, right?
   18         used, but I'm not -- it's not part of my     18         A. So, yes, I forwarded along an
   19         expertise without seeing the protocol.       19   e-mail that I received from David Haddox along
   20   BY MR. STEWART:                                    20   with other individuals on to Raul Damas.
   21         Q. You'd have to have the protocol           21         Q. Who is David Haddox?
   22   in front of you, and then you could speak to it?   22         A. Currently, he was head of our
   23         A. I would know more about what              23   health policy department, I believe.
   24   we're talking about.                               24         Q. What was his -- how did you

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    1   interact with David Haddox in your work?            1         the situation around this.
    2          A. So and this is an example, if you         2   BY MR. STEWART:
    3   start -- the first e-mail from -- is a list of      3         Q. You're not disputing the fact he
    4   an advisory committee and a science board           4   sent that e-mail, fair?
    5   meeting. Again, I don't remember the details of     5         A. Correct.
    6   this, but health policy, David might be --          6         Q. You just -- and I guess what you
    7   provide comments. He probably watched the           7   did is you took his comment and you forwarded it
    8   advisory committee, and he provided that            8   to Raul Damas, correct?
    9   comment, but I don't know. I can't remember         9         A. Yes, I did.
   10   specifically. So we might -- as regulatory         10         Q. And then he said, I saw it,
   11   if -- especially advisory committees, we talked    11   thanks. I think this is best handled by others?
   12   about the playbook that falls under regulatory     12         A. Correct.
   13   in terms of monitoring and so forth, so that's     13         Q. And you don't know what was done
   14   probably what that was about.                      14   with Dr. Haddox's view about parroting
   15          Q. What is Haddox -- what is                15   histrionic media and politicians?
   16   Dr. Haddox commenting on here with his comment     16              MR. SNAPP: Objection, beyond the
   17   in this e-mail that's the Exhibit 59 in front of   17         scope.
   18   you?                                               18              THE WITNESS: I do not know after
   19              MR. SNAPP: Object to the form.          19         that.
   20              THE WITNESS: First of all, I            20              MR. STEWART: That's all I've
   21          don't -- without seeing the entire          21         got. Thank you.
   22          materials for the advisory committee, I     22              MR. SNAPP: For the record, we
   23          don't know what question two was so --      23         are adjourned until tomorrow morning
   24          and it's -- I don't recall the details      24         when you're going to cover topic 29.
                                               Page 335                                                Page 337
    1         around this.                                  1             MS. DICKINSON: Yes.
    2   BY MR. STEWART:                                     2             MR. SNAPP: And then we'll go off
    3         Q. But you say that what Haddox               3        the record and restart as his fact
    4   takes issue is is this concept of "growing          4        deposition. Would that be the plan on
    5   epidemic of opioid abuse" and his comment is        5        your side?
    6   "perhaps looking at the data instead of             6             MS. DICKINSON: That's the plan.
    7   parroting histrionic media and politicians might    7             MS. POLLOCK: Are you going to be
    8   be a good place to start toward improving our       8        asking questions?
    9   understanding of the abuse of drugs used to         9             MR. SNAPP: I will ask questions,
   10   treat pain."                                       10        thank you. Yes, I will ask questions,
   11         A. I see that.                               11        some follow-up questions after you all
   12         Q. I mean, his view is that if you           12        are done with topic 29, and then we can
   13   talk about a growing epidemic of opioid abuse,     13        close the record whenever. Thank you.
   14   then you're parroting histrionic media and         14             THE VIDEOGRAPHER: All right.
   15   politicians?                                       15        Standby. The time is 5:29 p.m., going
   16             MR. SNAPP: Object to the form.           16        off the record.
   17             THE WITNESS: I don't know what           17             (Witness excused.)
   18         Dr. Haddox's intentions were, just           18                  ___
   19         reading this.                                19
   20   BY MR. STEWART:                                    20
   21         Q. You just took his e-mail and              21
   22   forwarded it then?                                 22
   23             MR. SNAPP: Object to the form.           23
   24             THE WITNESS: So I don't recall           24


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                                           Page 338                                     Page 340
    1      CERTIFICATION                               1         ACKNOWLEDGMENT OF DEPONENT
    2           I, MARGARET M. REIHL, a                2
                                                       3           I, RICHARD J. FANELLI, Ph.D., do
    3      Registered Professional Reporter,           4       hereby certify that I have read the
    4      Certified Realtime Reporter, Certified      5       foregoing pages, and that the same is a
    5      Shorthand Reporter, Certified LiveNote      6       correct transcription of the answers
    6      Reporter and Notary Public, do hereby       7       given by me to the questions therein
    7      certify that the foregoing is a true and    8       propounded, except for the corrections
    8      accurate transcript of the testimony as     9       or changes in form or substance, if any,
    9      taken stenographically by and before me
                                                      10       noted in the attached Errata Sheet.
                                                      11
   10      at the time, place, and on the date        12
   11      hereinbefore set forth.                    13
   12               I DO FURTHER CERTIFY that I            ___________________________________________
   13      am neither a relative nor employee nor     14   RICHARD J. FANELLI, Ph.D.      DATE
   14      attorney nor counsel of any of the         15
   15      parties to this action, and that I am           Subscribed and sworn to before me this
                                                      16
   16      neither a relative nor employee of such         _____ day of ______________, 2018.
   17      attorney or counsel, and that I am not     17
   18      financially interested in the action.           My commission expires:______________
   19                                                 18
   20                                                 19   ___________________________________
   21   -------------------------------                    Notary Public
                                                      20
        Margaret M. Reihl, RPR, CRR, CLR              21
   22   CSR #XI01497 Notary Public                    22
   23                                                 23
   24                                                 24

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    1           - - - - - -
    2             ERRATA
    3           - - - - - -
    4   PAGE LINE CHANGE
    5   ____ ____ ____________________________
    6   REASON: ____________________________
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